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                        EXHIBIT 10
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  many revenge-suits will be dealt with another time. In the interim, however, Wright’s current wife,

  Ramona Ang—who is not even a party to this action—has sought to take advantage of certain

  inappropriate statements made by a former member of this Firm to frivolously seek to disqualify

  the entire Firm from representing the Estate. In support of that absurd motion, and while this

  action was stayed, Wright’s wife sent improper discovery to the Firm, a non-party to this litigation,

  and served subpoenas on the Firm’s current and former attorneys and clients. Multiplying that

  burden, she did the same thing in two of her other lawsuits against Ira Kleiman and W&K,

  ultimately serving three sets of RFPs and three sets of RFAs on the Firm, in addition to several

  subpoenas for depositions and documents that she served on other non-parties.

         The Estate brings this motion to stop this harassing, time-consuming, and baseless

  discovery, which has nothing to do with the merits of this action. As explained below, the

  discovery requests and subpoenas should be quashed because (i) they were served in violation of

  the Court’s order staying this action, (ii) they are not permitted by the Florida Rules of Civil

  Procedure, (iii) discovery is not necessary to resolve Wright’s wife’s frivolous disqualification

  motion, and (iv) Wright’s wife cannot make a showing that she is entitled to discovery from

  opposing counsel. Moreover, because Wright’s wife and her counsel have baselessly refused to

  stop these wasteful discovery efforts, they should be ordered to pay the Estate’s expenses in

  connection with this motion pursuant to Rules 1.280(c) and 1.380(a)(4).

                                       SUMMARY OF ARGUMENT

         Velvel (Devin) Freedman of FNF has represented Ira Kleiman, the Estate of David

  Kleiman (the “Estate”), and the related business W&K Info Defense Research, LLC (“W&K”) as

  lead counsel since 2018.




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          In September 2022, Ramona Ang nevertheless filed a motion to disqualify him and his firm

  and thus end that representation. Indeed, in that motion, Ms. Ang claims that the Firm has a

  disqualifying conflict of interest between its representation of the Estate and another client, Ava

  Labs. This is so, she says, because (i) her husband, Dr. Craig Wright, is Ava Labs’s CEO’s

  “nemesis” and (ii) she believes that former Firm attorney Kyle Roche prosecuted an action in

  federal court on behalf of the Estate and W&K against Wright to improperly benefit that CEO.

          On its face, the theory is not only irrelevant to Ms. Ang who has no standing to bring this

  motion (e.g., she is not a former client with confidential information at stake), but it is also absurd.

  Ms. Ang does not accuse Mr. Roche or the Firm of doing anything improper in this litigation,

  which was commenced by Wright’s ex-wife, Lynn. Indeed, Mr. Roche, the individual with the

  allegedly improper motive, is no longer even with the Firm, and the Firm no longer represents Ava

  Labs. Moreover, the supposedly “improper” lawsuit against Dr. Wright—to the extent it has any

  relevance to the disqualification inquiry at all—was commenced in early 2018, before Ava Labs

  or the Firm even existed, while Mr. Roche was a second-year associate, and resulted in a $143-

  million judgment being entered in W&K’s favor against Wright. Ms. Ang’s disqualification

  motion is, in short, frivolous, and nothing more than her and her husband’s latest effort to frustrate

  W&K’s ability to collect on its nine-figure judgment.

          Consistent with that understanding, since filing her disqualification motion, Ms. Ang has

  used it as a basis to inundate the Firm and its current and former attorneys and clients with

  harassing and irrelevant discovery demands about the Firm’s operations and former clients. As her

  motions in her other matters make clear, her view is that a party is entitled to discovery from

  opposing counsel whenever it files a motion for disqualification, regardless of whether that motion

  is completely frivolous. As common sense would suggest, that is not the law.




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          Indeed, as explained below, where a motion for disqualification can be resolved without

  reliance on disputed facts, no evidentiary hearing—and thus no discovery—is appropriate. That is

  the case here. Ms. Ang’s motion for disqualification can be denied without relying on any disputed

  or disputable facts because (i) she lacks standing to seek disqualification, (ii) she has failed to

  identify that Mr. Roche had any disqualifying conflict, (iii) any such conflict would not be imputed

  to the Firm, and (iv) disqualification would unduly harm the Estate. Accordingly, no discovery is

  necessary, and Ms. Ang’s many discovery requests and subpoenas should be quashed.

          Even setting aside the merits of Ms. Ang’s motion for disqualification, the Estate’s motion

  should be granted for several additional and independent reasons. First, Ms. Ang’s discovery

  requests and subpoenas were served while this action was stayed. Second, Ms. Ang has used party-

  based discovery mechanisms against FNF, a non-party, in disregard of the Florida Rules of Civil

  Procedure. Third, the discovery sought is irrelevant to the merits of this action and is therefore

  outside of the scope of permissible discovery delineated by Florida Rule of Civil Procedure

  1.280(b). Fourth, Ms. Ang cannot meet the heavy burden that Florida courts impose on party’s

  seeking discovery from opposing counsel.

          For these reasons, Ms. Ang’s harassing discovery requests and subpoenas should be

  quashed, and she should be precluded from seeking further discovery in connection with her

  motion to disqualify. She should, moreover, be ordered to pay the Estate’s costs and attorneys’

  fees incurred in resisting this baseless discovery.

                                    FACTUAL BACKGROUND

     I.      THE FEDERAL ACTION

          In February 2018, the Estate—represented by Vel Freedman, an attorney at Boies Schiller

  Flexner LLP—commenced an action in federal court against Craig Wright (the “Federal Action”),




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  the self-proclaimed inventor of bitcoin and husband of Ms. Ang. (See generally Compl., Kleiman

  v. Wright, No. 9:18-cv-80176 (S.D. Fla. Feb. 14, 2018), ECF No. 1.) Three months later, the Estate,

  along with the decedent David Kleiman’s company, W&K Info Defense Research, LLC (“W&K”),

  filed an amended complaint against Wright. (See Am. Compl., Kleiman, No. 9:18-cv-80176 (S.D.

  Fla. May 14, 2018), ECF No. 24.) In that amended complaint, the Estate and W&K alleged that

  David Kleiman, Wright, and W&K obtained bitcoin and developed valuable blockchain-related

  intellectual property together, but that Wright stole those assets for himself after David died in

  April 2013. (Id. ¶¶ 52-131.) The Estate and W&K claimed that their resulting damages could be

  as high as $11 billion. (Id. ¶ 114.) 1

          Given his massive potential exposure, Wright repeatedly sought, often through

  questionable means, dismissal of Plaintiffs’ claims. In April 2018, for example, he submitted a

  demonstrably false declaration in support of his motion to dismiss on personal jurisdiction

  grounds. (Mot. for Sanctions at 1-2, Kleiman, No. 9:18-cv-80176 (S.D. Fla. May 21, 2020), ECF

  No. 512.) In June 2018, he submitted another false declaration, this time in support of his motion

  to dismiss on forum non conveniens grounds. (Id.) And in April 2019, he was forced to withdraw

  “Exhibit A” to his motion for judgment on the pleadings, after that document was exposed as a

  forgery. (Id. at 2.)

          Wright similarly sought to obstruct discovery. For example, Wright took the position that

  it was “impossible” for him to comply with his discovery obligations because the information



          1
            In August 2019, after the Estate and W&K had successfully opposed a series of
  dispositive motions from Wright, Kyle Roche and Devin (Velvel) Freedman left Boies Schiller
  Flexner LLP (“BSF”) to form their own firm, Roche Freedman LLP. (See, e.g., Notice of Change
  of Firm, Kleiman, 9:18-cv-80176 (S.D. Fla. Aug. 8, 2019), ECF No. 259.) For the duration of
  the litigation, which resulted in a $143-million judgment against Wright, the Estate and W&K
  were represented by Roche Freedman LLP and BSF.


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  sought was locked in the Tulip Trust, whom Ms. Ang purports to represent. (Id. at 3-6.) Following

  a multi-day evidentiary hearing, the court unequivocally rejected that claim, concluding, among

  other things, that Wright had “intentionally submitted fraudulent documents to the Court,

  obstructed a judicial proceeding, and gave perjurious testimony”; that Wright’s “testimony that

  [the Tulip Trust] exists was intentionally false” and “part of a sustained and concerted effort to

  impede discovery into his bitcoin holdings”; and that Wright “willfully created the fraudulent

  documents.” (Id. at 6-7.)2

         In September 2020, the court denied Wright’s motion for summary judgment (see Order

  on MSJ, Kleiman, No. 9:18-cv-80176 (S.D. Fla. Sept. 21, 2020), ECF No. 615), and the case

  proceeded to a four-week jury trial in November of 2021. The jury found that Wright converted

  W&K’s intellectual property and was liable for $100 million in compensatory damages. (Jury

  Verdict, Kleiman, No. 9:18-cv-80176 (S.D. Fla. Dec. 6, 2021), ECF No. 812.) The court

  subsequently entered a final judgment against Wright for $143 million to reflect prejudgment

  interest. (Amended Final Judgment, Kleiman, No. 9:18-cv-80176 (S.D. Fla. Mar. 9, 2022), ECF

  No. 889.)

         The jury, however, found in Wright’s favor on the Estate’s claims. Earlier this year, the

  Estate appealed the verdict on the grounds that Wright’s counsel—who represents Ms. Ang here—

  repeatedly violated the Court’s pretrial order precluding evidence concerning the relationship

  between Ira and David Kleiman. (Notice of Appeal, Kleiman, No. 9:18-cv-80176 (S.D. Fla. Apr.




         2
          Notwithstanding the fact that he was sanctioned for this misconduct, Wright has
  continued to defraud courts across the world. See, e.g., Wright v. McCormack [2022] EWHC
  2068 (QB), ¶¶ 110-11 (finding that Wright’s case was premised on “deliberately false”
  evidence), https://www.judiciary.uk/wp-content/uploads/2022/08/Wright-v-McCormack-
  Judgment.pdf.


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  8, 2022), ECF No. 892). That appeal is currently pending before the Court of Appeals for the

  Eleventh Circuit.

     II.       THE FLORIDA ACTIONS

           As the Federal Action progressed, Wright grew desperate to stop it. He then deputized his

  ex-wife and wife to file actions in Florida state court to derail the Federal Action, and then to

  obstruct W&K’s ability to collect its $143 million judgment against him.

           For example, in July 2020, Wright’s ex-wife, Lynn Wright, commenced an adversary

  proceeding against Ira Kleiman in this probate proceeding. (Verified Petition, In re Estate of David

  Kleiman, No. 50-2013-CP-005060-XXXX-NB (Fla. 15th Cir. Ct. July 16, 2020).) In her

  complaint, she asserted that she obtained a membership interest in W&K from Tulip Trust on July

  10, 2020, just a few days before she filed her lawsuit. (Id. ¶ 30.) She sought, among other things,

  an order enjoining Ira Kleiman from acting on behalf of W&K in connection with the Federal

  Action. (Id. ¶¶ 49-54.) In December 2020, this Court stayed Ms. Wright’s action. (See Order

  Staying Petition of Lynn Wright, In re Estate of David Kleiman, No. 50-2013-CP-005060-XXXX-

  NB (Fla. 15th Cir. Ct. Dec. 4, 2020).)

           Not giving up, Wright then turned to his current wife, Ms. Ang (also known as Ms. Watts),

  who commenced another lawsuit against Ira in Florida state court. In her initial complaint, she

  alleged that she was the trustee of the non-existent Tulip Trust, that Tulip Trust was a member of

  W&K, and that Ira Kleiman breached his duties to W&K by “intentionally deleting data and using

  [David] Kleiman’s electronic devices . . . .” (Compl. ¶ 37, Ang v. Kleiman, No. 50-2021-CA-

  004758-XXXX-MB (Fla. 15th Cir. Ct. Apr. 13, 2021).)3 But shortly after the jury found in W&K’s



           3
           The Estate believes that these allegations are knowingly false, including because Judge
  Reinhart concluded by clear and convincing evidence in the Federal Action that Wright lied



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  favor at trial in the Federal Action, Ms. Ang abruptly changed course, abandoned her tort claims,

  and amended her complaint to seek the same relief that Ms. Wright sought—i.e., an order enjoining

  Ira Kleiman from acting on behalf of W&K. (Am. Compl. ¶¶ 32-54, Ang v. Kleiman, No. 50-2021-

  CA-004758-XXXX-MB (Fla. 15th Cir. Ct. Mar. 4, 2022).)

         In June 2022, Ms. Ang filed yet another lawsuit in Florida state court, this time against

  W&K. See Civil Cover Sheet, Watts v. W and K Info Defense LLC, Case No. 50-2022-CA-005501-

  XXXX-MB (Fla. 15th Cir. Ct. June 7, 2022). In that action, she sought to enforce a U.K court

  judgment that she obtained for fees that she incurred while being deposed as a third party in the

  Federal Action. W&K, despite receiving no payments from Ms. Ang’s husband in connection with

  its $143-million judgment against him, paid Ms. Ang’s judgment in October 2022. Ms. Ang

  accordingly voluntarily dismissed that action on November 4, 2022. (Notice of Voluntary

  Dismissal, Watts v. W&K Info Defense Research LLC, No. 50-2022-CA-005501-XXXX-MB (Fla

  15th Cir. Ct. Nov. 4, 2022).)

         Approximately two weeks after receiving payment for that judgment, Ms. Ang served Ira

  with yet another lawsuit. See Verified Compl., Tulip Trust v. Ira Kleiman, Case No. 50-2022-CA-

  004636-XXXX-MB (Fla. 15th Cir. Ct. May 13, 2022.) In this fourth lawsuit, brought on behalf of

  the fictious Tulip Trust, she alleged that Tulip Trust is a member of W&K, and that Ira improperly

  acted on behalf of W&K in pursuing litigation against Mr. Ang’s husband, Wright, and incurring



  about the existence of the Tulip Trust. (Order on Mot. to Compel at 21, Kleiman, 9:18-cv-80176
  (S.D. Fla. Aug. 27, 2019), ECF No. 277 (“The totality of the evidence in the record does not
  substantiate that the Tulip Trust exists. Combining these facts with my observations of Dr.
  Wright’s demeanor during his testimony, I find that Dr. Wright’s testimony that this Trust exists
  was intentionally false. . . . Although I am only required to make this finding by a preponderance
  of the evidence, I find clear and convincing evidence to support it.”).) Notably, courts have
  previously found that Ms. Ang—like her husband—has provided “untruthful” evidence in
  litigation. See, e.g., Ang v. Reliantco Invs. Ltd. [2020] EWHC 3242, ¶ 105,
  https://www.casemine.com/judgement/uk/5fc48a212c94e0481f26a9ba.


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   costs in connection with that litigation, including the costs of deposing Ms. Ang herself and

   Andrew O’Hagan, both key witnesses at the trial in the Federal Action. (Id. ¶¶ 19-23.)

       III.       THE CRYPTOLEAKS ARTICLE AND SPY VIDEOS

              In August 2022, an anonymous tabloid website, CryptoLeaks, released an article about

   Kyle Roche, and one of Mr. Roche’s former clients, Ava Labs. That article purports to share

   “extensive spy videos” of Mr. Roche, recorded without his knowledge or consent, at meetings with

   unidentified individuals. CryptoLeaks accuses Mr. Roche of being involved in an “evil

   conspiracy,” suggests that he is a “psychopath,” and theorizes that he “established a secret pact”

   with Ava Labs, pursuant to which he agreed to commence frivolous class actions against Ava

   Labs’ competitors, for purposes of “[h]arvesting confidential information,” “[h]arming

   competitors,” and “fooling regulators.” (Ex. 1 at 1, 5, 9-12, 26.) CryptoLeaks further claims that

   Mr. Roche used litigation to “secretly pursue” the “personal vendettas” of Ava Labs’ CEO, Emin

   Gun Sirer. (Id. at 4.)

       IV.        ROCHE SEPARATES FROM THE FIRM

              Although the allegations against Mr. Roche are false, and it appears Mr. Roche’s comments

   were simply improper and untrue rodomontade, FNF was deeply concerned by the suggestion that

   he had engaged in unethical conduct. To address those concerns, and considering his inappropriate

   statements, Mr. Roche is no longer with the Firm. Moreover, neither Mr. Roche nor FNF represent

   Ava Labs any longer.4

       V.         WRIGHT AND HIS CURRENT AND FORMER SPOUSES MOVE TO
                  DISQUALIFY ROCHE FREEDMAN LLP AND SUBSEQUENTLY FLOOD
                  ROCHE FREEDMAN LLP WITH DISCOVERY REQUESTS



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           The Firm acts as local counsel to one of Ava Labs’ principals in a longstanding
   defamation action.


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          After the videos were released, Wright, Ms. Wright, and Ms. Ang each filed substantively-

   identical motions to disqualify Roche Freedman LLP from representing the Estate and W&K.

          On September 6, 2022, Wright filed a motion before the Court of Appeals for the Eleventh

   Circuit in the Federal Action. (See Mot. for Disqualification, Kleiman v. Wright, No. 22-11150

   (11th Cir. Sept. 6, 2022).) Around the same time, Ms. Ang filed a nearly identical motion in this

   action (where Ms. Wright asserts claims against the Estate), which was later joined by Ms. Wright

   on October 27. In mid-September, Ms. Ang filed additional motions to disqualify in her action

   against Ira and in her now-dismissed action against W&K. (See Mot. to Disqualify, Ang v.

   Kleiman, No. 50-2021-CA-004758-XXXX-MB (Fla. 15th Cir. Ct. Sept. 9, 2022); Mot. to

   Disqualify, Watts v. W&K Info Defense Research LLC, No. 50-2022-CA-005501-XXXX-MB

   (Fla. 15th Cir. Ct. Sept. 27, 2022).) And on November 28, Wright filed a motion to disqualify

   Roche Freedman LLP in the district court in the Federal Action (Mot. to Disqualify, Kleiman v.

   Wright, No. 9:18-cv-80176 (S.D. Fla. Nov. 28, 2022), ECF No. 900).)

          Although Wright, his wife, and his ex-wife are not the only litigants to have sought to

   capitalize on Mr. Roche’s statements by moving to disqualify Roche Freedman LLP from

   representing clients in active litigation, it bears emphasizing that the only court to consider such a

   motion outside of the class-action context denied it (without discovery) on the grounds that the

   accusations against the Firm were “speculative” and that, in any event, non-clients lacked standing

   to complain about an alleged conflict among the Firm’s clients. (See Ex. 2, Order, Temujin Labs

   Inc. v. Abittan, Case No. 20CV372622 (Cal. Super. Ct. Nov. 21, 2022).) And unlike any other

   party that has sought to disqualify the Firm in light of Mr. Roche’s statements, Ms. Ang has sought

   to burden FNF and other non-parties with extensive disqualification-related discovery. On

   September 27, 2022, for example, she served FNF with nineteen document requests, which seek,




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   among other things, “[a]ll documents related” to “Kyle Roche’s residence in Florida for tax

   purposes” and “[a]ll documents related to ‘academic writings’ in your possession.” (Ex. 3 at 7.)

   On the same day, she served FNF with twenty-six RFAs, demanding that FNF admit, among other

   things, that it does “not care about settling lawsuits.” (Ex. 4 at 3.) She served FNF with identical

   RFPs and RFAs in her actions against Ira and W&K. (Exs. 5-8.) FNF timely objected to all six of

   these sets of requests on relevance and other grounds. (Exs. 9-14.)

            But the harassing discovery did not stop there. Ms. Ang has also sought to burden current

   and former FNF attorneys and clients with discovery. In October, without providing any prior

   notice to the Estate or its counsel, and while this action was stayed, she served Mr. Freedman, Mr.

   Roche, and an Ava Labs executive with multiple subpoenas for depositions scheduled for January

   2023. (E.g., Ex. 15-17.) At around the same time, she served Ava Labs with document subpoenas,

   which requested the same nineteen categories of documents that Ms. Ang sought from FNF in her

   September 27, 2022, RFPs.

      VI.      MS. ANG REFUSES TO PAUSE DISCOVERY WHILE HER RELATED
               MOTION TO COMPEL IS PENDING

            After FNF timely objected to Ms. Ang’s RFPs and RFAs, Ms. Ang filed a motion to compel

   in her action against Ira. (See Ex. 18, Mot. to Compel, Ang v. Kleiman, No. 50-2021-CA-004758-

   XXXX-MB (Fla. 15th Cir. Ct. Oct. 18, 2022).) FNF filed its opposition on November 28, where

   it argued, among other things, that Ms. Ang was not entitled to any discovery relating to her

   disqualification motion because that motion could readily be denied without discovery (See Opp.

   to MTC at 14-23, Ang v. Kleiman, No. 50-2021-CA-004758-XXXX-MB (Fla. 15th Cir. Ct. Nov.

   28, 2022).) Following a UMC hearing on November 29, the court directed the parties to special

   set Ms. Ang’s motion for a 30-minute hearing.




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            Given that the Court could conclude at that special set hearing that Ms. Ang is not entitled

   to any disqualification-related discovery, the Estate requested that Ms. Ang pause all

   disqualification-related discovery that she was pursuing in each of the Florida Actions. Ms. Ang,

   through her counsel, flatly refused. (Ex. 19.) That refusal necessitated this motion, which seeks to

   relieve the Estate’s current and former counsel, as well as the Estate’s counsel’s former clients,

   from the burdens of Ms. Ang’s harassing and irrelevant discovery demands, including depositions

   scheduled for January 2023.

                                              ARGUMENT

      I.       THE ESTATE HAS STANDING TO MOVE FOR A PROTECTIVE ORDER
               AND TO QUASH IRRELEVANT THIRD-PARTY DISCOVERY

            As a threshold matter, the Estate has standing to object to Ms. Ang’s third-party discovery

   on relevance and reasonableness grounds. See Sunrise Shopping Ctr., Inc. v. Allied Stores Corp.,

   270 So. 2d 32, 34-35 (Fla. 4th DCA 1972) (“Considering these several rules in pari materia, we

   conclude that the defendants had standing to seek an order quashing the subpoena duces tecum on

   the grounds that it was unreasonable and oppressive as to the witness. We might add that this view

   accommodates a practical approach to the not unusual situation where a witness, served with a

   subpoena duces tecum which he feels to be unreasonable and oppressive, will simply complain to

   the other party of the hardship, and that party in turn will more likely than not present the issue to

   the court without the necessity of the witness being put to the trouble and expense of presenting a

   motion on his own behalf.”).

      II.      THE STAY PRECLUDES MS. ANG FROM SEEKING DISCOVERY AND
               VITIATES DISCOVERY REQUESTS SERVED DURING ITS PENDENCY

            Ms. Ang should be barred from pursuing discovery relating to her disqualification motion

   because this matter is currently stayed and was stayed at the time that she served her discovery




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   requests and subpoenas. A stay is a court order, and a party that violates it may be held in contempt.

   See State ex rel. Schwartz v. Lantz, 440 So. 2d 446, 448 (Fla. 3d DCA 1983) (“Thus, if the stay

   order which was violated was clear as to its effect and operation, proof of intent is unnecessary.”).

   Similarly, actions taken in violation of a stay are void and invalid. See, e.g., Hillsborough Cty.

   Hosp. Auth. v. Tampa Heart Inst., 472 So. 2d 748, 755 (Fla. 2d DCA 1985) (“We conclude that

   Florida Rule of Appellate Procedure 9.310(b)(2) automatically stayed further action by appellee

   HRS and the proceedings taking place after this appeal are invalid.”).

             This matter, as Ms. Ang concedes in her motion to disqualify, has been stayed since

   December 4, 2020. Nevertheless, in September and October 2022, in blatant and knowing violation

   of that order, Ms. Ang filed a motion to disqualify, served FNF with RFPs and RFAs; served Mr.

   Freedman, Mr. Roche, and an Ava Labs executive with deposition subpoenas; and served Ava

   Labs with a document subpoena. These actions are void, and each of the foregoing discovery

   requests should be quashed. Ms. Ang plainly cannot seek discovery while this action is stayed. Her

   refusal to stop this discovery is frivolous and should not be rewarded.

      III.      THE DISCOVERY SOUGHT IS NOT PERMITTED BY THE FLORIDA
                RULES OF CIVIL PROCEDURE

                a. Ms. Ang Cannot Use Party Discovery Devices to Seek Discovery from FNF

             The discovery requests that Ms. Ang served on FNF should be quashed because FNF is not

   a party to this action and therefore cannot be compelled to respond to RFPs or RFAs served

   pursuant to Florida Rules of Civil Procedure 1.350 or 1.370.

             “The rules of civil procedure provide for certain discovery tools that may be used only by

   one party on another party,” including interrogatories under Rule 1.340, requests for production

   under Rule 1.350, and requests for admissions under Rule 1.370. Sjuts v. State, 754 So. 2d 781,

   782 (Fla. 2d DCA 2000) (emphasis added). These tools, courts have found, cannot be used to



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   obtain discovery from non-parties. See, e.g., Parker v. James, 997 So. 2d 1225, 1227 (Fla. 2d DCA

   2008) (“There is no authority under the Florida Rules of Civil Procedure or in Florida case law for

   propounding interrogatories to a nonparty witness, expert or not.”).

          But that is precisely what Ms. Ang seeks to do here. Indeed, her RFPs and RFAs (served

   pursuant to Florida Rules of Civil Procedure 1.350 and 1.370) are not even nominally directed at

   the Estate; instead, they are directed at FNF. A party’s counsel is not a “party” for purposes of

   discovery. See, e.g., Saniefar v. Moore, 2019 WL 3202924, at *6 (E.D. Cal. July 16, 2019)

   (“Plaintiff’s counsel is not a party to this action and Defendants’ effort to seek documents from

   Plaintiff’s counsel under Federal Rule of Civil Procedure 34 is procedurally inappropriate. Rule

   34 only permits requests for production directed at parties to the litigation.”); Carmona v.

   D’Alessandro, 2015 WL 4395001, at *2 (E.D. Cal. July 16, 2015) (“[P]laintiff’s request to

   propound interrogatories or seek documents from defendant’s former counsel is inappropriate.

   Defendant’s counsel is not a party to this action, and Rule 33 and Rule 34 of the Federal Rules of

   Civil Procedures only permits interrogatories and requests for production of documents to be

   propounded on parties.”); St. Jean v. United States, 2008 WL 4415170, at *6 (N.D.N.Y. Sept. 23,

   2008) (“[B]ecause trial counsel is not a party to this action he may not be subjected to Fed. R. Civ.

   P. 33 interrogatories.”). Any contrary interpretation would run afoul of the fundamental principle

   that ordering discovery from opposing counsel is “an extraordinary step that will rarely be

   justified.” Iacono v. Santa Elena Holdings, LLC, 271 So. 3d 28, 30 (Fla. 3d DCA 2018).

              b. Ms. Ang Seeks Information Outside the Scope of Rule 1.280(b)

          The disqualification-related discovery that Ms. Ang seeks pursuant to Florida Rules of

   Civil Procedure 1.350, 1.370, and 1.410 should also be quashed because it is not relevant to the

   merits of this action and is therefore outside the scope of permissible discovery.




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          Under Florida Rule of Civil Procedure 1.280(b), “[d]iscovery in civil cases must be

   relevant to the subject matter of the case and must be admissible or readily calculated to lead to

   admissible evidence.” Capco Props., LLC v. Monterey Gardens of Pinecrest Condo., 982 So. 2d

   1211, 1213-14 (Fla. 3d DCA 2008); Rousso v. Hannon, 146 So. 3d 66, 69 (Fla. 3d DCA 2014)

   (same). That limitation applies to requests for document production made pursuant to Rule 1.350,

   requests for admission made pursuant to Rule 1.370, and subpoenas issued to non-parties pursuant

   to Rule 1.410. See Clemens v. Namnum, 233 So. 3d 1146, 1148 (Fla. 4th DCA 2017) (“Florida

   Rule of Civil Procedure 1.370 governs requests for admissions and provides, in part, that ‘[a] party

   may serve upon any other party a written request for the admission of the truth of any matters

   within the scope of rule 1.280(b) set forth in the request that relate to statements or opinions of

   fact or of the application of law to fact.’” (quoting Fla. R. Civ. P. 1.370(a)) (alterations omitted));

   State Dep’t of Highway Safety v. Kropff, 445 So. 2d 1068, 1069 n.1 (Fla. 3d DCA 1984) (“Rule

   1.350 in turn limits the scope of such a request to documents constituting or containing matters

   within the scope of Florida Rule of Civil Procedure 1.280(b).”); United States Sugar Corp. v.

   Estate of Mullins, 211 So. 3d 110, 112-13 (Fla. 4th DCA 2017) (applying Rule 1.280 to limit third-

   party discovery sought in probate proceeding). Accordingly, where a party seeks irrelevant

   information from non-parties, a motion for a protective order should be granted and the irrelevant

   discovery demands should be quashed. See Juul Labs, Inc. v. Feldman, 338 So. 3d 1, 1 (Fla. 4th

   DCA 2022) (“Because we have held that such JUUL evidence is irrelevant to the issues raised

   against Philip Morris in this case, we reverse the trial court’s order to the extent it denied

   appellants’ motion for a protective order and quash the orders appointing a commissioner and

   allowing Florida and California subpoenas to be issued for Monsees’ deposition.”).




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            To date, Ms. Ang has served (i) FNF with RFPs and RFAs pursuant to Florida Rules of

   Civil Procedure 1.350 and 1.370 and (ii) Mr. Roche, Mr. Freedman, an Ava Labs executive, and

   Ava Labs with subpoenas pursuant to Florida Rule of Civil Procedure 1.410. But none of the

   discovery that she seeks is relevant to the merits of this action. See Compton & Assocs., P.A. v.

   Porlick, Poliquin, Samara, Inc., 662 So. 2d 428, 429 (Fla. 3d DCA 1995) (trial court “departed

   from the essential requirements of law in compelling the production” of irrelevant documents);

   Begel v. Hirsch, 350 So. 2d 514, 515 (Fla 4th DCA 1977) (“The trial court erred in denying Begel’s

   motion for a protective order to the extent that the notice to produce sought production of

   documents on irrelevant matters.”). She cannot and will not argue otherwise.

            Indeed, when Ms. Ang sought to compel FNF to respond to the identical RFPs and RFAs

   served in her lawsuit against Ira, she made clear that the discovery concerned only her motion for

   disqualification (see Ex. 18, Mot. to Compel at 1, Ang v. Kleiman, No. 50-2021-CA-004758-

   XXXX-MB (Fla. 15th Cir. Ct. Oct. 18, 2022)); the subpoena served on Ava Labs is limited to

   these same requests. Moreover, Ms. Ang’s counsel represented to Mr. Freedman that the proposed

   depositions of Mr. Freedman, Mr. Roche, and the Ava Labs executive relate to Ms. Ang’s

   disqualification motion. (Ex. 20.) That comports with common sense: Ava Labs has no

   conceivable relevance to the merits of this action, which concerns whether Lynn Wright has a

   membership interest in W&K and whether Ira Kleiman had authority to act on behalf of W&K in

   connection with the Federal Action.

            Accordingly, Ms. Ang’s discovery requests and subpoenas should be quashed, and the

   Court should bar her from continuing to pursue disqualification-related discovery that has no

   bearing on the merits of this action.

      IV.      DISCOVERY IS UNNECESSARY TO RESOLVE MS. ANG’S MOTION TO
               DISQUALIFY



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          Ms. Ang’s disqualification-related discovery should be quashed, and she should be barred

   from seeking discovery relating to her motion to disqualify, because her motion to disqualify may

   readily be resolved against her without any discovery. The discovery she seeks is, in other words,

   wholly unnecessary.

              a. Evidentiary Hearings Are Only Required Where Material Facts are Disputed

          In the motion to compel that she filed in her action against Ira, Ms. Ang argued that she is

   entitled to discovery because (i) an evidentiary hearing is always required to resolve a motion for

   disqualification and (ii) she needs evidence for that hearing. (See Ex. 18, Mot. to Compel at 4-5,

   Ang v. Kleiman, No. 50-2021-CA-004758-XXXX-MB (Fla. 15th Cir. Ct. Oct. 18, 2022).) But the

   premise of her argument—that an evidentiary hearing is required here—does not hold.

          Indeed, contrary to her assertion, Ms. Ang’s cited authority does not stand for the

   proposition “that an evidentiary hearing on every motion to disqualify counsel is required.”

   Allstate Ins. Co. v. Bowne, 817 So. 2d 994, 998 (Fla. 4th DCA 2002) (distinguishing Sch. Bd. of

   Broward Cty. v. Polera Bldg. Corp., 722 So. 2d 971 (Fla. 4th DCA 1999)). Instead, as those cases

   and others make clear, an evidentiary hearing on a motion to disqualify is only necessary “where

   material facts are in dispute.” Id. (quoting Sch. Bd. of Broward Cty., 722 So. 2d at 974). Where, as

   here, the motion could be resolved without relying on disputed facts, courts recognize that an

   evidentiary hearing would only serve “to cause the parties unnecessary expense,” and resolve the

   motion without such a hearing. Id.

          At bottom, Ms. Ang’s position is that a party that files a motion to disqualify is

   automatically entitled to discovery. (Ex. 18 at 3.) Such a rule, if accepted, would lead to absurd

   consequences. Indeed, if Ms. Ang were correct, then any party that filed a motion to disqualify—

   regardless of how frivolous that motion was—would be permitted to obtain intrusive discovery


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   from opposing counsel. That would not only encourage frivolous motions to disqualify (like the

   one here), but it would also fly in the face of the fundamental principle that discovery from

   opposing counsel “will rarely be justified.” Iacono, 271 So. 3d at 30. Fortunately, that is not the

   law, and Ms. Ang has not provided any authority that suggests otherwise.

              b. No Evidentiary Hearing is Necessary Because Ms. Ang’s Motion to Disqualify
                 May Be Denied Without Reference to Disputed Facts

          Ms. Ang is not entitled to discovery because, as explained below, her motion for

   disqualification may readily be denied without reference to any disputed or disputable fact.

                       i. Disqualification is Disfavored

          “It is generally agreed that a client has a right to counsel of his or her choice,” and that

   “[d]isqualification may impose extreme hardships on the client because this very valuable right is

   taken away.” Anderson Trucking Serv., Inc. v. Gibson, 884 So. 2d 1046, 1049 (Fla. 5th DCA 2004).

   Indeed, “attorneys are not fungible items that can be removed and conveniently replaced without

   causing undue hardship to the client and to the attorney.” Id. For these reasons, “the courts have

   consistently recognized that ‘[d]isqualification of a party’s chosen counsel is an extraordinary

   remedy and should be granted sparingly.’” Id. (quoting Cunningham v. Appel, 831 So. 2d 214, 215

   (Fla. 5th DCA 2002)); see also Applied Dig. Sols., Inc. v. Vasa, 941 So. 2d 404, 407 (Fla. 4th DCA

   2006) (“Disqualification of a party’s counsel is an extraordinary remedy and should be resorted to

   sparingly.” (quoting Alexander v. Tandem Staffing Sols., Inc., 881 So. 2d 607, 608-09 (Fla. 4th

   DCA 2004))); Stopa v. Cannon, 330 So. 3d 1033, 1035 (Fla. 2d DCA 2021) (“Since the remedy

   of disqualification strikes at the heart of one of the most important associational rights, it must be

   employed only in extremely limited circumstances.” (quoting Coral Reef of Key Biscayne

   Developers, Inc. v. Lloyd’s Underwriters at London, 911 So. 2d 155, 157 (Fla. 3d DCA 2005))).

                      ii. Ms. Ang Lacks Standing to Seek Disqualification



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           Ms. Ang’s motion to disqualify should be denied without discovery because she does not

   have standing. “As a general proposition, a party does not have standing to seek disqualification

   where, as here, there is no privity of contract between the attorney and the party claiming a conflict

   of interest.” THI Holdings, LLC v. Shattuck, 93 So. 3d 419, 424 (Fla. 2d DCA 2012) (cleaned up);

   Cont’l Cas. Co. v. Przewoznik, 55 So. 3d 690, 691 (Fla. 3d DCA 2011) (same); Info. Sys. Assocs.,

   Inc. v. Phuture World, Inc., 106 So. 3d 982, 984-85 (Fla. 4th DCA 2014) (same).

           Here, Ms. Ang has never had an attorney-client relationship with Mr. Roche or anyone at

   FNF, but she nevertheless moves to disqualify FNF on the alleged grounds that Mr. Roche has a

   conflict of interest under Florida Rule of Professional Conduct 4-1.7(a)(2). Indeed, her argument

   is that Mr. Roche puts “his and the Firm’s interest ahead of those of his clients” and that he is

   “secretly representing” Ava Labs’s interests instead of his client’s interests. But even if that were

   true—and to be clear, it isn’t—that would be none of Ms. Ang’s concern. See Stopa, 330 So. 3d at

   1036-37 (no standing where movant failed to explain how he was “harmed” by “purported

   conflict”); Akerman LLP v. MSP Recovery Claims, Series LLC, 338 So. 3d 309, 310-11 (Fla. 3d

   DCA 2022) (no standing where conflict did not involve movant). She does not, in other words,

   have a “dog in that fight,” Stopa, 330 So. 3d at 1036, and therefore lacks standing to seek

   disqualification on the basis of the purported conflict (see Ex. 2, Order at 10, Temujin Labs Inc. v.

   Abittan, Case No. 20CV372622 (Cal. Super. Ct. Nov. 21, 2022) (holding that parties that were not

   former clients of Roche Freedman LLP lacked standing to seek disqualification of the Firm based

   on alleged conflict between the Firm’s client and Ava Labs)).

           Ms. Ang suggests that she has standing because Mr. Roche’s alleged “conflict is such as

   clearly to call in question the fair or efficient administration of justice.” That argument is meritless.

   Courts have construed that exception to apply narrowly to circumstances where the attorney




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   targeted by the motion obtained “an informational advantage” over the movant in a prior

   representation, Anderson Trucking, 884 So. 2d at 1050-51, or literally switched sides over the

   course of the litigation, see Cont’l Cas. Co., 55 So. 3d at 693-94 (exception inapplicable because

   case did “not involve circumstances where the law firm either disclosed confidences learned from

   representing Respondents or switched sides in violation of the Rules of Professional Conduct”).

   Ms. Ang does not—and cannot—allege that anything like that happened here.

                     iii. Ms. Ang Fails to Establish that Mr. Roche Had a Disqualifying Conflict

          Even if Ms. Ang had standing, her motion to disqualify should still be denied without

   discovery because she cannot establish that Mr. Roche ever had a conflict of interest in this case,

   which was brought by Wright’s ex-wife, Lynn.

                              1. Ms. Ang Fails to Establish a Personal-Interest Conflict

          As an initial matter, Ms. Ang’s argument that Mr. Roche has a personal-interest conflict is

   not relevant in light of Mr. Roche’s departure from the Firm.

          That said, it is also based on an unsupportable interpretation of his illegally recorded

   statements and should be rejected. Indeed, she claims (at 2, 12),5 paradoxically, that Mr. Roche

   has a personal-interest conflict because “his business plan is never to settle a case, irrespective of

   his purported clients’ interests, and instead to take all cases to trial,” but that he also “settles

   because of publicity for the Firm.” But in the videos that Ms. Ang cites (at 10), Mr. Roche did not

   say or suggest those things. Instead, with respect to Mr. Roche’s supposed ironclad policy against

   settlement, the video clips show that Mr. Roche was crassly describing an approach to settlement




          5
            Citations in the form “(at __)” are to Ms. Ang’s motion for disqualification, which is
   attached as Exhibit A to Exhibit 18.


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   negotiation where the attorney credibly threatens to bring a matter to trial in order to achieve a

   more favorable result for his or her client:

                  Most plaintiff-side law firms, they don’t like litigating. They want
                  to just file a lawsuit. Settle. File a lawsuit. Settle. You say to a
                  defendant, I don’t f------- care about settling. I’m just a crazy
                  motherf------ and I have resources and I will take you to the end.
                  And taking you to the end, it won’t be a nuisance settlement. It will
                  be, I’ve got a piece of paper that says, “I own your company now.”

                  [video cuts]

                  I was fortunate that I did the Ava Labs deal, so I have the ability to
                  say, “Look, it’s not about the money anymore for me; it’s about
                  taking you guys to trial.”

          Ms. Ang points to no case law—and, to the Estate’s knowledge, none exists—that stands

   for the proposition that an attorney has a disqualifying conflict of interest where he or she expresses

   to opposing counsel a willingness to go to trial in order to obtain a more favorable settlement offer.

   Indeed, even if Mr. Roche said he would never settle (he didn’t), and Mr. Roche was still at FNF

   (he’s not), Ms. Ang’s argument would still fail. If parties could disqualify opposing counsel for

   being willing to go to trial, it would result in havoc through the judicial system. In addition, Mr.

   Roche represented the defendant in this litigation, not the plaintiff, so the settlement argument has

   no relevance here.

           With respect to Mr. Roche’s supposed preference for settlement, the 17-second video clip

   that Ms. Ang cites (at 10), which cuts off during the middle of Mr. Roche’s sentence, does not

   support the inference that Mr. Roche prioritizes the interests of his firm over clients in determining

   whether a case should be settled. Indeed, although Mr. Roche observed that a $100-million

   settlement would lead to publicity for the Firm, he doesn’t say—or even suggest—that he would

   settle a case on that basis even if it was not in the client’s best interest. In any event, given Mr.

   Roche’s departure, any such statement would be irrelevant.



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                              2. Ms. Ang Fails to Establish a Conflict Between Mr. Roche’s Previous
                                 Representation of the Estate and Ava Labs

          Ms. Ang’s argument (at 13) that Mr. Roche has a conflict based on his simultaneous

   representation of Ava Labs (which he no longer represents) and the Estate (which he no longer

   represents) is unsupported by evidence, completely illogical, and should be rejected.

          First, the vast majority of Ms. Ang’s “evidence” is wholly irrelevant. Indeed, although she

   argues at length (at 12-13) that Mr. Roche improperly filed and prosecuted class actions for the

   benefit of Ava Labs and that he otherwise engaged in “improper conduct” in connection with class

   actions, this case is not a class action. Indeed, it’s the defense of an action Wright’s ex-wife

   initiated. Moreover, Ms. Ang’s accusations that Mr. Roche improperly uses litigation to harm Ava

   Labs’s competitors is similarly irrelevant, given that Ms. Ang does not and cannot argue that she

   “competes” with Ava Labs.

          Second, Ms. Ang asserts (at 12-13) that Mr. Roche brought the Federal Action against Ms.

   Ang’s husband because Ava Labs’s CEO, Emin Gun Sirer, has a “rivalry” with Wright. But Ms.

   Ang does not—and cannot—argue that Mr. Roche improperly brought this action on behalf of or

   for the benefit or Mr. Sirer. Indeed, Mr. Roche did not commence this action at all; Ms. Wright

   did. Ms. Ang cites no authority for the proposition that an attorney can be disqualified in one action

   because he or she commenced a different action on behalf of a client for an allegedly improper

   purpose.

          Third, even setting that aside, the notion that the Federal Action against Wright was

   brought for an improper purpose is absurd. That action was filed while Mr. Roche was a second-

   year associate at Boies Schiller Flexner LLP, before Ava Labs even existed, more than a year

   before Roche Freedman LLP was formed, and more than a year before Mr. Roche met, or even

   heard of, Mr. Sirer. It was not, as Ms. Ang contends, commenced by a “straw” plaintiff; it was



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   commenced by the Estate and W&K, which both believed in good faith that they had meritorious

   claims against Wright, based on Ira Kleiman’s communications with Wright dating back to 2014.

   The Estate and W&K were, it turns out, correct: their claims survived multiple dispositive motions,

   and W&K ultimately obtained a $143-million judgment against Wright after a four-week jury trial.

   Cf. In re Flinn, 139 F.R.D. 698, 699 (S.D. Fla. 1991) (“[I]f a reasonably clear legal justification

   can be shown for the filing the paper in question, no improper purpose can be found and sanctions

   are inappropriate.”).

          Fourth, Ms. Ang claims (at 12) that Mr. Roche’s representation of Mr. Sirer in another

   litigation, against someone named Emre Aksoy, “demonstrates an abuse of process akin to what

   appears to have happened to Dr. Wright.” Her apparent basis for that accusation is that both Mr.

   Aksoy and Wright are “nemeses” of Mr. Sirer, and Mr. Roche represented plaintiffs who sued

   them both. That fact is unremarkable, given that Mr. Roche represented a number of clients in the

   crypto space and that Wright has been labeled “Bitcoin’s most hated man.” In any event, as in the

   Federal Action, there is no basis to conclude that Mr. Roche did anything improper in connection

   with his representation of Mr. Sirer in the action against Mr. Aksoy. Indeed, Mr. Sirer was named

   as the plaintiff in that action, which was a meritorious defamation action that arose out of Mr.

   Aksoy’s false statements that Mr. Sirer was a “terrorist.” (See Compl. Sirer v. Aksoy, 1:21-cv-

   22280 (S.D. Fla. June 22, 2021).) Mr. Sirer’s identity was not “conceal[ed],” as Ms. Ang baselessly

   suggests.

          Fifth, Ms. Ang cannot establish a conflict under Rule 1.7(a)(2), the rule that she invokes.

   Under that rule, “[t]he critical questions are the likelihood that a conflict will eventuate and, if it

   does, whether it will materially interfere with the lawyer’s independent professional judgment in

   considering alternatives or foreclose courses of action that reasonably should be pursued on behalf




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   of the client.” Fla. Bar R. 4-1.7 cmt. Ms. Ang’s position is that Mr. Roche was representing the

   Estate and W&K to further Mr. Sirer’s “vendetta” against Wright. If that’s true, then the Estate

   and Mr. Sirer have precisely the same interest: to defeat Wright and his current and former spouses.

          Indeed, far from identifying a probable conflict, Ms. Ang is unable to identify even a

   hypothetical divergence in interests (which would, of course, still be insufficient). See Matter of

   Sea Star Line, LLC, 2017 WL 485700, at *2 (M.D. Fla. Feb. 6, 2017) (denying motion to

   disqualify, where “purported conflict” was “merely hypothetical”). That is especially true where

   Mr. Roche is no longer at the Firm; Mr. Roche no longer represents the Estate, W&K, or Ava

   Labs; and FNF no longer represents Ava Labs.

          Sixth, the objective evidence demonstrates that Mr. Roche’s representation of Ava Labs,

   the Estate, and W&K never conflicted. Indeed, in the Federal Action, Mr. Roche helped W&K

   obtain a $100-million jury verdict against Wright, one of the largest jury verdicts of 2021. As a

   matter of common sense, that is not the kind of outcome that stems from conflicted or deficient

   representation.

                     iv. Ms. Ang’s Rule 4-8.4 Argument is Meritless

          Ms. Ang also argues (at 13-14) that Mr. Roche—who is not representing any party in this

   action and who is no longer at the Firm—should be disqualified because, in her view, he engaged

   “in conduct involving dishonesty, fraud, deceit, or misrepresentation” in violation of Florida Rule

   4-8.4. Setting aside that the argument is moot given that Mr. Roche is no longer at the Firm, Ms.

   Ang’s argument is completely meritless.

          First, Ms. Ang does not point to any evidence that Mr. Roche engaged in such misconduct

   in this action. Instead, her allegation is that—in other matters—Mr. Roche brought “pretextual




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   lawsuits, for improper purposes, on behalf of undisclosed shadow clients.” This is a lawsuit

   brought by Ms. Wright, not by Mr. Roche on behalf of a client.

          Second, Ms. Ang does not point to any precedent under which an attorney was disqualified

   on the grounds that he or she violated Florida Rule 4-8.4, let alone precedent under which an

   attorney was disqualified from one matter on the grounds that he or she violated that rule in another

   matter. If such a case exists, the Estate has been unable to find it.

          Third, Ms. Ang asserts (at 13) that Mr. Roche “inherently prejudices the administration of

   justice in any court where he appears” because he “publicly denounced his purported clients and

   all jurors as ‘idiots’” and “declared himself ‘crazy.’” But Ms. Ang’s representation that Mr. Roche

   “declared himself crazy” is a mischaracterization. Mr. Roche did make improper remarks about

   himself, jurors, and class members, but Ms. Ang cites no authority that suggests that those crass

   comments warrant disqualification.

                       v. Mr. Roche’s Conduct Is Not Imputed to the Firm

          Almost as an afterthought, Ms. Ang asserts (at 14-15) that Mr. Roche’s “misconduct must

   be imputed to the Firm.” That argument is meritless and should be rejected.

          First, to the extent that Ms. Ang is arguing that Mr. Roche’s “misconduct” under Rule 4-

   8.4 is imputed to the firm, she provides no authority to support that novel argument. To the

   contrary, Rule 4-1.10, the rule that she cites, governs the “imputation of conflicts of interest,” not

   the imputation of any and all misconduct. Ms. Ang, moreover, provides no evidence that the

   remaining attorneys at the firm engaged in any of the misconduct of which she has accused Mr.

   Roche in this or in any other actions (e.g., declaring themselves “crazy” or making inappropriate

   remarks about jurors or class members).




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          Second, to the extent that Mr. Roche ever had a personal-interest conflict as a result of his

   alleged views regarding settlement, there is no evidence to support the inference that anyone else

   at the Firm shared that view. See Fla. Bar R. 4-1.10(a) (exception to imputation of conflicts, where

   conflict is “based on a personal interest of the prohibited lawyer”). Indeed, on their face, Mr.

   Roche’s statements about settlement are personal to him.

          Third, Ms. Ang’s argument is premised on her assertion that Mr. Roche “directs the affairs”

   of the Firm, but to the extent that was once true to any degree, it certainly no longer is. Mr. Roche

   has left the firm. There is, moreover, no evidence that the Firm’s remaining attorneys shared Mr.

   Roche’s allegedly improper purpose in pursuing the Federal Action against Wright or in pursuing

   any other matter. Indeed, a court recently concluded that another party’s accusation that other FNF

   attorneys shared Mr. Roche’s allegedly improper purpose was “speculative,” did not credit those

   accusations, and denied the party’s motion to disqualify (Ex. 2, Order at 12, Temujin Labs Inc. v.

   Abittan, Case No. 20CV372622 (Cal. Super. Ct. Nov. 21, 2022).)

          Fourth, given that Mr. Roche is no longer at the Firm, no longer represents Ava Labs, and

   no longer represents the Estate or W&K, and given that the Firm no longer represents Ava Labs,

   there is no basis to conclude that the Firm has a conflict going forward under Rule 1.7(a)(2). See

   Blake v. State, 180 So. 3d 89, 101 (Fla. 2014) (“[D]isqualification is a prophylactic remedy for

   likely future prejudice, not a punishment for past wrongdoing.”).

                     vi. Disqualification Would Unfairly Harm the Estate

          Ms. Ang’s motion should also be denied because disqualifying FNF would unfairly burden

   the Estate. See Anderson, 884 So. 2d at 1049 (explaining that “[d]isqualification may impose

   extreme hardships on the client”). The Estate has been represented by Devin Freedman of FNF

   since the Estate commenced the Federal Action in early 2018. (See Compl., Kleiman, No. 9:18-




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   cv-80176 (S.D. Fla. Feb. 14, 2018), ECF No. 1.) For this entire period, Mr. Freedman has served

   as lead counsel and as the primary contact for the Estate and W&K. Under these circumstances,

   “it is not the alleged conflict that calls into question the fair administration of justice”; rather, it

   would be the disqualification of the Estate’s “chosen counsel.” Anderson Trucking, 884 So. 2d at

   1051.

       V.      MS. ANG CANNOT SHOW THAT SHE IS ENTITLED TO OBTAIN
               DISCOVERY FROM OPPOSING COUNSEL

            Even if the Court were to conclude that Ms. Ang were entitled to some discovery relating

   to her motion to disqualify, she cannot meet the heavy burden to show that she is entitled to obtain

   any discovery from opposing counsel.

            “[T]aking the deposition of opposing counsel in a pending case is an extraordinary step

   which will rarely be justified.” Eller-I.T.O. Stevedoring Co., LLC v. Pandolfo, 167 So. 3d 495, 496

   (Fla. 3d DCA 2015) (quoting State v. Donaldson, 763 So. 2d 1252, 1254 (Fla. 3d DCA 2000)).

   Such depositions “should be limited to where the party seeking to take the deposition has shown

   that (1) no other means exist to obtain the information than to depose opposing counsel; (2) the

   information sought is relevant and non-privileged; and (3) the information is crucial to the

   preparation of the case.” Id. (quoting Shelton v. Am. Motors Corp., 805 F.2d 1323, 1327 (8th Cir.

   1986)). These restrictions, commonly referred to as the Shelton requirements, similarly apply to

   document requests targeted at opposing counsel. See, e.g., Silver v. BA Sports Nutrition, LLC, 2020

   WL 6342939, at *2 (N.D. Cal. Oct. 29, 2020) (collecting cases where courts “applied the Shelton

   standard to non-deposition discovery involving opposing counsel”); XTO Energy, Inc. v. ATD,

   LLC, 2016 WL 1730171, at *31 (D.N.M. Apr. 1, 2016) (explaining that “[t]he use of a subpoena

   duces tecum to attempt to obtain opposing counsel’s documents and files is equally improper and

   may be more burdensome than merely attempting to obtain testimony”).



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          Here, Ms. Ang is plainly seeking discovery from opposing counsel. Mr. Freedman, Mr.

   Roche, and FNF represented the Estate in the Federal Action, which Ms. Ang claims (at 1)

   “spawned this action”; Mr. Freedman and FNF represent the Estate here; and Mr. Roche previously

   represented the Estate in this action. In addition, Ms. Ang’s counsel from Rivero Mestre LLP

   represents Wright in the Federal Action, where the Estate’s claims are currently on appeal before

   the Court of Appeals for the Eleventh Circuit.

          Ms. Ang cannot, moreover, meet the Shelton requirements. See Eller-I.T.O., 167 So. 3d at

   497 (“Because respondents failed to satisfy Shelton’s requirements, we grant the petition for writ

   of certiorari and quash the lower court’s order without prejudice.”). The information that she seeks

   from Mr. Freedman, Mr. Roche, and FNF—as explained above—is irrelevant to the merits of this

   action. It is not, and Ms. Ang cannot argue that it is, “crucial to the preparation of the case,” as

   required by Shelton.

          In addition, the information is privileged and protected by the work-product doctrine. Ms.

   Ang’s motion to disqualify is premised on her accusation (at 11) that Mr. Roche commenced the

   Federal Action against Wright for the improper purpose of benefiting Ava Labs’s CEO.

   Accordingly, many of the discovery requests that Ms. Ang has served on FNF concern the

   “purpose” of the Federal Action (e.g., Ex. 4 at 3), where FNF and Mr. Freedman still represent the

   Estate on appeal, and where Ms. Ang’s counsel represents Wright. Ms. Ang’s depositions of Mr.

   Freedman and Mr. Roche would similarly focus on that issue.

          This is precisely the kind of discovery that Shelton was intended to prevent. See

   Zimmerman v. State, 114 So. 3d 446, 447 (Fla. 5th DCA 2013) (“The Shelton test was intended to

   protect against the ills of deposing opposing counsel in a pending case that could potentially lead

   to the disclosure of the attorney’s litigation strategy.”). Accordingly, even if the Court concludes




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   that Ms. Ang may pursue some discovery in connection with her motion to disqualify, she should

   be precluded from seeking discovery from Mr. Freedman, Mr. Roche, and FNF.

                                           CONCLUSION

          For the foregoing reasons, the Estate respectfully requests that Ms. Ang’s discovery

   requests and subpoenas be quashed, and that she be ordered to cease pursuing discovery in

   connection with her meritless motion to disqualify Roche Freedman LLP. The Estate further

   requests that Ms. Ang be ordered to pay its fees and costs in connection with this motion.



                                                 Respectfully submitted,

    Dated: December 23, 2022                     /s/ Velvel Freedman
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                                                 Normand Friedland LLP




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                          EXHIBIT 1
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                 Crypto Leaks




     Ava Labs (Avalanche)
     attacks Solana & cons
     SEC in evil conspiracy
     with bought law firm,
     Roche Freedman
     In his rush to hurt competitors, and distract regulators from his
     actions, Emin Gün Sirer is harming everyone in blockchain




          i       Our spy videos: This report shares extensive spy video. All video has
                  been collected in accordance with applicable laws.




          i       Whistleblower appeal: With these disclosures, we aim to show people
                  who are not crypto insiders what goes on behind the scenes. Do you
                  want to be part of this movement? If you have any further information
                  on this case and the different parties involved, become a whistleblower


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                  for Crypto Leaks and join our movement bringing honesty and integrity
                  back to the crypto community.




     CASE #3                  August 26, 2022 [UPDATED August 31]



     Ava Labs, Avalanche and Roche Freedman
     Ava Labs is an American for-profit company that develops and promotes the
     Avalanche blockchain, which recently raised substantial funding in collaboration
     with Three Arrows Capital, the failed hedge fund that has been accused of
     acting like a Ponzi scheme. It is led by CEO and founder, Emin Gün Sirer, and
     claims to employ more than 150 people. The Avalanche network currently has a
     fully diluted market capitalization of more than $16.5 billion USD.




     Roche Freedman is a law firm that widely sues people in crypto, currently
     running at least 25 class actions, including against Binance, the crypto
     exchange, and Ava Labs (Avalanche) competitors Solana Labs (Solana) and the


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     Dfinity Foundation (an Internet Computer contributor). It is led by founding
     partner, Kyle Roche, and employs more than 30 lawyers.




     We can reveal that for several years they have been operating according to an
     extraordinary secret pact that harms the crypto industry, and has a nature so
     perverse that it undermines the integrity of the American legal system.

     Some years ago, blockchain company Ava Labs and Amercian law firm Roche
     Freedman, made a deal. A pact was formed that involved Ava Labs granting
     Roche Freedman a massive quantity of Ava Labs stock and Avalanche
     cryptocurrency (AVAX), now worth hundreds of millions of dollars, in exchange
     for Roche Freedman agreeing to pursue a hidden purpose.

     In a shocking series of video recordings, shared by this case investigation, Kyle
     Roche himself now reveals the exact nature of their ongoing operations. The
     case is highly disturbing in nature.

     We can reveal that the pact directs Roche Freedman and their leader Kyle
     Roche, to: 1) use the American legal system - gangster style - to attack and
     harm crypto organizations and projects that might compete with Ava Labs or
     Avalanche in some way, 2) sue crypto industry actors generally with the aim of
     creating magnets for regulators such as the SEC and CFTC that distract them
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     from the highly commercial nature of Ava Labs and the Avalanche blockchain,
     and 3) secretly pursue Emin Gün Sirer's personal vendettas against
     individuals.

     As usual, Crypto Leaks brings you the hard evidence that nobody else can
     obtain. We explain with the help of words spoken by Emin Gün Sirer's own
     lawyer, Kyle Roche.


     Ava Labs & Roche Freedman co-locate
     August 2019, the newly formed law firm Roche Freedman moved into a co-
     working space with Ava Labs, the for-profit company that develops and
     promotes the Avalanche blockchain.




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     Big money establishes a secret pact
     In exchange for Roche Freedman providing what Kyle calls "legal services", Ava
     Labs granted them massive amounts of:

          AVAX                 the Avalanche blockchain's tokens.

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          Ava Labs corp's stock (Ava Labs holds AVAX for founders and investors).

     Kyle Roche says he was the very first person to receive Ava Labs stock after
     Andreessen Horowitz, a venture capitalist that provided their initial funding.




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     So if Ava Labs was flush with cash having just received investment from
     Andreessen Horowitz, why did they need to pay for "legal services" in this
     way?

     The answer is that they were not paying for normal legal services. The massive
     payments of AVAX and Ava Labs stock established a secret pact. This was so
     unusual, that it required the grant of assets that are worth hundreds of millions
     of dollars today.

     Kyle boasts he has a full point on AVAX, and Ava Lab stock...




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     Kyle says he has about a third of what Kevin Sekniqi has, who is the co-founder
     and current COO (Chief Operating Officer) of Ava Labs.

     Kyle says that he helps control the AVAX token supply, and helps Ava Labs
     with "regulation issues," and "competitors..."




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     Kyle refers to Emin Gün Sirer by his nickname, "Goon."

     He says he trusts "Goon" and Kevin "like brothers," and that they have the "same
     interests..."




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     As the conversation progresses, the truth about the pact begins to emerge:
     Kyle confirms that they litigate against (sue) other parties in crypto as a
     "strategic instrument" to "support Ava Labs" to a level where they made him an
     "equity partner." Kyle says litigation "is an underused tool."

     Kyle describes participating in the pact as a:




      “
                  completely different way than being a lawyer




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     Kyle Roche moved to Miami for "tax purposes."

     He moved in with Kevin Sekniqi, Ava Labs' COO, reflecting just how tightly the
     organizations work together.

     In the years since he moved, Kyle Roche has failed to update his LinkedIn profile,
     which still lists his location as the "New York City Metropolitan Area," which is a
     more prestigious place to locate a law firm.

     Naturally, Kyle's profile makes no mention of Avalanche or Ava Labs.

     Behind this elaborate smokescreen, Kyle is working from Miami with two key
     objectives: 1) to increase the price at which he can sell his AVAX tokens and Ava
     Labs stock, and 2) to reduce the amount of tax he pays when he sells.




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     Harvesting confidential information
     As the conversation continues, the first signs of the perverse nature of the
     secret Ava Labs/Roche Freedman pact begin to emerge.

     Kyle reveals that he started out as a "crypto expert" for Ava Labs. But how, you
     might ask, could a lawyer be a "crypto expert" for a company that develops and
     promotes a blockchain.

     Kyle reveals that answer. He can contribute a special kind of expertise and
     knowledge — which he explains he has been able to obtain because:




      “
                  I sue half the companies in this space

     In the USA, when you sue an individual or company, you can demand access to
     their confidential accounts, commercial data, email and social media
     communications, and more, using a special legal process known as "discovery".
     This has resulted in him:




      “
                  seeing the insides of every single crypto company


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     Kyle boasts that being able collect information in this way has resulted in him
     becoming one of the:




      “
                  top 10 people [experts] in the world [in crypto]

     If a blockchain company could unfairly gain access to the confidential
     information of others, they could use it as a powerful competitive tool. It seems
     that Kyle sharing this special expertise with Ava Labs was one of the key factors
     that convinced Emin Gün Sirer to make the pact.

     Until proven otherwise, we must assume that Ava Labs may even have directed
     Roche Freedman as to what confidential information they should harvest from
     the industry. It is unclear how much confidential information Ava Labs has
     obtained, but the potential for extreme wrongdoing is very concerning.

     Naturally, you can be sure that during discovery against a target, Roche
     Freedman automatically demands the identities of investors, contractual
     agreements with partners, customer lists, payroll details, and information about
     every other kind of financial transacton, related to the organizations they are
     litigating against, and their founders and executives. They will also ask for
     complete email, Slack and other communication histories, which provide them
     with a treasure trove of information valuable to a competitor, including even
     technical insights.

     The many crypto industry participants who have been litigated against by Kyle
     Roche must now question exactly how much of their confidential data is now
     in the possession of Ava Labs executives.




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     Harming competitors and fooling regulators
     Roche Freedman runs litigation against numerous people and organizations in
     the blockchain industry (i.e. it sues them). A favored method is to initiate class
     actions. Several months ago, Kyle Roche claimed to be running more than 25
     class actions.


          i          Roche Freedman class actions: In their American class actions, they
                     propose a class of people whom they claim have been harmed, for
                     example because they lost money trading a cryptocurrency. They then
                     create a lawsuit in their name, for example claiming that the
                     cryptocurrency is an illegal security, and that therefore that those
                     developing or promoting the blockchain involved, or those running
                     crypto exchanges that enabled them to trade the cryptocurrency, are
                     liable for the losses of everyone in the class. In the United States, they
                     only have to find one person willing to be a representative plaintiff for
                     the class to initiate action.




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     When they create class actions and other litigation against Ava Labs
     competitors and crypto industry participants, Kyle Roche has revealed that
     Roche Freedman often has two hidden purposes:

          1. Surreptiously causing harm to a competitor.
             If there are two horses competing in a race, and you can hack at the leg of
             one, the other will win. Their horse is AVAX and Ava Labs stock. Initiating a
             class action against their competitors can harm them in multiple ways, and
             so they have secretly weaponized the legal system to do this. Even when
             they can make only a weak case, such that with high probability they will
             lose the litigation, this can still harm their targets, greatly profiting them.
             Moving the price of AVAX by only a small amount, by harming competitors,
             can produce big gains for them when they make sales from their huge
             hoard of AVAX tokens and Ava Labs stock. Ava Labs is not ever named as
             the litigant — the class of plaintiffs is — disguising what is really going on.

          2. Luring regulators, including the SEC and CFTC, away from Ava Labs.
             They often litigate against competitors in ways that make them look guilty
             of regulatory transgressions. Directing the attention of regulators towards
             competitors can cause further great harm to them, but also serves to lure
             regulators away from Ava Labs and their ravenously commercial behavior,
             which regulators would otherwise be very interested in. Kyle tells us he
             litigates to create "other magnets" for regulators to go after. They also do
             this to crypto actors who are not obvious competitors.

     Here's a quick crib sheet for what is going on:

          Roche Freedman typically attacks competitors using American "class actions,"
          in which they claim to be representing a group of people who they claim have
          been "harmed" (the plaintiffs). For example, they can claim another
          blockchain's tokens are illegal securities, and consequently some people who
          traded them suffered unfair losses when the price fell.

          In the United States, class action legal filings are "protected speech." This
          allows Roche Freedman to make damaging claims about other projects that
          are in reality completely false, without risk of being sued for defamation (or
          "libel"). For example, they filed a lawsuit against the Dfinity Foundation that
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          essentially parroted the false claims of Arkham Intelligence. The purpose is to
          damage the reputation of their targets, and/or surround their brands in FUD.

          Once Roche Freedman has initiated litigation against a target in crypto, they
          can collect/harvest confidential information from them using the legal
          discovery process, creating "expertise" that they can share with Ava Labs.

          The nature of the American class action system forces targets to spend far
          more on defense than Roche Freedman spends litigating against them. This is
          because if they lose — and juries are unpredictable — the judge can award
          astronomical damages against them. This drains the resources of
          competitors, as well as distracting them from their core work.

          Roche Freedman's financial risk is limited to the money it spends on litigating
          against a target. This is because another quirk of the American legal system
          prevents the targets of their class actions from claiming their legal costs back
          from Roche Freedman if they win.

          Roche Freedman can spend a few million dollars litigating against an Ava
          Labs competitor, and lose the case, and still come out on top, if their actions
          harm or suppress a blockchain that competes with Avalanche (since if their
          actions may drive the price of AVAX even slightly higher, such is the size of
          their holdings, they can make a substantial profit).

          By naming the founders and executives of blockchain ecosystems and
          companies in their class actions, they can threaten them with total bankruptcy
          if they lose. This destablizes their key leaders and innovators, also placing
          tremendous pressure on their families, especially when there are children
          involved. Naturally, if they can cause family issues for the leaders of
          competitors, this will further degrade their capabilities.

          Ava Labs and Roche Freedman seek to surreptitiously increase the price of
          AVAX in a ruthless and highly commercial manner. Their desire to promote
          AVAX and increase its price at any cost greatly increases the risk that the SEC
          would class the AVAX token as an illegal security. To divert the attention of
          regulators like the SEC and CFTC elsewhere, they widely litigate against other
          actors in the blockchain industry accusing them of regulatory transgressions.
          This protects them by diverting attention elsewhere, while increasing the
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          regulatory risk of the target, which is doubly useful to them if they are some
          kind of competitor.

     Kyle Roche says he is the reason Ava Labs haven't been sued. He says that to
     protect them, he makes sure that:




      “
                  the SEC and CFTC have other magnets to go after




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     Kyle even claims that thanks to his efforts, he has ensured that for Ava Labs,
     there's




      “
                  no such thing as regulation for what they want to do




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https://cryptoleaks.info/case-no-3                                                                                                                        15/39
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                                                                                                                                         Roche Freedman
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     Emin Gün Sirer's two-faced nature
     Emin Gün Sirer regularly professes his support for other blockchain projects, and
     indicates he wishes their ecosystems the best. Here he offers support for
     Solana users when they were having their wallets emptied by the Slope wallet
     exploit, claiming kinship by saying everyone in the space was affected, and then
     offering apparently well-intentioned technical theories on what might be
     happening (all of which proved wrong).

                     Emin Gün Sirer · Aug 2, 2022
                     @el33th4xor · Follow
                     There's an ongoing attack targeting the Solana ecosystem right
                     now. 7000+ wallets affected, and rising at 20/min. Because it's very
                     early and the attack is ongoing, there's a lot of misinformation and
                     speculation. So here are a few thoughts and clarifications.
                     Emin Gün Sirer
                     @el33th4xor · Follow
         First of all, our hearts go out to the Solana community.
         Attacks like this affect not just the directly targeted system,
         but everyone in the space indirectly by eroding people's
         confidence in the space. Here's hoping for a quick
         clarification and recovery, if possible.
         10:32 PM · Aug 2, 2022
                 865                 Reply         Copy link
                                                   Read 29 replies

     Nobody should be fooled. This tweet thread was created only weeks after
     Roche Freedman filed a class action targeting the core of the Solana
     ecosystem claiming that its SOL token is an illegal security.

     The false narrative Emin is establishing by these attacks hurts everyone in the
     industry. He should consider that one day he may find himself facing exactly the
     same arguments that he is establishing in his rush to hurt competitors.


     Do their actions make AVAX a security?
https://cryptoleaks.info/case-no-3                                                                                                                        16/39
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                                                                                                                                         Roche Freedman
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     What is most frustrating, is that Ava Labs and Roche Freedman are probably the
     most ruthlessly commercial operation in blockchain, which is amply revealed by
     their secret weaponization of the legal system against competitors. Indeed, their
     relentless subtle (and not so subtle) promotion of AVAX as an investment
     opportunity, combined with their nefarious tactics, are in fact very likely to make
     AVAX a security.

     Kyle Roche has implored Emin Gün Sirer not to mention the price of AVAX so
     as not to catch the eye of the regulators. However, Emin can't contain himself
     when there is a major AVAX price rally.

     During one such rally December 7 2021, Emin Gün Sirer even encouraged his
     followers by leading them in an adapted Paul Simon song:

                     Emin Gün Sirer
                     @el33th4xor · Follow
         Hello #Avalanche my old friend.
         2:36 PM · Dec 7, 2021
                 2.7K                Reply          Copy link
                                                   Read 116 replies

     CASE UPDATE — Thanks to community
     In the tweet below, Emin announced an Ava Labs marketing campaign on the
     New York subway, with the strapline "It's never too late to be early." The not-so-
     subtle sales pitch to investors is that it is still possible to be an early investor in
     the AVAX token and make substantial profits. Emin's tweet announced the
     campaign, which ran in parallel with other Ava Labs campaigns, on December
     14, 2021. That day the AVAX price was $87.30. By December 15, the price was
     $101.18. By December 21, the price was $123.33. At the time of writing (end
     August 2022) the price is around $19.

                     Emin Gün Sirer
                     @el33th4xor · Follow
         It's never too late to be early.
https://cryptoleaks.info/case-no-3                                                                                                                        17/39
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                                                                                                                                         Roche Freedman
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         10:04 AM · Dec 14, 2021
                 4K                  Reply        Copy link
                                                  Read 182 replies

     Roche Freedman is continually suing other blockchain projects on the basis that
     they have made regulatory infractions, and are therefore liable to token traders
     that lost money. Yet, they have never sued Ava Labs, a blockchain project that
     directly markets its tokens to retail investors as investment products, who have
     consequently lost substantial funds.

     Kyle Roche's own words, shared by our Case #3 videos, make it amply clear
     why Roche Freedman have not, and will not, sue Ava Labs.


     Emin Gün Sirer's personal vendettas
     It is a great surprise that Ava Labs' legal proxy performs work prosecuting Emin
     Gün Sirer's personal vendettas. This looks like a misuse of company resources
     for personal purposes, which is a serious no-no in the corporate world.

     His regular use of "dark power" is also most unexpected for a man who likes to
     brandish the title of "professor at Cornell University".

     First blood: a social media pundit
https://cryptoleaks.info/case-no-3                                                                                                                        18/39
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     Emin's first vendetta was against a Turkish social media crypto pundit who said
     that he "heard he was a member of FETO."




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     Kyle Roche found out that the social media pundit was landing in Miami for a
     business trip. He used the event to serve him papers, and ensnare him in the
https://cryptoleaks.info/case-no-3                                                                                                                        19/39
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     American legal system. The moment was videoed for Emin's pleasure.

     Kyle shares that Emin now watches the video once a month — presumably to
     relive the shock and pain caused by the ambush — revealing troubling
     tendencies.

     Kyle seems very pleased, and says:




      “
                  that's why Gün loves me...




                0:00 / 0:31




     CASE UPDATE — Thanks to community
     We have not investigated the rights-and-wrongs of the Crypto Emre case.
     However, the community has produced interesting additional information. They
     say that early in 2021, there was a lot of excitement about CBDCs (Central Bank
     Digital Currencies), and that Ava Labs ran marketing campaigns in Turkey
     claiming that they were in talks about running them on Avalanche with the
     Turkish Central Bank, the Bank of England, and the Bank Of Canada. They say
     that Emre then debunked the claims, by contacting the central banks involved,
     and then tweeting their responses (see here, here and here) and that this kind of
     thing was a key driver of Ava Labs' animosity towards him.


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     We also note that Kyle Roche/Roche Freedman threatened Emre in February
     2021 on behalf of Ava Labs and Emin Gün Sirer. This contrasts with Emin Gün
     Sirer's recent denials of close links to Roche Freedman.




     Surreptitiously attacking Craig Wright

     CORRECTION — Thanks to community
     Emin Gün Sirer has marketed himself as a Cornell University professor for years.
     However, in fact, he appears to have ben removed from his post at the end of
     2021. Regarding his actual role: Emin completed his PhD, then spent 7 years as
     an assistant professor, then transitioned to associate professor, where he
     remained for 14 years, never making it to university professor. We believe
     frustrations with his academic career led him to a grandiose sense of his own
     academic achievements within blockchain.

     There are numerous indications that Emin Gün Sirer wishes to promote himself
     as the "Father of Blockchain." Recently, he had his PR people update his
     wikipedia page with the dramatic claim that his:




      “
                  Karma system, published in 2003, is the first cryptocurrency that uses a
                  distributed mint based on proof-of-work

     Experts in the field examining this paper say this claim is unjustifiable.
     Meanwhile, while developing Avalanche, he anonymously published a paper
     describing the consensus protocol he planned to use under the pseudonym

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     "Team Rocket," which he then drew attention to on social media with faux
     rapture, as though it heralded the return of Satoshi Nakamoto:

                     Emin Gün Sirer
                     @el33th4xor · Follow
         Someone dropped this paper on IPFS and some IRC
         channels yesterday. It describes a new family of consensus
         protocols that combines the best of Nakamoto consensus
         with the best of classical consensus. Huge breakthrough:
         ipfs.io/ipfs/QmUy4jh5m…
         7:58 AM · May 17, 2018
                 1.2K                Reply         Copy link
                                                   Read 54 replies

     It was only after sustained ridicule on social media, that Emin was eventually
     forced to concede that it was his own team that produced the paper, thus
     ending his quest to emulate Satoshi through anonymous publication.

     Recently, Twitter bots (i.e. fake Twitter user accounts that are directed by
     automated systems for the purpose of marketing), which appear controlled by
     Ava Labs, either directly or indirectly, have hailed Emin as the "Father of
     Blockchain."

     Emin's grandiose sense of his own contributions to blockchain, and an envy of
     the Satoshi Nakamoto crown, perhaps combined with a disposition towards
     dark power, then led to him wanting Kyle Roche to pursue Craig Wright, who
     claims to be part of a small team that invented Bitcoin.

     Many people fiercely disagree with Craig Wright's claim, but most people
     would not secretly attack him through the legal system:




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     Through his attacks on Craig Wright, Kyle Roche boasts how he helped
     massively devalue the Bitcoin Satoshi Vision (BSV) blockchain by billions of
     dollars. This will be of interest to Craig Wright, and every member of the BSV
     cryptocurrency community who sustained losses:




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     CASE UPDATE — Thanks to community
     It is important to note that Emin Gün Sirer appears to have a long history of
     attacking from the shadows. The /r/BSV reddit (a kind of online public forum)
     was squatted by anti-BSV moderators who managed to acquire complete
     control. They then trolled BSV enthusiasts wishing to use the forum as a place
     to discuss the BSV network, disrupting their community. These moderators
     made great efforts to remain anonymous, but now this official link to old reddit
     content appears to reveal that Emin Gün Sirer himself was one of those
     moderators.

     Link: https://old.reddit.com/user/el33th4xor/




     CASE UPDATE — Thanks to community
     It appears that Emin Gün Sirer gave Kyle Roche a painting of Craig Wright as a
     gift after the first phase of the Roche Freedman case against him was complete.
     This speaks to the importance of his working relationship with Emin Gün Sirer
     and Ava Labs.

                     Christen Ager-Hanssen
                     @agerhanssen · Follow
         14th February 2022 in Kyle Roche @KyleWRoche office.
         Kyle proudly shows me the attached picture/painting of
         Craig Wright @Dr_CSWright that he said was a very
         special gift from Emin Gün Sirer @el33th4xor for
         “defeating” Craig Wright in the case Kleinman vs Wright

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         4:07 AM · Aug 30, 2022
                 175                 Reply         Copy link
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     Class actions against competitors
     At another venue with Kyle Roche, it quickly became clear that his favorite class
     actions were against obvious Ava Labs competitors. When asked, he appeared
     hardly able to conceal his glee when confirming that Dfinity — the not-for-profit
     developer of the Internet Computer blockchain, and the subject of a major
     Roche Freedman class action — was a competitor to Ava Labs and Avalanche.




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     Kyle's personal nature emerges?
     Kevin Dutton, a psychologist and writer specializing in the study of psychopathy
     at the University of Oxford, says that among professionals, lawyers count the
     second highest proportion of psychopaths, because of the opportunities the
     career affords them to pursue their predilections.

     Psychopaths crave feelings of power and control over other people. Many
     display traits of grandiosity, narcissiscm, sociopathy and Machiavellianism.

     We are not saying Kyle is a psychopath, as only a psychologist can classify
     people. However, we see these traits in his behavior, and in the following, Kyle
     appears to express a disturbing determination to exert power and control over
     others:




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     Filing class actions on behalf of Ava Labs
     Kyle Roche has been enabled to freely pursue his predilections, because of the
     vast amount of wealth provided by Ava Labs. He says he can sue people:




      “
                  just for the sport of it

     Kyle boasts how he can file class actions that attack those competing with Ava
     Labs (Avalanche), such as Solana Labs, and the Dfinity Foundation, on behalf of
     Ava Labs.

     At the time we collected these recordings, Roche Freedman had already been
     working on two class actions against Dfinity, and had filed one, but had not yet
     filed its first class action against Solana. However, he has now filed a major
     class action against Solana. Everything he said proved true.




      “
                  So, I can sue Solana!

     Both the class actions filed so far against Solana and Dfinity make accusations
     that their tokens are illegal securities.


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     How Kyle Roche sees the legal system...
     Kyle leverages the fact that judges and juries don't understand blockchain.




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     He has a colorful strategy for bamboozling juries and gaining their trust.




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     He calls American juries "10 idiots." He feels confident that he can work these
     "idiots" to control American class actions.




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     Earlier, when boasting about the large settlement he believed he could obtain
     from one of his class actions, he seems to say that a key deciding factor would
     be the interests of his law firm (i.e. his interests). Shouldn't the decision to settle
     be based soley on the interests of the class of plaintiffs he is representing?




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     Perhaps it's not surprising that he considers his own interests when deciding
     how to conduct a case, because he describes one of his plaintiff classes —
     people who lost money in crypto — as "100,000 idiots."




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     Emin and Kyle's "iLO" horror
     Class action lawsuits can be very destructive. They impose vicious legal costs
     on those being attacked that they cannot reclaim, drain attention better used for
     productive purposes, and can impose terrible stress for years, including on the
     famililies of those targeted. Class action frameworks are not intended for use
     "just for the sport of it," or as a "strategic tool to competition," as Kyle Roche
     suggests.

     They are also not intended as a means for ruthless people to squeeze money
     out of good people, in the mode of patent trolling, say. That kind of thing should
     have no place in Western democracies like America.

     But to Emin Gün Sirer and Kyle Roche, litigation is just a for-profit opportunity.

     They plan to create a new business on Avalanche, which will support the
     creation of something called an Initial Litigation Offering, or iLO. The idea is that
     lawyers like Kyle will be enabled to propose new class actions and other
     litigations en masse, and then blockchain investors will fund the proposed
     litigation by buying tokens to share in proceeds obtained through out-of-court
     settlements and damages awards.
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     In this sociopathic business vision, litigation is just another financial asset, and
     they want to provide a framework that makes it easy to mint as much as
     possible. Kyle appears to spare no thought for the social impact of his plans.

     For Kyle Roche:




      “
                  litigation is the most uncorrelated asset that exists, period




                0:00 / 0:23




     CASE UPDATE — Evidence share
     Newly obtained correspondence from Sam Wang, Ava Labs' Director of
     Business Development, shows that as recently as last December, Ava Labs was
     introducing Kyle Roche as:




      “
                  spearheading our litigation financing initiatives

     This reflects how this effort is a joint venture between Ava Labs and Roche
     Freedman, and how they work as an integrated team. This evidence also
     strongly contrasts with Emin Gün Sirer's recent denials of close links to Roche
     Freedman:

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     Roche Freedman at war over its AVAX
     Roche Freedman actually began as "Roche Cyrulnik Freedman". But according to
     ex-partner Jason Cyrulnik, once it became apparent just how valuable their haul
     of AVAX tokens and Ava Labs stock was, Kyle Roche and Devin Freedman
     conspired to expel the older man from the partnership in February 2021 by out-
     voting him, then keeping his almost 25% share for themselves.




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     Now former partner Paul Fattaruso says he was hired on promise of 2% of the
     firm's equity, but was not told of a secret agreement between five of the partners
     (Kyle Roche, Devin Freedman, Amos Friedland, Nathan Holcomb and Edward
     Normand) to share the AVAX tokens and Ava Labs stock exclusively between
     themselves. These claims are now subject to numerous ongoing lawsuits.

     The moral of the story is: be careful in your choice of colleagues.

     CASE UPDATE — Evidence share
     It was internal warfare within Roche Freedman that provided us with early hard
     evidence regarding the nefarious goings-on. In particular, we share a lawsuit
     filed by Jason Cyrulnik against his old partners, https://cryptoleaks.info/cyrulnik-
     vs-rochefreedman.pdf. This contained an early internal Roche Freedman MOU,
     which detailed how the AVAX tokens they received would be divided.

     A payment of between 4-5M AVAX tokens was made monthly over three years,
     terminating September 2022.




     Brad Garlinghouse lit the fuse
https://cryptoleaks.info/case-no-3                                                                                                                        34/39
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     Before Kyle Roche founded Roche Freedman and made a pact with Ava Labs, he
     was a relatively lowly associate at the law firm Boies Schiller Flexner. They were
     representing Ripple, who were defending a lawsuit claiming their XRP token was
     an illegal security. According to Kyle, he proposed to their CEO, Brad
     Garlinghouse, that he create a new law firm that would specialize in suing others
     in crypto, using exactly the same kinds of tactics that were being used against
     Ripple. Kyle asked that Brad become his angel investor, and curiously Brad
     agreed — one might have expected he would want to see less of this kind of
     litigation across the industry.

     For whatever reasons Brad Garlinghouse invested in Kyle Roche, and
     supported him on his current path, it certainly didn't save him from the SEC.
     Ripple's current travails might be a bad omen for Emin Gün Sirer.


     Remedies and conclusion
     For anyone who cares about crypto and the blockchain industry, Crypto Leaks
     Case #3 should be a watershed moment. The movement was created by
     visionaries, theoreticians, engineers and true believers. People with integrity. But
     the value creation brought in cowboys and ruthless opportunists, who are just
     out to make money, whatever it takes. These people don't care about crypto and
     blockchain, and what it stands for. They only care about themselves.

     We have enough bad people in crypto already. Three Arrows Capital had highly
     vocal and popular leaders, who played Pied Piper to the masses, but behind the
     scenes they ran their hedge fund like a Ponzi scheme. Those same masses have
     now lost billions that they thought were safe in cryto banks. People in crypto
     deserve an industry where not everything is smoke and mirrors, and where they
     can trust other people's integrity.

     We must demand change.

     Cornell University
     Emin Gün Sirer has traded relentlessly on his "professor at Cornell" status, using
     Cornell's brand to convince the masses that he primarily cares about the
     advancement of blockchain science and has special technical skills. In fact, his
     real modus operandi is more Professor Moriarty, who tries to get Ava Labs and

https://cryptoleaks.info/case-no-3                                                                                                                        35/39
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                            Crypto Leaks |Document       945-10
                                          Ava Labs (Avalanche)          Entered
                                                               attacks Solana        on FLSD
                                                                              & cons regulators in evilDocket
                                                                                                        conspiracy 03/10/2023
                                                                                                                   with bought law firm, Page    67 of
                                                                                                                                         Roche Freedman
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     Avalanche ahead through clandestine attacks on competitors that involve
     secretly weaponizing the legal system, as well as the pursuit of personal
     vendettas. Cornell must decide whether it wants its reputation wielded for profit
     by someone who seemingly operates without a moral compass. He uses their
     brand to cloak himself, which directly supports his deceptive self-promotion, and
     masks his Machiavellian schemes, which damages individuals and their families
     and the wider crypto and blockchain community and industry. Cornell will not
     want to be part of this charade.

     Here is Emin's pinned tweet, which reflects how he has branded himself since
     launching Ava Labs and Avalanche:

                     Emin Gün Sirer
                     @el33th4xor · Follow
         So many academics forget that our goal, as a profession, is
         *not* to publish papers. It's to change the world.
         6:09 AM · May 23, 2018
                 9.8K                Reply         Copy link
                                                  Read 1.5K replies

     Andreessen Horowitz and Polychain
     In the realm of traditonal startup companies, venture capitalists used to only
     invest in one project in each segment, so that they were never exposed to the
     conflict of interest involved in backing competing companies. Crypto changed
     all of that, with some venture capitalists investing widely into native blockchain
     tokens, seeing that a rising tide was "floating all boats," and to make sure they
     had holdings in the few that would make it big. Now the check has come due,
     and with the release of this report, some will now find that they have
     unknowingly funded a project making unacceptable, clandestine, industry-
     damaging and clearly immoral attacks on competitive projects that they also
     backed (for example, both Andreessen Horowitz and Polychain recently threw
     massive resources behind Solana Labs, a key target of Roche Freedman and
     Ava Labs). They must now do the honorable thing, and help protect the industry
     and projects that have made them so much money, by vocally disowning Ava
     Labs.
https://cryptoleaks.info/case-no-3                                                                                                                        36/39
       Case
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                            Crypto Leaks |Document       945-10
                                          Ava Labs (Avalanche)          Entered
                                                               attacks Solana        on FLSD
                                                                              & cons regulators in evilDocket
                                                                                                        conspiracy 03/10/2023
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                                                                                                                                         Roche Freedman
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     Lawyers working for Roche Freedman
     The legal system is a fundamental pillar of any democratic society, and its
     integrity is something we must cherish and protect. But Roche Freedman has
     perverted the role of a law firm, subverting and weaponizing the legal system
     thereby promoting the value of blockchain tokens and stock owned by a few of
     its partners. It undermines everything that makes the legal profession
     honorable. Lawyers working at Roche Freedman who were previously unaware
     of this behavior will not wish to condone it, accept a leader that lacks a moral
     compass, or work for a law firm with a hidden purpose. Most lawyers do not go
     through law school to end up living "Better Call Saul."

     The American Bar Association
     The mission statement of The American Bar Association is: "to serve equally our
     members, our profession and the public by defending liberty and delivering
     justice as the national representative of the legal profession." They advocate for
     the profession as a whole, and the thousands of lawyers who work with integrity
     within society's understanding of what being a lawyer entails. The ABA works to
     "increase public understanding of and respect for the rule of law, the legal
     process, and the role of the legal profession." This is entirely incompatible with
     defending those people who have decided to follow "a completely different way
     then being a lawyer," by weaponizing and perverting the legal system for
     personal gain, which is also an assault on liberty and justice.

     American Regulators (SEC, CFTC...)
     Roche Freedman and Ava Labs are attemping to make fools out of regulators.
     Through their nefarious weaponization of the legal system, they wish to
     manipulate regulators by drawing them to competitors, and away from their own
     activities. This behavior will undermine everyone's faith in the fairness of the
     regulatory system. Good actors will fear that unscrupulous competitors have
     bought unscrupulous lawyers using hundreds of millions of dollars worth of
     crypto assets, and that they are misusing the regulatory system to paint them as
     targets for regulators, both to harm them, and distract regulators from their own
     wrongdoings.

     Ava Labs shareholders and executives
     According to the evidence shared in this case study, Emin Gün Sirer has used
     company resources to pursue his personal vendettas, which may now result in
https://cryptoleaks.info/case-no-3                                                                                                                        37/39
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                            Crypto Leaks |Document       945-10
                                          Ava Labs (Avalanche)          Entered
                                                               attacks Solana        on FLSD
                                                                              & cons regulators in evilDocket
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                                                                                                                                         Roche Freedman
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     reprisals that directly undermine shareholder value. This is a clear breach of
     fiduciary duty. When any leader runs out of control in this way, it is time for them
     to go. For example, John Wu, the President, could be made CEO, and Emin Gün
     Sirer could be removed from his post to restore confidence. This will enable the
     organization to reset its reputation and proceed in a more business-like manner.

     Developers building on Avalanche
     Once upon a time, those driving the blockchain project were pursuing dreams.
     They met and discussed designs, they cooperated and collaborated, and they
     were passionate about what was possible. But it wasn't long before the
     opportunists came hunting, and they learned how to dress themselves in the
     clothes of those they joined. There are many projects in the blockchain space
     today, which often have dramatically different visions and approaches to R&D
     and marketing. Some also have different moral compasses. Tech has always
     been highly competitive, but the winners do not generally compromise their
     integrity. When the smoke eventually clears, it will be seen that authenticity and
     passion really count. Developers will prefer to work on a platform where they
     can be proud of the team, ecosystem and ethos. Those that wish to stay with
     Avalanche will demand change.

     The crypto press
     Most participants in the blockchain industry do not realize quite how focused
     the crypto press is on promoting vested interests. It may come as a surprise to
     many that not only did the crypto press fail to report on our previous cases (see
     Case #1 and Case #2) but some parts actively suppressed information about
     them. For example, to address the lack of reporting, we recently attempted to
     purchase a paid press release on Cointelegraph, as others do, but were
     mysteriously blocked, presumably to protect those our cases reference.
     Meanwhile, Roche Freedman were able to purchase a paid press release on
     Cointelegraph freely, which they then used to distribute misleading statements
     to millions of users through Google news feeds.

     Our revealing exposé of Arkham Intelligence (Case #2) was not reported on at all
     by the crypto press. The exposé has led to a defamation lawsuit being filed
     against Arkham and the New York Times, but this has only been reported on in
     the mainstream press by Politico . Today, DeFi and CeFi organizations once
     lauded unquestioningly by the crypto press have caused multi-billion dollar
https://cryptoleaks.info/case-no-3                                                                                                                        38/39
       Case
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                            Crypto Leaks |Document       945-10
                                          Ava Labs (Avalanche)          Entered
                                                               attacks Solana        on FLSD
                                                                              & cons regulators in evilDocket
                                                                                                        conspiracy 03/10/2023
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     losses to retail investors, and it is time to move on towards fairer plains. This is
     the only way our industry will ever reach maturity. We ask the crypto press to
     report objectively on this case investigation. The videos speak for themselves
     and tell a clear story that everyone in crypto needs to be aware of.

     Those being sued by Roche Freedman
     With the release of Crypto Leaks Case #3, those being sued by Roche Freedman
     know the true measure of their adversary. They should respond accordingly, and
     take the fight to the enemy. They should not settle. They must fight their corner
     and make their case. Together they can weaken their adversary, and can help
     make blockchain a better place.

     Read other case investigations...




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                          EXHIBIT 2
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                                                                                342                            November 21, 2022
                                                                                                                                                    Clerk of the Court
                                                                                                                                                    Superior Court of CA
                                                                                                                                                    County of Santa Clara
                                                                                                                                                    20CV372622
                                                                                                                                                    By: afloresca



                                                                                                                                                    Signed: 11/21/2022 04:07 PM

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                                                                        ORDER ON SUBMITTED MATTER




                                                                                                     SUPERIOR COURT OF CALIFORNIA
                                                                                                        COUNTY OF SANTA CLARA


                                                                       TEMUJIN LABS INC,                             Case N0.: 20CV3 72622

                                                                                    Plaintiff,                       ORDER CONCERNING (1) TEMUJIN
                                                                                                                     LABS 1NC., A DELAWARE
                                                                             VS.                                     CORPORATION, TEMUJIN LABS
                                                                                                                     INC., A CAYMAN ISLANDS
                                                                       ARIEL ABITTAN,      et a1.,                   CORPORATION, LILY CHAO,
                                                                                                                     DAMIEN DING, AND DISCREET LABS
                                                                                    Defendants.                      LTD.’s MOTION T0 DISQUALIFY
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                                                                                                                     ROCHE LLP, AND T0 STAY, AND T0
                                                                                                                     CLARIFY, THE COURT’S AUGUST 22,
                                                                                                                     2022   ORDER;   (2)   CROSS-
                                                                                                                     COMPLAINANTS BENJAMIN FISCH
                                                                                                                     AND CHARLES LU’s MOTION T0
                                          OONONMJ>WNHOKOOONONMJ>WNHO



                                                                                                                     COMPEL FURTHER RESPONSES
                                                                                                                     REGARDING CRoss—DEFENDANTS’
                                                                                                                     TRUE IDENTITIES

                                                                       TEMUJIN LABS    INC.,                         Case N0.: 21CV375422

                                                                                    Plaintiff,                       ORDER CONCERNING DEFENDANT
                                                                                                                     AND CROSS-COMPLAINANT FRANK
                                                                             VS.                                     FU’S MOTION TO ENFORCE
                                                                                                                     AUGUST 22, 2022 RULING AND TO
                                                                       FRANK FU, et al.,                             COMPEL PRODUCTION OF CHINESE
                                                                                                                     IDENTITY INFORMATION
                                                                                    Defendants.


                                                                       AND RELATED CROSS-ACTIONS.
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                                                                                 These related actions      arise    from the business dealings         0f:       (1)   Temujin Labs       Inc.,   a

                                                                       Delaware corporation (“Temujin”);              (2) a related   Cayman        Islands corporation; and (3) Temujin’s

                                                                       co-founders,     who g0 by the      aliases   0f Lily Chao and Damien Ding.1 These business dealings

                                                                       involve the development 0f Temujin as a ﬁnancial technology                          company operating under the

                                                                       name    “Findora.”
                                          KOOONONUI-PUJNH




                                                                                 In   Case N0. 20CV3 72622 (“Abittan”), Temujin alleges                     that   Defendants and Cross-

                                                                       Complainants Ariel Abittan, Benj amin Fisch, and Charles Lu conspired                              t0:   (a) assert   a false

                                                                       claim 0f ownership 0f its business; (b) misappropriate                 its   trade secrets; (c) usurp and interfere

                                                                       with control over     its assets,   such as social media accounts; and (d) interfere with                     its   relationships

                                                                       with investors and business partners. Mr. Abittan, a former business partner 0f Ms. Chao and

                                                                       Mr. Ding, ﬁled a cross—complaint alleging, among other things, that Ms. Chao and Mr. Ding

                                                                       stole   from and defamed him. Mr. Fisch and Mr. Lu ﬁled a separate cross—complaint, asserting

                                                                       that   Ms. Chao and Mr. Ding misrepresented a host 0f important                       facts      about their business and

                                                                       activities t0   induce Mr. Fisch and Mr.         Lu   to   work    for Temujin.

                                                                                 In   Case N0. 21CV375422 (“Fu”), Temujin alleges                    that   its   former consultant, Defendant

                                                                       and Cross—Complainant Franklin Fu, demanded additional under-the-table payments for himself
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                                                                       and secret payments      t0 certain investors rather than           performing his duties in good              faith.       In a

                                                                       cross—complaint, Mr.      Fu    alleges that    Ms. Chao and Mr. Ding repeatedly                   lied t0   him about a range

                                                                       0f subj ects, including Temujin’s technology and even their                    own     identities.
                                          OONONMJ>WNHOKOOONONMJ>WNHO




                                                                                 In an order ﬁled     on August 22, 2022 (“August 2022 Order”), the Court ordered Ms. Chao

                                                                       and Mr. Ding      t0 provide identity-related discovery, including in response t0 requests for


                                                                       production 0f documents (“RFPS”) propounded by Mr. Fisch and Mr.                                 Lu and   a form

                                                                       interrogatory and     RFP propounded by Mr.            Fu.   As    discussed below, disputes soon developed

                                                                       over Ms. Chao and Mr. Ding’s compliance with that order, which gave rise t0 some 0f the

                                                                       motions    now before    the Court.




                                                                       1
                                                                           The Temujin    entities,   a related entity called Discreet Labs Ltd., Ms. Chao, and Mr. Ding are
                                                                       referred t0 collectively herein as the          “Temujin     Parties.”


                                                                                                                                      2
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                                                                                Currently at issue are (1) the Temujin Parties’ motion t0 disqualify Freedman                                      Normand

                                                                       Friedland LLP, formerly                known     as   Roche Freedman LLP,             (the   “Freedman Firm”)          as counsel for

                                                                       Mr. Abittan and             t0 stay   and   clarify the   August 2022 Order, as well            as separate motions           by

                                                                       (2)   Mr. Fu and           (3)   Mr. Fisch and Mr. Lu       t0   compel     further discovery responses concerning                 Ms.

                                                                       Chao and Mr. Ding’s Chinese                   character names. A11 three motions are opposed.
                                          KOOONONUI-PUJNH




                                                                                The Court issued a             tentative ruling      0n November        16, 2022.      It   heard oral argument on

                                                                       November         17 and took the matter under submission. The Court                           now    issues   its   ﬁnal order which:

                                                                       a) conditionally            DENIES     the   Temujin      Parties’   motion   t0 disqualify,     pending the submissions 0f

                                                                       certain declarations              from partners   in the    Freedman Firm       (the    ﬁrm representing Mr.            Abittan) and

                                                                       modiﬁcations              t0 the protective orders in these cases;           and b)    GRANTS         the motions t0        compel

                                                                       further responses concerning                 Ms. Chao and Mr. Ding’s Chinese character names.

                                                                       I.       BACKGROUND
                                                                                Abittan           was ﬁled and deemed complex               in   November 2020. The           initial      discovery stay

                                                                       was   lifted in      May 2021.         In January 2022, the          Fu   matter was also designated complex. The

                                                                       Court denied Mr. Fu’s motion t0 formally consolidate 0r relate the two matters, but explained

                                                                       that “these cases will             beneﬁt from informal coordination, particularly with regard                         t0
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                                                                       discovery.   .   .
                                                                                            .”   Stipulated protective orders           were entered    in   both matters, and discovery

                                                                       proceeded.

                                                                                Following a joint case management conference for both cases, the Court issued an order
                                          OONONMJ>WNHOKOOONONMJ>WNHO




                                                                       taking several demurrers t0 the various pleadings off calendar and staying the brieﬁng for those

                                                                       motions and any other pleadings challenges pending an anticipated mediation. The Court tolled

                                                                       the deadlines t0 ﬁle motions concerning discovery that                         had already been served, pending an

                                                                       informal discovery conference (“IDC”) “t0 focus the parties’ attention 0n key discovery

                                                                       necessary t0 lead t0 a productive early mediation.”

                                                                                Following the IDC, the Court issued an order memorializing the parties’ agreement “t0

                                                                       meet and confer with each other regarding a brieﬁng schedule concerning discovery related                                             t0


                                                                       the identities and aliases 0f Lily              Chao and Damien Ding            (the ‘Identity Brieﬁng’),”              and   their


                                                                       further agreement “that regardless 0f the                   outcomes 0f the Identity Brieﬁng, they will attend a
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                                                                       mediation in these matters [(tentatively set for Fall 2022)] (without waiver 0f any right t0 appeal

                                                                       the decisions     0n the   Identity Brieﬁng).”          A hearing 0n the Identity Brieﬁng was scheduled for
                                                                       August     18, 2022,   and three motions 0n         that subj ect        were briefed by the     parties.     In the   August

                                                                       2022 Order, the Court largely granted those motions.

                                                                                 On    September 21, 2022, the Temujin Parties moved                    t0 disqualify the          Freedman Firm and
                                          KOOONONUI-PUJNH




                                                                       t0 stay   and   clarify the   August 2022 Order, with a hearing date                set for     October 27, 2022.         On
                                                                       September 27, 2022, Mr. Fu, joined by Mr. Fisch and Mr. Lu, moved ex parte                                   t0   compel Ms.

                                                                       Chao and Mr. Ding’s compliance with                 the   August 2022 Order. The Court granted                     that


                                                                       application     0n September 29, ordering Ms. Chao and Mr. Ding                         t0   respond   t0   Mr. Fisch and Mr.

                                                                       Lu’s    RFPs by October       6.   The Court’s order        instructed Mr. Fisch, Mr. Lu,              and   their counsel not


                                                                       t0 share   any information 0r documents with Mr. Abittan 0r                     his counsel until the         Court conﬁrms

                                                                       that this is appropriate,      and stated      that the   Court    “is   not taking a position at this time whether

                                                                       documents identifying the Chinese character spelling 0f the names 0f Ms. Chao and Mr. Ding

                                                                       must be produced” pending an appropriate motion.

                                                                                 On October       10, 2022,    Mr. Fu ﬁled a second ex parte application seeking compliance with

                                                                       the    August 2022 Order with regard            t0 the discovery         he propounded concerning Ms. Chao and
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                                                                       Mr. Ding’s      identities,   and speciﬁcally,      their   Chinese character names. The Court denied that

                                                                       application and set an expedited brieﬁng schedule for a motion 0n that issue. Meanwhile, efforts

                                                                       t0    conduct additional discovery and t0 attempt mediation have come t0 a                         halt.
                                          OONONMJ>WNHOKOOONONMJ>WNHO




                                                                                 Mr. Fu and, separately, Mr. Fisch and Mr. Lu ﬁled                     their   motions t0 compel further

                                                                       discovery concerning Ms. Chao and Mr. Ding’s Chinese character names 0n October 17, 2022.

                                                                       These motions and the Temujin                Parties’   motion have       now been fully briefed for hearing by the
                                                                       Court.

                                                                       II.       TEMUJIN PARTIES’ MOTION TO DISQUALIFY THE FREEDMAN FIRM
                                                                                 The Temujin       Parties   move     t0 disqualify the         Freedman Firm based           largely    0n

                                                                       inappropriate conduct         by a former partner         in the   ﬁrm, Kyle Roche, which was captured                    in Videos


                                                                       that   were posted   t0 the    web    site   Crypto Leaks.
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                                                                                 The Temujin       Parties also seek a stay 0f the          August 2022 Order pending the resolution 0f

                                                                       the disqualiﬁcation issue, an order           commanding           the   Freedman Firm      to return all conﬁdential


                                                                       documents produced          in this action, and, ﬁnally, clariﬁcation as t0               whether the August 2022

                                                                       Order requires the disclosure 0f Ms. Chao and Mr. Ding’s Chinese character names. The Court

                                                                       will address the last request in the context 0f the                two    related motions before        it   that seek t0
                                          KOOONONUI-PUJNH




                                                                       compel    this discovery; ﬁrst,      it   will address the issues related t0 disqualiﬁcation.


                                                                                 A.          Background and Asserted Grounds                     for Disqualiﬁcation

                                                                                 On August 26,      2022, the      web   site   Crypto Leaks posted a story entitled “Ava Labs

                                                                       (Avalanche) attacks Solana           & cons SEC in evil conspiracy with bought law ﬁrm, Roche
                                                                       Freedman.” The Crypto Leaks story includes several short Video                            clips   0f Mr. Roche discussing

                                                                       his ﬁnancial interest in      Ava and       explaining     how he uses       litigation as a strategic tool t0 support


                                                                       Ava   (“Crypto Leaks Videos”)?              He   states that     he agreed    t0 provide legal services for         Ava “in

                                                                       exchange for a certain percentage 0f the token supply,” and also has equity in Ava.                                He was
                                                                       Ava’s “crypto expert        in the   beginning as well,” and because he sues “half 0f the companies in

                                                                       this space,”    he knows where the market            is   going,   is    “one 0f the top 10 people in the world”            who

                                                                       are knowledgeable about crypto, and has seen “the insides 0f every single crypto                                company.”
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                                                                                 In the Videos, Mr.     Roche suggests           that   Ava has not been      sued yet because he deals “with

                                                                       making sure      that the   SEC and the CFTC             have other magnets       t0   g0 after” and he has “ensured that

                                                                       there’s   n0 such thing     as regulation for      what they want          t0 d0.”   He   states that   he “took down” one
                                          OONONMJ>WNHOKOOONONMJ>WNHO




                                                                       2
                                                                           The Court   GRANTS judicial notice 0f the existence and contents 0f this story, available at
                                                                       https://cryptoleaks.info/case-n0-3, and 0f Mr. Roche’s statements in the Videos it contains.
                                                                       (EVid. Code, § 452, subd. (h); see In re Forchion (201 1) 198 Cal.App.4th 1284, 1287 [taking
                                                                       judicial notice 0f statements 0n party’s own web site, where party had an opportunity t0 express
                                                                       speciﬁc concerns].) Mr. Abittan does not oppose this request, and the Freedman Firm admits
                                                                       that Mr. Roche made the statements reﬂected in the Videos. Mr. Roche also admits t0 making
                                                                       these statements (but denies their truth) in a declaration ﬁled in federal court, 0f which the Court
                                                                       GRANTS judicial notice (EX. 4 t0 the Temujin Parties’ Req.). (EVid. Code, § 452, subd. (d).)

                                                                       The Temujin       Parties also seek judicial notice 0f web sites purportedly reﬂecting Mr. Roche’s                            and
                                                                       other individuals’ responses t0 the Crypto Leaks story.                     The Court DENIES judicial notice 0f
                                                                       those   web    site   pages (including Exs. 17       &     18 t0 the     Temujin Parties’ Req.), as the authors’
                                                                       identities are disputable.      In   any    event, these responses t0 the Crypto             Leaks story are not
                                                                       particularly relevant t0 this motion.
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                                                                       0f Ava’s CEO’S            rivals,   Craig Wright (who claims t0 have been an inventor 0f Bitcoin), and

                                                                       emphasizes that he does not “care about settling” cases but                       litigates until “I’ve     got a piece 0f

                                                                       paper that says       I   own your company now.” Mr. Roche                    states that   Ava does not     ﬁle lawsuits

                                                                       against   its   competitors because              Ava has him d0      that in class action lawsuits      0n behalf 0f other

                                                                       plaintiffs.     He   also says that judges          and juries d0 not understand the blockchain space, and juries
                                          KOOONONUI-PUJNH




                                                                       are “10 idiots”      who      “control the       ﬂow 0f all   the   money that happens       in   American    class actions.”


                                                                                 Since the Crypto Leaks Videos became public, various parties in other cases in which the

                                                                       Freedman Firm serves                as counsel have     moved t0      disqualify the Firm.3 According t0           Freedman

                                                                       Firm partner Constantine              P.   Economides,    who       has served as lead counsel for Mr. Abittan in this

                                                                       matter, Mr.      Roche has now withdrawn from                 the Firm.

                                                                                 Still, it is    unclear Whether          members 0f the Freedman Firm maintain an                 interest in   Ava

                                                                       Labs.   On March 2,          2022, Jason Cyrulnik, a former partner in the Firm, ﬁled counterclaims in a

                                                                       federal action brought against              him by other partners          (not including Mr. Economides), alleging

                                                                       that the partners         schemed     t0 oust     him from the Firm        so that they could take his rightful stake for

                                                                       themselves—including a                client fee    payable in cryptocurrency that had suddenly appreciated t0

                                                                       more than $250            million.4 In     its   answer, the Firm denied       many speciﬁc        allegations related t0    its

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                                                                       interest in this cryptocurrency, but admitted that                   it   had some kind 0f “potential/contingent

                                                                       interest in the      Tokens.” Mr. Cyrulnik alleged that the cryptocurrency was t0 be allocated 32

                                                                       percent t0 Mr. Freedman, 28 percent t0 Mr. Roche, 25 percent t0 Mr. Cyrulnik, and ﬁve percent
                                          OONONMJ>WNHOKOOONONMJ>WNHO




                                                                       each t0 partners Normand, Friedland, and                  Holcomb—which the Firm                  denied.



                                                                       3
                                                                        The Court GRANTS judicial notice 0f various ﬁlings in these other cases                               (Exs. 1—9    &     12—14    t0
                                                                       Temujin Parties’ Req.). (EVid. Code, § 452, subd. (d).)

                                                                       The Court also takes judicial notice 0f an October 13, 2022 minute order reﬂecting that the
                                                                       Freedman Firm was removed as interim class counsel and ordered t0 return conﬁdential
                                                                       materials produced in In re Tether and Bitﬁnex Crypto Asset Litigation (S.D.N.Y., N0. 1:19-CV-
                                                                       09236-KPF). The Court understands that when this removal order was made, Mr. Roche was
                                                                       still part 0f the Freedman Firm.


                                                                       4
                                                                           The Court    GRANTS judicial notice 0f ﬁlings in this action (Exs.                       10—11 to Temujin Parties’
                                                                       Req.). (EVid. Code, § 452, subd. (d).)
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                                                                                 Against    this   background, the Temujin Parties contend that Mr. Roche would have a

                                                                       conﬂict 0f interest in representing Mr. Abittan, which                is   imputed   t0 the    Freedman Firm. The

                                                                       Temujin Parties further urge        that   Mr. Roche’s conduct involved dishonesty, fraud,                 deceit, and/or


                                                                       is   prejudicial t0 the administration ofjustice, in Violation 0f both the                New York and California
                                                                       Rules of Professional Conducts
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                                                                                 B.       Legal Standard

                                                                                 “A judge’s     authority t0 disqualify an attorney has           its   origins in the inherent   power of

                                                                       every court in the furtherance ofjustice t0 control the conduct 0f ministerial ofﬁcers and other

                                                                       persons in pending judicial proceedings.” (Neal            v.   Health Net, Inc. (2002) 100 Cal.App.4th 831,

                                                                       840, citing      Code   CiV. Proc., § 128, subd. (a).)   The power          is   most often exercised     in connection


                                                                       with “professional standards governing avoidance 0f conﬂicts 0f interest 0r potential adverse use

                                                                       0f conﬁdential information.” (Responsible Citizens               v.   Superior Court (1993) 16 Cal.App.4th

                                                                       1717, 1723—1724.)




                                                                                 The    classic disqualiﬁcation case involves the attorney switching sides, so that                   an

                                                                                 attorney      who once    represented    “A” now seeks             t0 represent       “B”   in a matter
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                                                                                 materially related t0 the original representation. Disqualiﬁcation in such a case                     is


                                                                                 necessary t0 safeguard the attorney-client relationship.                   A   client should not fear


                                                                                 that   conﬁdences conveyed        t0 his attorney in   one action will return          to   haunt him in
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                                                                                 a later one.




                                                                                 In other cases, counsel     may be    disqualiﬁed where counsel has obtained the secrets

                                                                                 0f an adverse party in some other manner, such as where counsel’s newly hired

                                                                                 paralegal had access t0 the adversary’s conﬁdences while working for opposing

                                                                                 counsel, 0r where counsel obtained conﬁdential information from an expert with

                                                                                 whom     opposing counsel had consulted. Disqualiﬁcation                       is   warranted in these


                                                                       5
                                                                        The Court GRANTS judicial notice 0f relevant portions 0f the California and New York Rules
                                                                       0f Professional Conduct cited by the Temujin Parties (Exs. 15—16 t0 Temujin Parties’ Req.).
                                                                       (EVid. Code, § 452, subds. (c), (h).)
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                                                                                cases, not because the attorney has a direct duty t0 protect the adverse party’s

                                                                                conﬁdences, but because the situation implicates the attorney’s ethical duty t0

                                                                                maintain the integrity 0f the judicial process.

                                                                       (Roush   v.   Seagate Technology,            LLC (2007)      150 Cal.App.4th 210, 219 (Roush), internal Citations

                                                                       and quotation marks omitted.)
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                                                                                In the latter type 0f case, “the          common thread            is   that the attorney obtained conﬁdential


                                                                       information from a source              who   could not ethically disclose the information without consent from

                                                                       the adversary.” (Roush, supra, 150 Cal.App.4th at p. 220.)                        The moving party has       the initial

                                                                       burden   t0   show     that the source possessed       its   conﬁdential information materially related t0 the

                                                                       proceedings (see         ibid.)   and/or that counsel breached an ethical duty in obtaining 0r using the

                                                                       information (see        id.   at pp.   225—226).

                                                                                Here, the Temujin Parties raise a somewhat different issue: a concern that opposing

                                                                       counsel will use their conﬁdential information disclosed during discovery in this action t0 beneﬁt

                                                                       another client that       is their     business competitor.6 But as with the expert witness and related cases,

                                                                       the concern here        is    that the situation implicates counsel’s ethical duty t0 maintain the integrity                  0f

                                                                       the judicial process.          So the Court     will apply the standard stated in those cases, placing the
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                                                                       burden 0n the Temujin Parties              t0   show counsel has breached         (0r   is   likely t0 breach)   an ethical

                                                                       duty in obtaining 0r using conﬁdential information. Similarly, t0 the extent the Temujin Parties’

                                                                       motion   is   based 0n an asserted conﬂict arising from the Freedman Firm’s representation of Mr.
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                                                                       Abittan in light of its relationship with            Ava Labs,     the burden remains with the           Temujin    Parties t0


                                                                       show   there    is    a conﬂict—and t0       show   that they   have standing      t0 raise     it.



                                                                                In evaluating the         Temujin      Parties’ motion,   it is   important t0 bear in mind that “[m]oti0ns

                                                                       t0 disqualify counsel present             competing policy considerations”:

                                                                                “On     the one hand, a court           must not     hesitate t0 disqualify         an attorney when      it is



                                                                                satisfactorily established that            he 0r she wrongfully acquired an unfair advantage

                                                                                that   undermines the integrity 0f the judicial process and will have a continuing




                                                                       6
                                                                           The Court    is   unaware 0f any authority addressing the speciﬁc asserted ground                     for
                                                                       disqualiﬁcation raised here.
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                                                                               effect   0n the proceedings before the                       court.    [Citations.]       On the   other hand,         it   must

                                                                               be kept in mind that disqualiﬁcation usually imposes a substantial hardship 0n the

                                                                               disqualiﬁed attorney’s innocent client,                          who must          bear the monetary and other

                                                                               costs 0f ﬁnding a replacement.                       ....”


                                                                       (Oaks Management Corporation                     v.   Superior Court (2006) 145 Cal.App.4th 453, 462—463,
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                                                                       quoting Gregori        v.   Bank ofAmerica (1989) 207 Cal.App.3d                            291, 300 (Gregori).)

                                                                               “[A]s courts are increasingly aware, motions t0 disqualify counsel often pose the very

                                                                       threat t0 the integrity        0f the judicial process that they purport                     t0 prevent,” since          they “can be

                                                                       misused   t0 harass     opposing counsel, t0 delay the                    litigation, 0r t0 intimidate            an adversary into

                                                                       accepting settlement 0n terms that would not otherwise be acceptable.” (Dino                                            v.   Pelayo (2006)

                                                                       145 Cal.App.4th 347, 352 (Dino), quoting Gregori, internal quotation marks and other notations

                                                                       omitted.)    The importance 0f the competing policy concerns raised by a motion                                          for


                                                                       disqualiﬁcation requires a careful exercise 0f discretion                             by   the   trial court.    (See ibid.)

                                                                               C.        Discussion

                                                                               The Freedman Firm admits                      that   Mr. Roche made the statements captured 0n the Crypto

                                                                       Leaks Videos. But Mr. Abittan declares                         that   he has never communicated with Mr. Roche, and
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                                                                       lead counsel Mr.       Economides declares                   that   Mr. Roche has never worked 0n                 this       matter and has

                                                                       withdrawn from the Freedman Firm. Mr. Abittan urges                                   that the     Temujin      Parties lack standing t0

                                                                       seek disqualiﬁcation based 0n a conﬂict                       among      the    Freedman Firm’s clients—and while he does
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                                                                       not believe there      is   any conﬂict, he would waive                   it   if there    were.    He   stresses that        he was the one

                                                                       who was     sued by Temujin in             this case,        and he was represented by prior counsel                     at that time.      And
                                                                       he urges that even          if Mr.   Roche      violated professional rules 0f conduct, there                      is   n0 evidence        that


                                                                       supports imputing any such Violations t0 the other                             members 0f the Freedman Firm.

                                                                               With these arguments               in   mind, the Court will evaluate each 0f the grounds for

                                                                       disqualiﬁcation raised          by   the   Temujin       Parties.


                                                                                         1.            Standing

                                                                               “T0 bring a motion            t0 disqualify counsel, the                 moving party must have             standing; that         is,


                                                                       the invasion 0f a legally cognizable interest.” (Lynn                            v.   George (2017) 15 Cal.App.5th 630, 636
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                                                                       (Lynn).) “Standing             may        arise   from an attorney-client relationship between the moving party and

                                                                       targeted counsel 0r from a duty 0f conﬁdentiality                       owed by the        attorney t0 the   moving party

                                                                       despite the absence 0f an attorney-client relationship.” (Id., pp. 636—637.) “Thus,                                   some    sort   0f

                                                                       conﬁdential 0r ﬁduciary relationship must exist 0r have existed before a party                               may disqualify          an

                                                                       attorney predicated 0n the actual 0r potential disclosure 0f conﬁdential information.” (Great
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                                                                       Lakes Construction,             Inc.      v.   Burman (2010) 186 Cal.App.4th              1347, 1356 (Great Lakes); see also

                                                                       Weil    & Brown, Cal. Practice Guide:                    Civil Procedure Before Trial (The Rutter            Group 2021)

                                                                       1]   9:406.5.)

                                                                                                            a.           conﬂict 0f interest theory

                                                                                 Here, the Temujin Parties d0 not contend that they ever had an attorney-client

                                                                       relationship with          anyone          at the   Freedman Firm. And they d0 not have standing                 t0   seek

                                                                       disqualiﬁcation based 0n an asserted conﬂict raised                        by the Freedman Firm’s representation 0f

                                                                       Mr. Abittan given             its   relationship with another client,          Ava Labs.      (See Great Lakes, supra, 186

                                                                       Cal.App.4th          at pp.   1358—1359 [party did not have standing                  t0   move t0   disqualify opposing

                                                                       counsel based 0n asserted conﬂict impacting opposing parties]; see generally Jarvis                                    v.   Jarvis

                                                                       (2019) 33 Cal.App.5th 113, 13 1—133 [summarizing authorities and afﬁrming that moving party
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                                                                       must have          itself had   an attomey-client relationship t0 disqualify counsel based 0n a conﬂict 0f

                                                                       interest]     .)   The   ﬁrst ground for disqualiﬁcation raised                by   the   Temujin   Parties accordingly fails.

                                                                                                            b.           conﬁdential information theory
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                                                                                 Still,     the   Temujin Parties also contend             that the   Freedman Firm has a ﬁnancial incentive                 t0


                                                                       breach    its      duties with regard t0 their          own conﬁdential        information provided in this case. The

                                                                       Court    is   unaware 0f any authority holding                that these duties respecting           an adverse party’s

                                                                       conﬁdential information give rise t0 a conﬁdential relationship 0f the sort that has been found t0

                                                                       confer standing t0 bring a motion for disqualiﬁcation.

                                                                                 The opinion           in   Dino explains       this distinction.     There, the    moving    parties   complained that

                                                                       by jointly representing two opposing                     parties,   opposing counsel would necessarily Violate the

                                                                       moving        parties’ right t0           mediate conﬁdentially with each opposing party. But Dino held that the

                                                                       “exchange of conﬁdential information as part 0f the mediating process” did not create a




                                                                                                                                             10
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                                                                       conﬁdential relationship between the moving parties and opposing counsel. (Dino, supra, 145

                                                                       Cal.App.4th      at p. 356.)7    And    as explained in Barajas           v.    Oren Really   & Development C0.         (1997)

                                                                       57 Cal.App.4th 209 (Barajas)—where a party attempted t0 disqualify opposing counsel                                  who had

                                                                       mediated a related case against          it   0n behalf 0f a   different client—serious policy concerns                 would

                                                                       result   from a rule    that   would   disqualify counsel      0n the assumption they would misuse
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                                                                       conﬁdential information learned during mediation. Barajas noted “that                           common practice
                                                                       allowed attorneys t0 mediate without subjecting themselves t0 disqualiﬁcation” and held that a

                                                                       contrary rule      would discourage mediation. (See Dino, supra, 145 Cal.App.4th                          at pp.   354—355

                                                                       [discussing Barajas and endorsing              its   reasoning].)

                                                                                 It   would   raise similar policy concerns t0 disqualify                opposing counsel merely for investing

                                                                       in 0r representing the         moving   party’s business competitor,              0n the assumption     that counsel will


                                                                       misuse the moving party’s conﬁdential information. The Temujin Parties d0 not identify any

                                                                       ethical rule that prohibits such representation,             and such disqualiﬁcation would              interfere   with

                                                                       parties’ ability t0     choose their    own    counsel, negotiate their           own payment terms, and perhaps

                                                                       even   t0 retain    qualiﬁed counsel     at all.


                                                                                 Here, though, the Temujin Parties raise more speciﬁc concerns prompted by Mr. Roche’s
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                                                                       statements in the Crypto Leaks Videos and the inappropriate conduct they imply.                              The Court will

                                                                       assume without deciding          that the     Temujin    Parties    have standing       t0   move   t0 disqualify the



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                                                                       7
                                                                           The opinion reasoned:

                                                                                 Under California law, a conﬁdential                relationship         is   not created simply by the
                                                                                 receipt 0f conﬁdential information.               Instead,      its   creation generally hinges     0n an
                                                                                 unequal relationship between parties in which one surrenders t0                            the other some
                                                                                 degree 0f control because 0f the trust and conﬁdence which he reposes in the
                                                                                 other.     When      a conﬁdential relationship            is   found t0      exist, the    one in   whom
                                                                                 conﬁdence was reposed may be held                    t0 a higher standard             0f disclosure and
                                                                                 fairness than in an arm’s—length relationship.


                                                                                 Parties   and   their attorneys     who     agree t0 exchange conﬁdential information during
                                                                                 mediation are not in an unequal relationship, nor are they held t0 a standard 0f
                                                                                 disclosure and fairness higher than in an arm’s—length relationship.


                                                                       (Dino, supra, 145 Cal.App.4th at pp. 356—357, internal citations, quotation marks, and other
                                                                       notations omitted.)


                                                                                                                                      11
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                                                                       Freedman Firm based 0n the more speciﬁc asserted                        threat t0 the appropriate treatment        0f their

                                                                       conﬁdential information raised by Mr. Roche’s statements.                          It   turns t0 the merits 0f that theory.

                                                                                          2.          Merits ofConﬁdential Information Theory

                                                                                 Based 0n      his   own     statements, there   is   certainly a basis t0 conclude that Mr.           Roche

                                                                       engaged in conduct prejudicial             t0 the administration ofjustice: speciﬁcally,              misusing the
                                          KOOONONUI-PUJNH




                                                                       litigation process t0 learn conﬁdential information                   about business competitors t0 an entity in

                                                                       whose performance he had a               large ﬁnancial interest,        Ava Labs, and then        sharing that information

                                                                       with Ava, as well as using litigation t0 draw negative regulatory attention away from                             Ava and

                                                                       towards   its   competitors. But the Temujin Parties provide n0 authority supporting their argument

                                                                       that this personal      conduct by Mr. Roche,        who       has    left the   Freedman Firm, should be

                                                                       automatically imputed t0 the rest 0f the Firm.

                                                                                 The Court again assumes without deciding                    that   Mr. Roche’s conduct could support an

                                                                       inference that other         members 0f the Freedman Firm were participating 0n a sufﬁcient                       factual

                                                                       record.   But here,     it   would be speculative     t0   conclude that others were involved. While there                  is


                                                                       some suggestion         that other partners received           compensation in the form 0f Ava Labs

                                                                       cryptocurrency, this has not been established with admissible evidence.                           And even if it were,      the
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                                                                       Court would hesitate t0 infer that other partners were complicit in the conduct described by Mr.

                                                                       Roche based 0n      this fact alone.


                                                                                 Moreover, there        is   not even a suggestion that the speciﬁc attorneys               who have worked
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                                                                       substantively 0n this case, including Mr. Economides, have funneled conﬁdential information to

                                                                       Ava Labs.8      This case does not ﬁt the proﬁle 0f the putative class action litigation potentially

                                                                       ﬁled by Mr. Roche for improper purposes—here, Mr. Abittan was sued by the Temujin Parties.

                                                                       And the    Court does ﬁnd that Mr. Abittan would be prejudiced by having t0 retain                           new counsel      in


                                                                       a complex matter 0n which the Freedman Firm has worked for well over a year.




                                                                       8
                                                                           Mr. Abittan declares       that Velvel (Devin)        Freedman,       who may have an         interest in   Ava Labs
                                                                       cryptocurrency, was his “ﬁrst point 0f contact,” but that he has “only worked with” Mr.
                                                                       Economides and Brianna Pierce since then, “with some intermittent communication” with Mr.
                                                                       Freedman.


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                                                                                   D.              Conclusion

                                                                                   Based 0n            this record, the      Court   is   inclined t0 conclude that the   Temujin     Parties    have not

                                                                       met      their      burden      t0   show   that the remaining       members 0f the Freedman Firm breached an                  ethical


                                                                       duty in obtaining or using their conﬁdential information, 0r are likely t0 d0                           so.    But   t0   conﬁrm

                                                                       the Court’s understanding, the Court will require the following actions before                                making a ﬁnal
                                          KOOONONUI-PUJNH




                                                                       ruling     on       this   m0ti0n:9

                                                                                      1.           Declarations from every partner in the Freedman Firm that she 0r he has not

                                                                       provided, and will never provide, another party’s conﬁdential information t0                                 Ava Labs     in


                                                                       Violation 0f a protective order 0r other court order.

                                                                                   2.              A modiﬁcation 0f the protective orders in these cases t0 make crystal-clear that n0
                                                                       conﬁdential information 0f any party can be shared by any counsel with                               Ava Labs without the

                                                                       consent 0f that party. (The Court understands that these modiﬁcations will require meet-and-

                                                                       confer discussions with                 all parties    before they are presented t0 the Court for sign-off.)

                                                                                      The Court orders such               declarations,     and the draft modiﬁcations     t0 the protective orders,


                                                                       t0   be provided            t0 the    Court by December 16, 2022. Once the Court has reviewed those

                                                                       declarations and has agreed t0 the modiﬁcations t0 the protective orders, the Court will                                   make    a
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                                                                       ﬁnal ruling on the Temujin Parties’ disqualiﬁcation motion.

                                                                                      In addition, the Court              DENIES     the   Temujin   Parties’ request for a stay    0f the August 2022

                                                                       order pending resolution 0f the disqualiﬁcation issue.
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                                                                       III.        MOTIONS CONCERNING MS. CHAO AND MR. DING’S CHINESE
                                                                                      CHARACTER NAMES
                                                                                      In the      August 2022 Order, the Court ordered Ms. Chao and Mr. Ding                        t0 serve


                                                                       veriﬁed, code-compliant further responses t0 Mr. Fu’s                            Form   Interrogatory n0. 2.1 and         RFP no.

                                                                       24, “without obj action.”                   It   similarly ordered    Temujin Labs    Inc. t0 serve further     responses t0 Mr.

                                                                       Fisch’s        RFP     nos. 25 and 26, again “without objection.”                 The Temujin      Parties   now   seek

                                                                       “clariﬁcation” as t0 “whether those parties must provide the Chinese character                                names 0f Chao



                                                                       9
                                                                           At   the   November 17                argument 0n this motion, Mr. Freedman offered
                                                                                                              oral                                                             t0 take these actions,
                                                                       and the Court              is   taking him up on his offer.


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                                                                       and Ding, or whether the ofﬁcial English language versions 0f their names                             (i.e.,   the ones that one

                                                                       would     utilize   0n a   driver’s license) are sufﬁcient for discovery purposes.”                  Meanwhile, Mr. Fu

                                                                       and, separately, Mr. Fisch and Mr.               Lu move      t0   compel   further discovery responses disclosing

                                                                       Ms. Chao and Mr. Ding’s Chinese character names.

                                                                                 A.         The Temujin        Parties’     Motion for “Clariﬁcation”
                                          KOOONONUI-PUJNH




                                                                                 The August 2022 Order requires               full   and complete responses         t0 the requests at issue,


                                                                       without obj ection. This includes information concerning Ms. Chao and Mr. Ding’s Chinese

                                                                       character names.           Any speciﬁc        objection that the Temujin Parties had about Chinese character

                                                                       names should have been           raised in opposition t0 the motions addressed                    by the August 2022 Order.

                                                                       And     indeed, Ms.    Chao and Mr. Ding speciﬁcally objected                  t0 disclosing their        “Chinese legal

                                                                       names”—0bjecti0ns            that the   Court overruled. Temujin Labs             Inc. raised the        same   obj actions, and

                                                                       the Court likewise overruled            its   objections.

                                                                                 The Temujin        Parties’   renewed request        that the   Court permit them         t0   withhold their

                                                                       Chinese character names thus constitutes an improper motion for reconsideration. (See Powell                                   v.



                                                                       County 0f0range (201           1)   197 Cal.App.4th 1573, 1577 [“regardless 0f the name, a motion asking

                                                                       the   trial   court t0 decide the    same matter previously ruled 0n             is   a motion for reconsideration under
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                                                                       Code 0f Civil Procedure          section 1008”].)        The Temujin        Parties raise    n0 new 0r      different facts,


                                                                       circumstances, 0r law that would justify reconsideration. (See                        Code   CiV. Proc., § 1008, subd.


                                                                       (a).)   They simply repeat the same argument                  that the   Court already rejected, and offer evidence
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                                                                                                                                                                    1°
                                                                       consistent with that argument that could have been submitted before.                               This does not sufﬁce.




                                                                       1°
                                                                          The Court has read and considered the Declaration 0f Lily Chao ﬁled on September 21, 2022,
                                                                       but it does not raise any new facts. Ms. Chao claims that both Mr. Abittan and, separately, Mr.

                                                                       Lu and Mr. Fisch threatened t0 expose her identity back in 2020. But the Temujin Parties
                                                                       provide n0 explanation as t0 why these asserted threats were not raised in their prior oppositions,
                                                                       in which they did more generally and speculatively accuse Mr. Abittan, Mr. Fisch, and Mr. Lu—
                                                                       as well as Mr. Fu—of “only nam[ing] Chao and Ding as cross—defendants for the purpose 0f
                                                                       harassment” by disclosing their identities. Under these circumstances, the Court does not ﬁnd
                                                                       Ms. Chao’s declaration t0 be credible and it does not ﬁnd her more speciﬁc allegation 0f
                                                                       harassment t0 be a         new fact.

                                                                       Ms. Chao also vaguely           states that she “p1an[s]   0n traveling t0 China soon” and fears various
                                                                       repercussions “if [her]        Chinese legal       name was exposed t0 the Chinese authorities,    due t0                   my

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                                                                       (See   New        York Times C0.    v.   Superior Court (2005) 135 Cal.App.4th 206, 212—213 [“[t]he

                                                                       burden under section 1008            is   comparable t0 that 0f a party seeking a new                 trial   0n the ground 0f

                                                                       newly discovered evidence: the information must be such                         that the   moving party could         not, with

                                                                       reasonable diligence, have discovered 0r produced                     it   [before]”].)    And their request is      untimely

                                                                       since   it   was made much more than 10 days               after the   August 2022 Order. (See Code CiV.                 Proc.,
                                          KOOONONUI-PUJNH




                                                                       §    1008, subd.     (a).)


                                                                                    The Temujin     Parties’     motion    t0 clarify the    August 2022 Order         is   accordingly    DENIED.

                                                                                    B.       The Remaining Motions

                                                                                    The Court construes         the motions    by Mr. Fu and Mr. Fisch and Mr. Lu                    as motions t0

                                                                       compel compliance with the August 2022 Order, and those motions are                                  GRANTED.“         Within 10

                                                                       calendar days 0f the ﬁling 0f this order, Ms. Chao, Mr. Ding, and Temujin Labs Inc. shall

                                                                       provide      full   and complete discovery responses            in   compliance with the August 2022 Order,

                                                                       including with regard t0 Ms.              Chao and Mr. Ding’s Chinese             character names.

                                                                                    At   oral argument, Craig      Hansen, counsel for Ms. Chao and Mr. Ding (and the Temujin

                                                                       entities) stated      he and his    ﬁrm were       going t0 withdraw from their representation, apparently with

                                                                       the consent 0f his clients.         But Jingling Ye       is   going t0 continue t0 represent Ms. Chao, Mr. Ding,
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                                                                       and the Temujin         entities,   even   after   Mr. Hansen and his         ﬁrm     stops their representation.       Given




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                                                                       involvement in the crypto ﬁeld.” This is also not a new fact: the August 2022 Order already
                                                                       explained why, “[e]ven assuming that Ms. Chao and Mr. Ding have some reasonable fear 0f
                                                                       retaliation        by the Chinese government,” withholding                 their identities   from discovery was not
                                                                       justiﬁed.         The Court stands by that analysis.


                                                                       Finally, the evidence submitted withMs. Chao and Mr. Ding’s ex parte opposition ﬁled 0n
                                                                       September 29, 2022 similarly could have been offered before and does not change the Court’s
                                                                       prior analysis.

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                                                                            Code 0f Civil Procedure         section 203 1 .310, subdivision            (i)   provides that “if a party
                                                                                                                                                             fails t0 obey

                                                                       an order compelling further response, the court may make those orders that are just ....” There is
                                                                       n0 statutory deadline associated with a motion pursuant t0 this subdivision. (See Kayne v. The
                                                                       Grande Holdings Limited (201 1) 198 Cal.App.4th 1470.) Code 0f Civil Procedure section
                                                                                           (e) similarly authorizes a motion t0 compel compliance with an order
                                                                       2030.300, subdivision
                                                                       compelling a further response t0 an interrogatory.


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                                                                       that   Ms. Chao and Mr. Ding      still   will   have counsel, the Court sees n0 reason       t0 further delay this


                                                                       discovery.

                                                                                The Court   is   hopeful that once this issue     is   fully resolved, the parties   can get back 0n

                                                                       track for an early mediation.


                                          KOOONONUI-PUJNH
                                                                                IT IS   SO ORDERED.

                                                                       Date:
                                                                                    November 19, 2022
                                                                                                                               The Honorable Sunil R. Kulkarni
                                                                                                                               Judge 0f the Superior Court




NNNwwwwwwb—Ab—Ab—Ab—Ab—Ab—Ab—Ab—Ab—Ab—A




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                          EXHIBIT 3
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        IN THE 15TH JUDICIAL CIRCUIT,
        IN AND FOR PALM BEACH COUNTY, FLORIDA

        CASE NO. 50-2013-CP-005060-XXXX-NB
        PROBATE DIVISION

        IN RE: ESTATE OF DAVID ALAN KLEIMAN,

              deceased.
        __________________________________________/


                          RAMONA WATTS’ FIRST REQUEST FOR
                   PRODUCTION OF DOCUMENTS TO ROCHE FREEDMAN, LLP

               Ramona Watts, under Fla. R. Civ. P. 1.350, request that Roche Freedman, LLP produce

        the requested documents for inspection and copying on or before 30 days from the date of this

        request.

                                                           Respectfully Submitted,


                                                           RIVERO MESTRE LLP
                                                           Attorneys for Ramona Watts
                                                           2525 Ponce de Leon Blvd., Suite 1000
                                                           Miami, Florida 33134
                                                           Tel.: (305) 445-2500
                                                           Fax: (305) 445-2505

                                                           By: /s/ Andrés Rivero
                                                             Andrés Rivero
                                                             Florida Bar No.: 613819
                                                             arivero@riveromestre.com
                                                             Alan H. Rolnick
                                                             Florida Bar No.: 715085
                                                             arolnick@riveromestre.com
                                                             Robert J. Kuntz, Jr.
                                                             Florida Bar No. 94668
                                                             rkuntz@riveromestre.com
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                                      342




                                    CERTIFICATE OF SERVICE

          I certify that on September 27, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                                          I.      DEFINITIONS

           A.      The word “document” shall mean any written or graphic matter or other means of

   preserving thought or expression, and all tangible things from which information or thoughts can

   be processed or transcribed, and all copies containing additional matter, however produced or

   reproduced, of any kind and description, in your actual or constructive possession, custody, care,

   or control, that pertain directly or indirectly, in whole or in part, either to any of the subjects

   listed below or to any other matter relevant to this action, or which are themselves listed below

   as specific documents, including, but not limited to, the following: communications,

   correspondence, memoranda, notes, messages, letters, telegrams, teletype messages, facsimiles,

   e-mails, bulletins, diaries, chronological data, minutes, books, reports, charts, ledgers, invoices,

   worksheets, receipts, computer memory, word processing data, computer printouts, work-product

   schedules, account records, patents, licenses, legal pleadings, minutes of directors’ meetings,

   minutes of shareholders’ or other meetings, work assignments, transaction files, statistical

   records, financial records, bank records, security agreements, testing reports, newspaper or

   magazine articles, stories or clippings, affidavits, contracts, transcripts, surveys, graphic

   representations of any kind, photographs, graphs, microfilms, videotapes, tape recordings, or

   motion pictures or other films, or information maintained in any electronic medium (including,

   but not limited to, information found in computer hard drives, flash drives, USB drives, pocket

   drives, CDs, backup tapes, metadata, and pdf).

           B.      “Relating to” and “related to” shall mean the following: relates to, refers to,

   pertains to, contains, concerns, describes, embodies, mentions, constitutes, supports,

   corroborates, demonstrates, proves, evidences, shows, refutes, disputes, rebuts, controverts, or

   contradicts.




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          C.      The term “Gun” shall refer to Emin Gun Sirer.

          D.      The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

          E.      The term “Avalanche” shall refer to Ava lab’s contracting platform.

          F.      The term “Sekniqi” shall refer to Kevin Sekniqi.

          G.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

   Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

   consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.

          H.      The term “MOU” shall refer to the Memorandum of Understanding dated

   December 27, 2019, and signed by the then-partners of RF.

                                       II.     INSTRUCTIONS

          1.      You should produce the documents as follows: (1) in the exact order in which

   they are kept in the ordinary course of business; or (2) classified according to the specific

   request(s) to which they are responsive.

          2.      To the extent that you do not have possession, custody, or control of any

   documents identified as responsive to a particular request herein, please indicate the lack of

   possession, custody, existence, or control of the responsive documents in your response.

          3.      All electronic documents and e-mail are requested to be produced in electronic

   format by a forensically sound method, with all original metadata preserved and intact.

          4.      ESI should be produced as follows:

                  a.      Email, instant messaging, calendar, contacts, and word processing files

                          must be derived from the original electronic media and converted to

                          single-page .tiff images with accompanying system metadata (e.g., author,




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                         recipient(s), “cc” recipient(s), “bcc” recipient(s), date and time of creation

                         and receipt, date and time of modification, etc.) and substantive metadata

                         (e.g., the substance of the changes, etc.), with all attachments. All

                         chronological metadata shall be standardized to Eastern Standard Time.

                         The Plaintiffs reserve the right to request native format production for ESI.

                         Upon such request, you shall produce specific documents (identified by

                         Bates number or range) in original native electronic format.

                  b.     Dynamic files (e.g. databases, spreadsheets, project files, etc.) shall be

                         produced in original native format with all accompanying metadata, along

                         with all such software necessary to interpret the produced information if

                         such software is not readily commercially available.

                  c.     For all ESI not specified above, production shall be made in native format

                         with all accompanying metadata, along with all software necessary to

                         interpret the produced information if such software is not readily

                         commercially available, unless Plaintiffs specifically agree to a different

                         form of production.

          5.      This Request for Production of Documents does not seek the production of

   documents protected by the attorney-client privilege or work-product rule. However, if you

   withhold production of a document requested here as privileged, work product or on any other

   basis, please state the following in a privilege log for each document withheld:

                  a.     the type of document (e.g., correspondence, memorandum, e-mail);

                  b.     the date of the document;

                  c.     the person(s) who signed the document;




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                  d.      the person(s) who received the document or a copy of it;

                  e.      the reason for non-production; and

                  f.      the substance of the document.

          6.      If any document requested here was previously in your possession, custody, or

   control, but is no longer, state the following for each document in your response to this request

   for production of documents:

                  a. the type of document (that is, correspondence, memorandum, e-mail, etc.);

                  b. the date of the document;

                  c. any person who signed the document;

                  d. any person who received the document or a copy of it;

                  e. any person who is presently in possession of the document;

                  f. the substance of the document; and

                  g. the disposition of the document, including the date of disposition.

                                III.    DOCUMENTS REQUESTED

      1. All documents related to RF’s ownership interest in Ava Labs.

      2. All documents related to RF’s ownership interest in Ava Labs’ tokens.

      3. All documents related to the MOU.

      4. All documents related to RF’s engagement agreement with Ava Labs.

      5. All documents related to Kyle Roche’s ownership interest in Ava Labs.

      6. All documents related to RF’s ownership interest in Avalanche.

      7. All documents related to Kyle Roche’s ownership interest in Avalanche.

      8. All documents related to Gun’s ownership interest in RF.

      9. All documents related to Sekniqi's ownership interest in RF.




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      10. All documents related to “shared workspace” between or among RF, Ava Labs, or
          Avalanche.

      11. All documents related to any lease executed by RF for the “shared workspace” referred to
          in Request 10.

      12. All documents related to any lease executed by the Ava Labs for the “shared workspace”
          referred to in Request 10.

      13. All documents related to “academic writings” in your possession authored by either you,
          Gun, or both.

      14. All documents related to Ava Labs’ capitalization tables on which Kyle Roche’s name
          appears.

      15. All documents related to Ava Labs capitalization tables on which any member of RF
          appears.

      16. All documents related to RF’s use of straw plaintiffs to bring actions on behalf of Ava
          Labs in which Ava Labs did not appear.

      17. All documents related to RF’s communications with the Securities and Exchange
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      18. All documents related to RF’s communications with the Commodities Futures Trading
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      19. All documents related to Kyle Roche’s residence in Florida for tax purposes.




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                          EXHIBIT 4
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        IN THE 15TH JUDICIAL CIRCUIT,
        IN AND FOR PALM BEACH COUNTY, FLORIDA

        CASE NO. 50-2013-CP-005060-XXXX-NB
        PROBATE DIVISION

        IN RE: ESTATE OF DAVID ALAN KLEIMAN,

              deceased.
        __________________________________________/


          RAMONA WATTS’ FIRST REQUEST FOR ADMISSIONS TO ROCHE FREEDMAN,
                                       LLP

               Ramona Watts, under Fla. R. Civ. P. 1.370, request that Roche Freedman, LLP admit or

        deny each of the requests set forth below within 30 days.

                                            I.     INSTRUCTIONS

               A.      As to each statement, you shall specifically admit or deny the statement. If denied,

        the denial must fairly meet the substance of the requested admission. If you qualify your answer

        or deny any part of the matter for which admission is requested, you shall admit so much of the

        statement as is true and qualify or deny the remainder.

               B.      If you object that a term or phrase is vague or ambiguous, you shall respond with

        its understanding of the term or phrase and specifically admit or deny the statement.

                                             II.     DEFINITIONS

               A.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

        Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

        consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.

               B.      The term “tokens” shall mean digital assets that are used as currency.

               C.      The term “MOU” shall refer to the Memorandum of Understanding dated

        December 27, 2019, and signed by the then-partners of RF.
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          D.     The term “Gun” shall refer to Emin Gun Sirer.

          E.     The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

                              III.    REQUESTS FOR ADMISSION

      1. Admit that Kyle Roche made the statements recorded in the videos found at
         https://cryptoleaks.info/case-no-3.

      2. Admit that the video recorded statements found at https://cryptoleaks.info/case-no-3
         made by Kyle Roche were true.

      3. Admit that RF has represented Ava Labs.

      4. Admit that RF owns approximately 1% of the shares in Ava Labs.

      5. Admit that Ava Labs is an undisclosed principal of RF.

      6. Admit that the MOU addresses how Ava Labs tokens will be distributed between the
         partners of RF.

      7. Admit that Kyle Roche made a deal with Gun, whereby RF would provide legal services
         in exchange for a certain percentage of the token supply.

      8. Admit that Kyle Roche was the second person listed on the Ava Labs capitalization table.

      9. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ equity.

      10. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ tokens.

      11. Admit that Kyle has used litigation as a strategic instrument to support Ava Labs.

      12. Admit that RF has used litigation as a strategic instrument to support Ava Labs.

      13. Admit that Ava Labs made Kyle Roche an equity partner in appreciation for his use of
          litigation to as a strategic instrument for Ava Labs.

      14. Admit that your lawsuits against blockchain companies or entities has enabled you to see
          inside their operations.

      15. Admit that you sue blockchain companies or entities to be able to see inside their
          operations.

      16. Admit that you sue blockchain companies or entities to be able to learn their secrets.

      17. Admit that you sued Emre Aksoy at Gun’s behest.


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      18. Admit that you consider Dr. Craig Wright to be Gun’s archnemesis.

      19. Admit that you sued Dr. Craig Wright to please Gun.

      20. Admit that you sued Dr. Craig Wright to devalue Bitcoin Satoshi Vision.

      21. Admit that you sued Dr. Craig Wright to “take him down.”

      22. Admit that the breach of partnership claims against Dr. Craig Wright were a mere pretext
          for a lawsuit designed to vindicate Gun’s personal vendetta.

      23. Admit that you do not care about settling lawsuits.

      24. Admit that you would rather win a $100 million judgment for your client and get good
          press, than settle for $500 million.

      25. Admit that you have shared with Ava Labs non-public information that you learned about
          its competitors.

      26. Admit that you sue blockchain companies or entities to be able to learn their secrets.

                                                       Respectfully Submitted,


                                                       RIVERO MESTRE LLP
                                                       Attorneys for Ramona Watts
                                                       2525 Ponce de Leon Blvd., Suite 1000
                                                       Miami, Florida 33134
                                                       Tel.: (305) 445-2500
                                                       Fax: (305) 445-2505

                                                       By: /s/ Andrés Rivero
                                                         Andrés Rivero
                                                         Florida Bar No.: 613819
                                                         arivero@riveromestre.com
                                                         Alan H. Rolnick
                                                         Florida Bar No.: 715085
                                                         arolnick@riveromestre.com
                                                         Robert J. Kuntz, Jr.
                                                         Florida Bar No. 94668
                                                         rkuntz@riveromestre.com




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                                    CERTIFICATE OF SERVICE

          I certify that on September 27, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                          EXHIBIT 5
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                                                           IN THE CIRCUIT COURT FOR THE
                                                           15TH JUDICIAL CIRCUIT IN AND FOR
                                                           PALM BEACH COUNTY, FLORIDA

        RAMONA WATTS,                                      CASE NO: 50-2022-CA-005501-XXXX-MB

                Plaintiff,

                v.

        W&K INFO DEFENSE RESEARCH LLC,

                Defendant.

        ________________________________________/


                            RAMONA WATTS’ FIRST REQUEST FOR
                     PRODUCTION OF DOCUMENTS TO ROCHE FREEDMAN, LLP

                Plaintiff Ramona Watts, under Fla. R. Civ. P. 1.350, request that Roche Freedman, LLP

        produce the requested documents for inspection and copying on or before 30 days from the date

        of this request.

                                                           Respectfully Submitted,


                                                           RIVERO MESTRE LLP
                                                           Attorneys for Ramona Watts
                                                           2525 Ponce de Leon Blvd., Suite 1000
                                                           Miami, Florida 33134
                                                           Tel.: (305) 445-2500
                                                           Fax: (305) 445-2505

                                                           By: /s/ Andrés Rivero
                                                             Andrés Rivero
                                                             Florida Bar No.: 613819
                                                             arivero@riveromestre.com
                                                             Alan H. Rolnick
                                                             Florida Bar No.: 715085
                                                             arolnick@riveromestre.com
                                                             Robert J. Kuntz, Jr.
                                                             Florida Bar No. 94668
                                                             rkuntz@riveromestre.com
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                                      342



                                    CERTIFICATE OF SERVICE

          I certify that on September 27, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                                          I.      DEFINITIONS

           A.      The word “document” shall mean any written or graphic matter or other means of

   preserving thought or expression, and all tangible things from which information or thoughts can

   be processed or transcribed, and all copies containing additional matter, however produced or

   reproduced, of any kind and description, in your actual or constructive possession, custody, care,

   or control, that pertain directly or indirectly, in whole or in part, either to any of the subjects

   listed below or to any other matter relevant to this action, or which are themselves listed below

   as specific documents, including, but not limited to, the following: communications,

   correspondence, memoranda, notes, messages, letters, telegrams, teletype messages, facsimiles,

   e-mails, bulletins, diaries, chronological data, minutes, books, reports, charts, ledgers, invoices,

   worksheets, receipts, computer memory, word processing data, computer printouts, work-product

   schedules, account records, patents, licenses, legal pleadings, minutes of directors’ meetings,

   minutes of shareholders’ or other meetings, work assignments, transaction files, statistical

   records, financial records, bank records, security agreements, testing reports, newspaper or

   magazine articles, stories or clippings, affidavits, contracts, transcripts, surveys, graphic

   representations of any kind, photographs, graphs, microfilms, videotapes, tape recordings, or

   motion pictures or other films, or information maintained in any electronic medium (including,

   but not limited to, information found in computer hard drives, flash drives, USB drives, pocket

   drives, CDs, backup tapes, metadata, and pdf).

           B.      “Relating to” and “related to” shall mean the following: relates to, refers to,

   pertains to, contains, concerns, describes, embodies, mentions, constitutes, supports,

   corroborates, demonstrates, proves, evidences, shows, refutes, disputes, rebuts, controverts, or

   contradicts.




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          C.      The term “Gun” shall refer to Emin Gun Sirer.

          D.      The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

          E.      The term “Avalanche” shall refer to Ava lab’s contracting platform.

          F.      The term “Sekniqi” shall refer to Kevin Sekniqi.

          G.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

   Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

   consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.

          H.      The term “MOU” shall refer to the Memorandum of Understanding dated

   December 27, 2019, and signed by the then-partners of RF.

                                       II.     INSTRUCTIONS

          1.      You should produce the documents as follows: (1) in the exact order in which

   they are kept in the ordinary course of business; or (2) classified according to the specific

   request(s) to which they are responsive.

          2.      To the extent that you do not have possession, custody, or control of any

   documents identified as responsive to a particular request herein, please indicate the lack of

   possession, custody, existence, or control of the responsive documents in your response.

          3.      All electronic documents and e-mail are requested to be produced in electronic

   format by a forensically sound method, with all original metadata preserved and intact.

          4.      ESI should be produced as follows:

                  a.      Email, instant messaging, calendar, contacts, and word processing files

                          must be derived from the original electronic media and converted to

                          single-page .tiff images with accompanying system metadata (e.g., author,




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                         recipient(s), “cc” recipient(s), “bcc” recipient(s), date and time of creation

                         and receipt, date and time of modification, etc.) and substantive metadata

                         (e.g., the substance of the changes, etc.), with all attachments. All

                         chronological metadata shall be standardized to Eastern Standard Time.

                         The Plaintiffs reserve the right to request native format production for ESI.

                         Upon such request, you shall produce specific documents (identified by

                         Bates number or range) in original native electronic format.

                  b.     Dynamic files (e.g. databases, spreadsheets, project files, etc.) shall be

                         produced in original native format with all accompanying metadata, along

                         with all such software necessary to interpret the produced information if

                         such software is not readily commercially available.

                  c.     For all ESI not specified above, production shall be made in native format

                         with all accompanying metadata, along with all software necessary to

                         interpret the produced information if such software is not readily

                         commercially available, unless Plaintiffs specifically agree to a different

                         form of production.

          5.      This Request for Production of Documents does not seek the production of

   documents protected by the attorney-client privilege or work-product rule. However, if you

   withhold production of a document requested here as privileged, work product or on any other

   basis, please state the following in a privilege log for each document withheld:

                  a.     the type of document (e.g., correspondence, memorandum, e-mail);

                  b.     the date of the document;

                  c.     the person(s) who signed the document;




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                  d.      the person(s) who received the document or a copy of it;

                  e.      the reason for non-production; and

                  f.      the substance of the document.

          6.      If any document requested here was previously in your possession, custody, or

   control, but is no longer, state the following for each document in your response to this request

   for production of documents:

                  a. the type of document (that is, correspondence, memorandum, e-mail, etc.);

                  b. the date of the document;

                  c. any person who signed the document;

                  d. any person who received the document or a copy of it;

                  e. any person who is presently in possession of the document;

                  f. the substance of the document; and

                  g. the disposition of the document, including the date of disposition.

                                III.    DOCUMENTS REQUESTED

      1. All documents related to RF’s ownership interest in Ava Labs.

      2. All documents related to RF’s ownership interest in Ava Labs’ tokens.

      3. All documents related to the MOU.

      4. All documents related to RF’s engagement agreement with Ava Labs.

      5. All documents related to Kyle Roche’s ownership interest in Ava Labs.

      6. All documents related to RF’s ownership interest in Avalanche.

      7. All documents related to Kyle Roche’s ownership interest in Avalanche.

      8. All documents related to Gun’s ownership interest in RF.

      9. All documents related to Sekniqi's ownership interest in RF.




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      10. All documents related to “shared workspace” between or among RF, Ava Labs, or
          Avalanche.

      11. All documents related to any lease executed by RF for the “shared workspace” referred to
          in Request 10.

      12. All documents related to any lease executed by the Ava Labs for the “shared workspace”
          referred to in Request 10.

      13. All documents related to “academic writings” in your possession authored by either you,
          Gun, or both.

      14. All documents related to Ava Labs’ capitalization tables on which Kyle Roche’s name
          appears.

      15. All documents related to Ava Labs capitalization tables on which any member of RF
          appears.

      16. All documents related to RF’s use of straw plaintiffs to bring actions on behalf of Ava
          Labs in which Ava Labs did not appear.

      17. All documents related to RF’s communications with the Securities and Exchange
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      18. All documents related to RF’s communications with the Commodities Futures Trading
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      19. All documents related to Kyle Roche’s residence in Florida for tax purposes.




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                          EXHIBIT 6
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                                                             IN THE CIRCUIT COURT FOR THE
                                                             15TH JUDICIAL CIRCUIT IN AND FOR
                                                             PALM BEACH COUNTY, FLORIDA

        RAMONA WATTS,                                        CASE NO: 50-2022-CA-005501-XXXX-MB

                Plaintiff,

               v.

        W&K INFO DEFENSE RESEARCH LLC,

               Defendant.

        ________________________________________/


         RAMONA WATTS’ FIRST REQUEST FOR ADMISSIONS TO ROCHE FREEDMAN,
                                      LLP

               Plaintiff Ramona Watts under Fla. R. Civ. P. 1.370, request that Roche Freedman, LLP

        admit or deny each of the requests set forth below within 30 days.

                                            I.     INSTRUCTIONS

               A.      As to each statement, you shall specifically admit or deny the statement. If denied,

        the denial must fairly meet the substance of the requested admission. If you qualify your answer

        or deny any part of the matter for which admission is requested, you shall admit so much of the

        statement as is true and qualify or deny the remainder.

               B.      If you object that a term or phrase is vague or ambiguous, you shall respond with

        its understanding of the term or phrase and specifically admit or deny the statement.

                                             II.     DEFINITIONS

               A.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

        Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

        consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.
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          B.     The term “tokens” shall mean digital assets that are used as currency.

          C.     The term “MOU” shall refer to the Memorandum of Understanding dated

   December 27, 2019, and signed by the then-partners of RF.

          D.     The term “Gun” shall refer to Emin Gun Sirer.

          E.     The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

                              III.   REQUESTS FOR ADMISSION

      1. Admit that Kyle Roche made the statements recorded in the videos found at
         https://cryptoleaks.info/case-no-3.

      2. Admit that the video recorded statements found at https://cryptoleaks.info/case-no-3
         made by Kyle Roche were true.

      3. Admit that RF has represented Ava Labs.

      4. Admit that RF owns approximately 1% of the shares in Ava Labs.

      5. Admit that Ava Labs is an undisclosed principal of RF.

      6. Admit that the MOU addresses how Ava Labs tokens will be distributed between the
         partners of RF.

      7. Admit that Kyle Roche made a deal with Gun, whereby RF would provide legal services
         in exchange for a certain percentage of the token supply.

      8. Admit that Kyle Roche was the second person listed on the Ava Labs capitalization table.

      9. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ equity.

      10. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ tokens.

      11. Admit that Kyle has used litigation as a strategic instrument to support Ava Labs.

      12. Admit that RF has used litigation as a strategic instrument to support Ava Labs.

      13. Admit that Ava Labs made Kyle Roche an equity partner in appreciation for his use of
          litigation to as a strategic instrument for Ava Labs.

      14. Admit that your lawsuits against blockchain companies or entities has enabled you to see
          inside their operations.



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      15. Admit that you sue blockchain companies or entities to be able to see inside their
          operations.

      16. Admit that you sue blockchain companies or entities to be able to learn their secrets.

      17. Admit that you sued Emre Aksoy at Gun’s behest.

      18. Admit that you consider Dr. Craig Wright to be Gun’s archnemesis.

      19. Admit that you sued Dr. Craig Wright to please Gun.

      20. Admit that you sued Dr. Craig Wright to devalue Bitcoin Satoshi Vision.

      21. Admit that you sued Dr. Craig Wright to “take him down.”

      22. Admit that the breach of partnership claims against Dr. Craig Wright were a mere pretext
          for a lawsuit designed to vindicate Gun’s personal vendetta.

      23. Admit that you do not care about settling lawsuits.

      24. Admit that you would rather win a $100 million judgment for your client and get good
          press, than settle for $500 million.

      25. Admit that you have shared with Ava Labs non-public information that you learned about
          its competitors.

      26. Admit that you sue blockchain companies or entities to be able to learn their secrets.

                                                       Respectfully Submitted,


                                                       RIVERO MESTRE LLP
                                                       Attorneys for Ramona Watts
                                                       2525 Ponce de Leon Blvd., Suite 1000
                                                       Miami, Florida 33134
                                                       Tel.: (305) 445-2500
                                                       Fax: (305) 445-2505

                                                       By: /s/ Andrés Rivero
                                                         Andrés Rivero
                                                         Florida Bar No.: 613819
                                                         arivero@riveromestre.com
                                                         Alan H. Rolnick
                                                         Florida Bar No.: 715085
                                                         arolnick@riveromestre.com
                                                         Robert J. Kuntz, Jr.
                                                         Florida Bar No. 94668
                                                         rkuntz@riveromestre.com


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                                    CERTIFICATE OF SERVICE

          I certify that on September 27, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                          EXHIBIT 7
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                                                            IN THE CIRCUIT COURT FOR THE
                                                            15TH JUDICIAL CIRCUIT IN AND FOR
                                                            PALM BEACH COUNTY, FLORIDA

        Ramona Ang, as trustee of the                       CASE NO: 50-2021-CA-004758-XXXX-MB
        Tulip Trust,

               plaintiff,

                   v.

        Ira Kleiman, as personal representative
        of the Estate of David Kleiman

               defendant,

        and

        W&K Info Defense Research, LLC,
        and Lynn Wright,

               nominal defendants.


                            TULIP TRUST’S FIRST REQUEST FOR
                    PRODUCTION OF DOCUMENTS TO ROCHE FREEDMAN, LLP

               Plaintiff Ramona Ang, as trustee for Tulip Trust, under Fla. R. Civ. P. 1.350, request that

        Roche Freedman, LLP produce the requested documents for inspection and copying on or before

        30 days from the date of this request.

                                                            Respectfully Submitted,


                                                            RIVERO MESTRE LLP
                                                            Attorneys for Tulip Trust
                                                            2525 Ponce de Leon Blvd., Suite 1000
                                                            Miami, Florida 33134
                                                            Tel.: (305) 445-2500
                                                            Fax: (305) 445-2505

                                                            By: /s/ Andrés Rivero
                                                              Andrés Rivero
                                                              Florida Bar No.: 613819
                                                              arivero@riveromestre.com
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                                                             Alan H. Rolnick
                                                             Florida Bar No.: 715085
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                                                             Robert J. Kuntz, Jr.
                                                             Florida Bar No. 94668
                                                             rkuntz@riveromestre.com

                                    CERTIFICATE OF SERVICE

          I certify that on September 14, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                                          I.      DEFINITIONS

           A.      The word “document” shall mean any written or graphic matter or other means of

   preserving thought or expression, and all tangible things from which information or thoughts can

   be processed or transcribed, and all copies containing additional matter, however produced or

   reproduced, of any kind and description, in your actual or constructive possession, custody, care,

   or control, that pertain directly or indirectly, in whole or in part, either to any of the subjects

   listed below or to any other matter relevant to this action, or which are themselves listed below

   as specific documents, including, but not limited to, the following: communications,

   correspondence, memoranda, notes, messages, letters, telegrams, teletype messages, facsimiles,

   e-mails, bulletins, diaries, chronological data, minutes, books, reports, charts, ledgers, invoices,

   worksheets, receipts, computer memory, word processing data, computer printouts, work-product

   schedules, account records, patents, licenses, legal pleadings, minutes of directors’ meetings,

   minutes of shareholders’ or other meetings, work assignments, transaction files, statistical

   records, financial records, bank records, security agreements, testing reports, newspaper or

   magazine articles, stories or clippings, affidavits, contracts, transcripts, surveys, graphic

   representations of any kind, photographs, graphs, microfilms, videotapes, tape recordings, or

   motion pictures or other films, or information maintained in any electronic medium (including,

   but not limited to, information found in computer hard drives, flash drives, USB drives, pocket

   drives, CDs, backup tapes, metadata, and pdf).

           B.      “Relating to” and “related to” shall mean the following: relates to, refers to,

   pertains to, contains, concerns, describes, embodies, mentions, constitutes, supports,

   corroborates, demonstrates, proves, evidences, shows, refutes, disputes, rebuts, controverts, or

   contradicts.




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          C.      The term “Gun” shall refer to Emin Gun Sirer.

          D.      The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

          E.      The term “Avalanche” shall refer to Ava lab’s contracting platform.

          F.      The term “Sekniqi” shall refer to Kevin Sekniqi.

          G.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

   Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

   consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.

          H.      The term “MOU” shall refer to the Memorandum of Understanding dated

   December 27, 2019, and signed by the then-partners of RF.

                                       II.     INSTRUCTIONS

          1.      You should produce the documents as follows: (1) in the exact order in which

   they are kept in the ordinary course of business; or (2) classified according to the specific

   request(s) to which they are responsive.

          2.      To the extent that you do not have possession, custody, or control of any

   documents identified as responsive to a particular request herein, please indicate the lack of

   possession, custody, existence, or control of the responsive documents in your response.

          3.      All electronic documents and e-mail are requested to be produced in electronic

   format by a forensically sound method, with all original metadata preserved and intact.

          4.      ESI should be produced as follows:

                  a.      Email, instant messaging, calendar, contacts, and word processing files

                          must be derived from the original electronic media and converted to

                          single-page .tiff images with accompanying system metadata (e.g., author,




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                         recipient(s), “cc” recipient(s), “bcc” recipient(s), date and time of creation

                         and receipt, date and time of modification, etc.) and substantive metadata

                         (e.g., the substance of the changes, etc.), with all attachments. All

                         chronological metadata shall be standardized to Eastern Standard Time.

                         The Plaintiffs reserve the right to request native format production for ESI.

                         Upon such request, you shall produce specific documents (identified by

                         Bates number or range) in original native electronic format.

                  b.     Dynamic files (e.g. databases, spreadsheets, project files, etc.) shall be

                         produced in original native format with all accompanying metadata, along

                         with all such software necessary to interpret the produced information if

                         such software is not readily commercially available.

                  c.     For all ESI not specified above, production shall be made in native format

                         with all accompanying metadata, along with all software necessary to

                         interpret the produced information if such software is not readily

                         commercially available, unless Plaintiffs specifically agree to a different

                         form of production.

          5.      This Request for Production of Documents does not seek the production of

   documents protected by the attorney-client privilege or work-product rule. However, if you

   withhold production of a document requested here as privileged, work product or on any other

   basis, please state the following in a privilege log for each document withheld:

                  a.     the type of document (e.g., correspondence, memorandum, e-mail);

                  b.     the date of the document;

                  c.     the person(s) who signed the document;




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                  d.      the person(s) who received the document or a copy of it;

                  e.      the reason for non-production; and

                  f.      the substance of the document.

          6.      If any document requested here was previously in your possession, custody, or

   control, but is no longer, state the following for each document in your response to this request

   for production of documents:

                  a. the type of document (that is, correspondence, memorandum, e-mail, etc.);

                  b. the date of the document;

                  c. any person who signed the document;

                  d. any person who received the document or a copy of it;

                  e. any person who is presently in possession of the document;

                  f. the substance of the document; and

                  g. the disposition of the document, including the date of disposition.

                                III.    DOCUMENTS REQUESTED

      1. All documents related to RF’s ownership interest in Ava Labs.

      2. All documents related to RF’s ownership interest in Ava Labs’ tokens.

      3. All documents related to the MOU.

      4. All documents related to RF’s engagement agreement with Ava Labs.

      5. All documents related to Kyle Roche’s ownership interest in Ava Labs.

      6. All documents related to RF’s ownership interest in Avalanche.

      7. All documents related to Kyle Roche’s ownership interest in Avalanche.

      8. All documents related to Gun’s ownership interest in RF.

      9. All documents related to Sekniqi's ownership interest in RF.




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      10. All documents related to “shared workspace” between or among RF, Ava Labs, or
          Avalanche.

      11. All documents related to any lease executed by RF for the “shared workspace” referred to
          in Request 10.

      12. All documents related to any lease executed by the Ava Labs for the “shared workspace”
          referred to in Request 10.

      13. All documents related to “academic writings” in your possession authored by either you,
          Gun, or both.

      14. All documents related to Ava Labs’ capitalization tables on which Kyle Roche’s name
          appears.

      15. All documents related to Ava Labs capitalization tables on which any member of RF
          appears.

      16. All documents related to RF’s use of straw plaintiffs to bring actions on behalf of Ava
          Labs in which Ava Labs did not appear.

      17. All documents related to RF’s communications with the Securities and Exchange
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      18. All documents related to RF’s communications with the Commodities Futures Trading
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      19. All documents related to Kyle Roche’s residence in Florida for tax purposes.




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                          EXHIBIT 8
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                                                               IN THE CIRCUIT COURT FOR THE
                                                               15TH JUDICIAL CIRCUIT IN AND FOR
                                                               PALM BEACH COUNTY, FLORIDA

        Ramona Ang, as trustee of the                          CASE NO: 50-2021-CA-004758-XXXX-MB
        Tulip Trust,

               plaintiff,

                    v.

        Ira Kleiman, as personal representative
        of the Estate of David Kleiman

               defendant,

        and

        W&K Info Defense Research, LLC,
        and Lynn Wright,

               nominal defendants.


         TULIP TRUST’S FIRST REQUEST FOR ADMISSIONS TO ROCHE FREEDMAN, LLP

               Plaintiff Ramona Ang, as trustee for Tulip Trust, under Fla. R. Civ. P. 1.370, request that

        Roche Freedman, LLP admit or deny each of the requests set forth below within 30 days.

                                             I.      INSTRUCTIONS

               A.        As to each statement, you shall specifically admit or deny the statement. If denied,

        the denial must fairly meet the substance of the requested admission. If you qualify your answer

        or deny any part of the matter for which admission is requested, you shall admit so much of the

        statement as is true and qualify or deny the remainder.

               B.        If you object that a term or phrase is vague or ambiguous, you shall respond with

        its understanding of the term or phrase and specifically admit or deny the statement.
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                                        II.     DEFINITIONS

          A.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

   Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

   consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.

          B.      The term “tokens” shall mean digital assets that are used as currency.

          C.      The term “MOU” shall refer to the Memorandum of Understanding dated

   December 27, 2019, and signed by the then-partners of RF.

          D.      The term “Gun” shall refer to Emin Gun Sirer.

          E.      The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

                               III.    REQUESTS FOR ADMISSION

      1. Admit that Kyle Roche made the statements recorded in the videos found at
         https://cryptoleaks.info/case-no-3.

      2. Admit that the video recorded statements found at https://cryptoleaks.info/case-no-3
         made by Kyle Roche were true.

      3. Admit that RF has represented Ava Labs.

      4. Admit that RF owns approximately 1% of the shares in Ava Labs.

      5. Admit that Ava Labs is an undisclosed principal of RF.

      6. Admit that the MOU addresses how Ava Labs tokens will be distributed between the
         partners of RF.

      7. Admit that Kyle Roche made a deal with Gun, whereby RF would provide legal services
         in exchange for a certain percentage of the token supply.

      8. Admit that Kyle Roche was the second person listed on the Ava Labs capitalization table.

      9. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ equity.

      10. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ tokens.

      11. Admit that Kyle has used litigation as a strategic instrument to support Ava Labs.



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      12. Admit that RF has used litigation as a strategic instrument to support Ava Labs.

      13. Admit that Ava Labs made Kyle Roche an equity partner in appreciation for his use of
          litigation to as a strategic instrument for Ava Labs.

      14. Admit that your lawsuits against blockchain companies or entities has enabled you to see
          inside their operations.

      15. Admit that you sue blockchain companies or entities to be able to see inside their
          operations.

      16. Admit that you sue blockchain companies or entities to be able to learn their secrets.

      17. Admit that you sued Emre Aksoy at Gun’s behest.

      18. Admit that you consider Dr. Craig Wright to be Gun’s archnemesis.

      19. Admit that you sued Dr. Craig Wright to please Gun.

      20. Admit that you sued Dr. Craig Wright to devalue Bitcoin Satoshi Vision.

      21. Admit that you sued Dr. Craig Wright to “take him down.”

      22. Admit that the breach of partnership claims against Dr. Craig Wright were a mere pretext
          for a lawsuit designed to vindicate Gun’s personal vendetta.

      23. Admit that you do not care about settling lawsuits.

      24. Admit that you would rather win a $100 million judgment for your client and get good
          press, than settle for $500 million.

      25. Admit that you have shared with Ava Labs non-public information that you learned about
          its competitors.

      26. Admit that you sue blockchain companies or entities to be able to learn their secrets.

                                                       Respectfully Submitted,


                                                       RIVERO MESTRE LLP
                                                       Attorneys for Tulip Trust
                                                       2525 Ponce de Leon Blvd., Suite 1000
                                                       Miami, Florida 33134
                                                       Tel.: (305) 445-2500
                                                       Fax: (305) 445-2505

                                                       By: /s/ Andrés Rivero
                                                         Andrés Rivero


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                                                             Florida Bar No.: 613819
                                                             arivero@riveromestre.com
                                                             Alan H. Rolnick
                                                             Florida Bar No.: 715085
                                                             arolnick@riveromestre.com
                                                             Robert J. Kuntz, Jr.
                                                             Florida Bar No. 94668
                                                             rkuntz@riveromestre.com


                                    CERTIFICATE OF SERVICE

          I certify that on September 14, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                          EXHIBIT 9
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                                      342



    IN THE 15TH JUDICIAL CIRCUIT,
    IN AND FOR PALM BEACH COUNTY,
    FLORIDA

    CASE NO. 50-2013-CP-005060-XXXX-NB
    PROBATE DIVISION

    IN RE: ESTATE OF DAVID KLEIMAN,

           deceased.

                                                        /


               ROCHE FREEDMAN LLP’S RESPONSES AND OBJECTIONS TO
                 RAMONA WATTS’S FIRST REQUEST FOR ADMISSIONS

          Pursuant to Florida Rules of Civil Procedure 1.280, 1.370, and 1.410, Non-Party Roche

   Freedman LLP (n/k/a Freedman Normand Friedland LLP) (“RF”), by and through its undersigned

   counsel, hereby responds and objects to Ramona Watts’s First Request for Admissions dated

   September 27, 2022 (the “Requests” and each a “Request”), as follows:

                                      GENERAL OBJECTIONS

          1.      RF is not a party to this action and therefore has no obligation under the Florida

   Rules of Civil Procedure or under Florida law to respond to requests for admission served pursuant

   to Florida Rule of Civil Procedure 1.370.

          2.      Ms. Watts’s discovery requests seek information that is not even conceivably

   relevant. Her requests are frivolous and appear to have been made entirely for purposes of

   harassing RF and its clients. RF reserves the right to move for a protective and to seek sanctions

   against Ms. Watts and her counsel.

          3.      To the extent RF responds to a Request, that response shall be by and on behalf of

   RF and will be limited to information currently available to it.




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          4.      These responses reflect RF’s present knowledge, information, and belief, and

   therefore remain subject to change or modification based on further discovery of facts or

   circumstances that may come to RF’s attention. RF reserves the right to rely on any facts,

   documents, evidence, or other contentions that may develop or come to its attention at a later

   time and to supplement or amend the responses at any time prior to the trial in this action. RF

   further reserves the right to raise any additional objections deemed necessary or appropriate in

   light of any further review.

          5.      Any response to these Requests shall be subject to the entry of an appropriate

   confidentiality order.

          6.      RF objects to the Requests to the extent that they seek information protected by

   the attorney-client privilege, the work-product doctrine, and/or any other applicable privilege,

   protection, or immunity. RF will withhold and redact certain information that is subject to such

   privileges or protections. To the extent that any inadvertent production of such information is

   made in response to the Requests, such production shall not constitute a waiver of any applicable

   privilege or protection. RF reserves the right to obtain the return of such information and

   prohibit its use in any manner, and hereby requests the return of any such inadvertently produced

   privileged information and reserves the right to object to the disclosure or use of such privileged

   information at any stage of these or any other proceedings.

          7.      RF objects to the Requests to the extent that they are redundant or duplicative of

   other specific Requests. Where information may be responsive to more than one Request, RF

   will provide that information only once.

          8.      RF objects to any factual assumptions, implications, and explicit or implicit

   characterizations of facts, events, circumstances, or issues in the Requests. RF’s responses




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   herein are not intended to mean that RF agrees with any factual assumptions, implications, or

   any explicit or implicit characterization of facts, events, circumstances, or issues in the Requests,

   and are without prejudice to RF’s right to dispute facts and legal conclusions assumed in the

   Requests.

          9.      RF makes these Responses and Objections without in any way waiving or

   intending to waive (a) any objections as to the competency, relevance, materiality, privileged

   status, or admissibility as evidence, for any purpose, of any information provided in response to

   the Requests; (b) the right to object on any ground to use of the information produced in

   response to the Requests at any hearing or trial; (c) the right to object on any ground at any time

   to a demand for further responses to the Requests; (d) the right to revise, amend, supplement, or

   clarify any of the responses and objections set forth herein; and (e) the right to move the Court

   for a protective order with respect to the Requests.

                    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          10.     RF objects to the “Instructions” and “Definitions” insofar as they incorporate

   purported facts. RF does not adopt or confirm the accuracy of any purported facts incorporated

   in any of the Instructions or Definitions.

          11.     RF objects to Instruction “B” because it purports to impose on RF obligations

   greater than those imposed by the Florida Rules of Civil Procedure and/or Florida law. To the

   extent that RF is required to respond to any Request, it will do so in a manner that complies with

   the Florida Rules of Civil Procedure and Florida law.

          12.     RF objects to Definition “A” as overbroad, unduly burdensome, and not

   reasonably calculated to lead to the discovery of admissible evidence. RF will interpret the

   defined terms to mean Roche Freedman LLP.




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          13.     RF objects to Definition “B” as vague and ambiguous to the extent that it limits

   the definition of “tokens” to assets that are “used as currency.” RF will interpret “tokens” to

   mean any digital asset.

                             SPECIFIC OBJECTIONS AND RESPONSES

          1.      Admit that Kyle Roche made the statements recorded in the videos found at

   https://cryptoleaks.info/case-no-3.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          2.      Admit that the video recorded statements found at https://cryptoleaks.info/case-

   no-3 made by Kyle Roche were true.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          3.      Admit that RF has represented Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          4.      Admit that RF owns approximately 1% of the shares in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          5.      Admit that Ava Labs is an undisclosed principal of RF.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          6.      Admit that the MOU addresses how Ava Labs tokens will be distributed between

   the partners of RF.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of




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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           7.      Admit that Kyle Roche made a deal with Gun, whereby RF would provide legal

   services in exchange for a certain percentage of the token supply.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           8.      Admit that Kyle Roche was the second person listed on the Ava Labs

   capitalization table.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           9.      Admit that Kyle Roche obtained approximately one percent of Ava Labs’ equity.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of




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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          10.     Admit that Kyle Roche obtained approximately one percent of Ava Labs’ tokens.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          11.     Admit that Kyle has used litigation as a strategic instrument to support Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          12.     Admit that RF has used litigation as a strategic instrument to support Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          13.     Admit that Ava Labs made Kyle Roche an equity partner in appreciation for his

   use of litigation to as a strategic instrument for Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          14.     Admit that your lawsuits against blockchain companies or entities has enabled

   you to see inside their operations.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          15.     Admit that you sue blockchain companies or entities to be able to see inside their

   operations.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of




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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              16.    Admit that you sue blockchain companies or entities to be able to learn their

   secrets.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              17.    Admit that you sued Emre Aksoy at Gun’s behest.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              18.    Admit that you consider Dr. Craig Wright to be Gun’s archnemesis.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          19.     Admit that you sued Dr. Craig Wright to please Gun.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          20.     Admit that you sued Dr. Craig Wright to devalue Bitcoin Satoshi Vision.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          21.     Admit that you sued Dr. Craig Wright to “take him down.”

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.




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          22.     Admit that the breach of partnership claims against Dr. Craig Wright were a mere

   pretext for a lawsuit designed to vindicate Gun’s personal vendetta.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          23.     Admit that you do not care about settling lawsuits.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          24.     Admit that you would rather win a $100 million judgment for you client and get

   good press, than settle for $500 million.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.




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              25.    Admit that you have shared with Ava Labs non-public information that you

   learned about its competitors.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              26.    Admit that you sue blockchain companies or entities to be able to learn their

   secrets.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.



                                                       Respectfully submitted,

    Dated: October 27, 2022                            /s/ Velvel (Devin) Freedman
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                                                       Florida Bar No. 99762
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                                          Freedman LLP




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                         EXHIBIT 10
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    IN THE 15TH JUDICIAL CIRCUIT,
    IN AND FOR PALM BEACH COUNTY,
    FLORIDA

    CASE NO. 50-2013-CP-005060-XXXX-NB
    PROBATE DIVISION

    IN RE: ESTATE OF DAVID KLEIMAN,

           deceased.

                                                        /


           ROCHE FREEDMAN LLP’S RESPONSES AND OBJECTIONS TO
       RAMONA WATTS’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

          Pursuant to Florida Rules of Civil Procedure 1.280, 1.350, 1.351, and 1.410, Non-Party

   Roche Freedman LLP (“RF”), by and through its undersigned counsel, hereby responds and

   objects to Ramona Watts’s First Request for the Production of Documents, dated September 27,

   2022 (the “Requests” and each a “Request”), as follows:

                                     GENERAL OBJECTIONS

          1.      RF is not a party to this action. Accordingly, pursuant to the Florida Rules of Civil

   Procedure 1.351 and 1.410, Ms. Watts was required to serve RF with a subpoena. Because Ms.

   Watts failed to do so, RF has no obligation to respond to her discovery requests.

          2.      Ms. Watts’s discovery requests seek information that is not even conceivably

   relevant. Her requests are frivolous and appear to have been made entirely for purposes of

   harassing RF and its clients. RF reserves the right to move for a protective and to seek sanctions

   against Ms. Watts and her counsel.

          3.      RF reserves the right not to produce documents to the extent that the Requests

   (including the “Definitions” and “Instructions” contained therein) (a) are overly broad, unduly

   burdensome, and/or call for information that is obtainable from some other source that is more


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   convenient, less burdensome, or less expensive; (b) are vague, ambiguous, duplicative, cumulative,

   or do not identify with reasonable particularity the information sought; (c) call for information that

   is neither relevant nor reasonably calculated to lead to the discovery of admissible evidence; (d)

   seek to impose obligations on RF beyond or inconsistent with those required by Florida law and

   the Florida Rules of Civil Procedure; (e) purport to seek documents or information not in RF’s

   actual possession, custody, or control; or (f) call for the production of publicly available documents

   or information, or documents or information to which Ms. Watts has equal or better access, and

   thus for which the burden on RF is equal to or greater than that of Ms. Watts in obtaining the

   requested documents and/or information.

              4.   To the extent RF responds to a Request, that response shall be by and on behalf of

   RF and will be limited to documents or information currently available to it. RFwill not search

   for, collect, or produce documents in the possession of RF’s advisors or attorneys or other third

   parties.

              5.   These responses reflect RF’s present knowledge, information, and belief, and

   therefore remain subject to change or modification based on further discovery of facts or

   circumstances that may come to RF’s attention. RF reserves the right to rely on any facts,

   documents, evidence, or other contentions that may develop or come to its attention at a later

   time and to supplement or amend the responses at any time prior to the trial in this action. RF

   further reserves the right to raise any additional objections deemed necessary or appropriate in

   light of any further review.

              6.   Any production in response to these Requests shall be subject to the entry of an

   appropriate confidentiality order.




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          7.      RF objects to the Requests to the extent that they seek information protected by

   the attorney-client privilege, the work-product doctrine, and/or any other applicable privilege,

   protection, or immunity. RF will withhold and redact certain information that is subject to such

   privileges or protections. To the extent that any inadvertent production of such documents or

   information is made in response to the Requests, such production shall not constitute a waiver of

   any applicable privilege or protection. RF reserves the right to obtain the return of such

   information and prohibit its use in any manner, and hereby requests the return of any such

   inadvertently produced privileged information and reserves the right to object to the disclosure or

   use of such privileged information at any stage of these or any other proceedings.

          8.      RF objects to any Request seeking “all” documents or “all” communications

   containing, referring, or relating to any of the specific Requests on the grounds that to search for

   and produce such documents would impose undue burden and RF cannot ensure that it has

   located each and every document or communication responsive to a particular Request.

          9.      RF reserves the right to produce documents responsive to the Requests on a

   rolling basis at a time, place, and manner to be agreed on by the parties.

          10.     RF objects to the Requests to the extent that they are redundant or duplicative of

   other specific Requests. Where information or a document may be responsive to more than one

   Request, RF will provide that information or produce that document only once.

          11.     RF’s assertion that it will produce documents in response to a particular Request

   is not to be construed as an admission that any document exists within any requested category or

   categories but solely as an assertion that RF will produce (consistent with these responses and

   objections) any non-privileged, responsive documents or information within its actual




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   possession, custody, or control that can be located after a reasonable search conducted in good

   faith.

            12.   RF objects to any factual assumptions, implications, and explicit or implicit

   characterizations of facts, events, circumstances, or issues in the Requests. RF’s responses

   herein are not intended to mean that RF agrees with any factual assumptions, implications, or

   any explicit or implicit characterization of facts, events, circumstances, or issues in the Requests,

   and are without prejudice to RF’s right to dispute facts and legal conclusions assumed in the

   Requests.

            13.   RF makes these Responses and Objections without in any way waiving or

   intending to waive (a) any objections as to the competency, relevance, materiality, privileged

   status, or admissibility as evidence, for any purpose, of any information provided in response to

   the Requests; (b) the right to object on any ground to use of the documents produced in response

   to the Requests at any hearing or trial; (c) the right to object on any ground at any time to a

   demand for further responses to the Requests; (d) the right to revise, amend, supplement, or

   clarify any of the responses and objections set forth herein; and (e) the right to move the Court

   for a protective order with respect to the Requests.

                    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

            14.   RF objects to the “Instructions” and “Definitions” insofar as they incorporate

   purported facts. RF does not adopt or confirm the accuracy of any purported facts incorporated

   in any of the Instructions or Definitions.

            15.   RF objects to Instructions 1, 2, and 6, because they purport to impose on RF

   obligations greater than those imposed by the Florida Rules of Civil Procedure and/or Florida




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   law. To the extent that RF is required to produce any responsive documents, it will do so in a

   manner that complies with the Florida Rules of Civil Procedure and Florida law.

          16.     RF objects to Instruction 4 because it purports to impose obligations greater than

   those imposed by the Florida Rules of Civil Procedure and/or Florida law. To the extent that RF

   is required to produce any responsive documents, it will produce a privilege log consistent with

   its obligations under Florida law and the Florida Rules of Civil Procedure.

          17.     RF objects to Definition “A” as overbroad and unduly burdensome. RF will

   construe the term “document” in accordance with Florida Rule of Civil Procedure 1.350(a) to

   mean “electronically stored information, writings, drawings, graphs, charts, photographs, audio,

   visual, and audiovisual recordings, and other data compilations from which information can be

   obtained.”

          18.     RF objects to Definition “G” as overbroad, unduly burdensome, and not

   reasonably calculated to lead to the discovery of admissible evidence. RF will interpret the

   defined terms to mean Roche Freedman LLP.

                           SPECIFIC OBJECTIONS AND RESPONSES

          1.      All documents related to RF’s ownership interest in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          2.      All documents related to RF’s ownership interest in Ava Labs’ tokens.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          3.      All documents related to the MOU.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          4.      All documents related to RF’s engagement agreement with Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          5.      All documents related to Kyle Roche’s ownership interest in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          6.      All documents related to RF’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          7.      All documents related to Kyle Roche’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          8.      All documents related to Gun’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          9.       All documents related to Sekniqi’s ownership interest in RF.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          10.      All documents related to “shared workspaces” between or among RF, Ava Labs,

   or Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          11.      All documents related to any lease executed by RF for the “shared workspace”

   referred to in Request 10.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          12.      All documents related to any lease executed by the Ava Labs for the “shared

   workspace” referred to in Request 10.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          13.      All documents related to “academic writings” in your possession authored by

   either you, Gun, or both.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          14.      All documents related to Ava Labs’ capitalization tables on which Kyle Roche’s

   name appears.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of




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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          15.     All documents related to Ava Labs capitalization tables on which any member of

   RF appears.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          16.     All documents related to RF’s use of straw plaintiffs to bring actions on behalf of

   Ava Labs in which Ava Labs did not appear.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          17.     All documents related to RF’s communications with the Securities and Exchange

   Commission in which you attempted to direct regulator attention toward an Ava Labs’

   competitor.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          18.     All documents related to RF’s communications with the Commodities Futures

   Trading Commission in which you attempted to direct regulator attention toward an Ava Labs’

   competitor.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          19.     All documents related to Kyle Roche’s residence in Florida for tax purposes.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.




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                                          Respectfully submitted,

    Dated: October 27, 2022               /s/ Velvel (Devin) Freedman
                                          Velvel (Devin) Freedman, Esq.
                                          Florida Bar No. 99762
                                          FREEDMAN NORMAND
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                                          Freedman LLP




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                                                        IN THE CIRCUIT COURT FOR THE
                                                        15TH JUDICIAL CIRCUIT IN AND FOR
                                                        PALM BEACH COUNTY, FLORIDA

    Ramona Watts,                                       CASE NO: 50-2022-CA-005501-XXXX-MB

           Plaintiff,

    v.

    W&K Info Defense Research LLC,

           Defendant.

                                                        /


             ROCHE FREEDMAN LLP’S RESPONSES AND OBJECTIONS TO
         RAMONA WATTS’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

          Pursuant to Florida Rules of Civil Procedure 1.280, 1.350, 1.351, and 1.410, Non-Party

   Roche Freedman LLP (“RF”), by and through its undersigned counsel, hereby responds and

   objects to Ramona Watts’s First Request for the Production of Documents, dated September 27,

   2022 (the “Requests” and each a “Request”), as follows:

                                     GENERAL OBJECTIONS

          1.      RF is not a party to this action. Accordingly, pursuant to the Florida Rules of Civil

   Procedure 1.351 and 1.410, Ms. Watts was required to serve RF with a subpoena. Because Ms.

   Watts failed to do so, RF has no obligation to respond to her discovery requests.

          2.      Ms. Watts’s discovery requests seek information that is not even conceivably

   relevant. Her requests are frivolous and appear to have been made entirely for purposes of

   harassing RF and its clients. RF reserves the right to move for a protective and to seek sanctions

   against Ms. Watts and her counsel.




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              3.   RF reserves the right not to produce documents to the extent that the Requests

   (including the “Definitions” and “Instructions” contained therein) (a) are overly broad, unduly

   burdensome, and/or call for information that is obtainable from some other source that is more

   convenient, less burdensome, or less expensive; (b) are vague, ambiguous, duplicative, cumulative,

   or do not identify with reasonable particularity the information sought; (c) call for information that

   is neither relevant nor reasonably calculated to lead to the discovery of admissible evidence; (d)

   seek to impose obligations on RF beyond or inconsistent with those required by Florida law and

   the Florida Rules of Civil Procedure; (e) purport to seek documents or information not in RF’s

   actual possession, custody, or control; or (f) call for the production of publicly available documents

   or information, or documents or information to which Ms. Watts has equal or better access, and

   thus for which the burden on RF is equal to or greater than that of Ms. Watts in obtaining the

   requested documents and/or information.

              4.   To the extent RF responds to a Request, that response shall be by and on behalf of

   RF and will be limited to documents or information currently available to it. RFwill not search

   for, collect, or produce documents in the possession of RF’s advisors or attorneys or other third

   parties.

              5.   These responses reflect RF’s present knowledge, information, and belief, and

   therefore remain subject to change or modification based on further discovery of facts or

   circumstances that may come to RF’s attention. RF reserves the right to rely on any facts,

   documents, evidence, or other contentions that may develop or come to its attention at a later

   time and to supplement or amend the responses at any time prior to the trial in this action. RF

   further reserves the right to raise any additional objections deemed necessary or appropriate in

   light of any further review.




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          6.      Any production in response to these Requests shall be subject to the entry of an

   appropriate confidentiality order.

          7.      RF objects to the Requests to the extent that they seek information protected by

   the attorney-client privilege, the work-product doctrine, and/or any other applicable privilege,

   protection, or immunity. RF will withhold and redact certain information that is subject to such

   privileges or protections. To the extent that any inadvertent production of such documents or

   information is made in response to the Requests, such production shall not constitute a waiver of

   any applicable privilege or protection. RF reserves the right to obtain the return of such

   information and prohibit its use in any manner, and hereby requests the return of any such

   inadvertently produced privileged information and reserves the right to object to the disclosure or

   use of such privileged information at any stage of these or any other proceedings.

          8.      RF objects to any Request seeking “all” documents or “all” communications

   containing, referring, or relating to any of the specific Requests on the grounds that to search for

   and produce such documents would impose undue burden and RF cannot ensure that it has

   located each and every document or communication responsive to a particular Request.

          9.      RF reserves the right to produce documents responsive to the Requests on a

   rolling basis at a time, place, and manner to be agreed on by the parties.

          10.     RF objects to the Requests to the extent that they are redundant or duplicative of

   other specific Requests. Where information or a document may be responsive to more than one

   Request, RF will provide that information or produce that document only once.

          11.     RF’s assertion that it will produce documents in response to a particular Request

   is not to be construed as an admission that any document exists within any requested category or

   categories but solely as an assertion that RF will produce (consistent with these responses and




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   objections) any non-privileged, responsive documents or information within its actual

   possession, custody, or control that can be located after a reasonable search conducted in good

   faith.

            12.   RF objects to any factual assumptions, implications, and explicit or implicit

   characterizations of facts, events, circumstances, or issues in the Requests. RF’s responses

   herein are not intended to mean that RF agrees with any factual assumptions, implications, or

   any explicit or implicit characterization of facts, events, circumstances, or issues in the Requests,

   and are without prejudice to RF’s right to dispute facts and legal conclusions assumed in the

   Requests.

            13.   RF makes these Responses and Objections without in any way waiving or

   intending to waive (a) any objections as to the competency, relevance, materiality, privileged

   status, or admissibility as evidence, for any purpose, of any information provided in response to

   the Requests; (b) the right to object on any ground to use of the documents produced in response

   to the Requests at any hearing or trial; (c) the right to object on any ground at any time to a

   demand for further responses to the Requests; (d) the right to revise, amend, supplement, or

   clarify any of the responses and objections set forth herein; and (e) the right to move the Court

   for a protective order with respect to the Requests.

                    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

            14.   RF objects to the “Instructions” and “Definitions” insofar as they incorporate

   purported facts. RF does not adopt or confirm the accuracy of any purported facts incorporated

   in any of the Instructions or Definitions.

            15.   RF objects to Instructions 1, 2, and 6, because they purport to impose on RF

   obligations greater than those imposed by the Florida Rules of Civil Procedure and/or Florida




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   law. To the extent that RF is required to produce any responsive documents, it will do so in a

   manner that complies with the Florida Rules of Civil Procedure and Florida law.

          16.     RF objects to Instruction 4 because it purports to impose obligations greater than

   those imposed by the Florida Rules of Civil Procedure and/or Florida law. To the extent that RF

   is required to produce any responsive documents, it will produce a privilege log consistent with

   its obligations under Florida law and the Florida Rules of Civil Procedure.

          17.     RF objects to Definition “A” as overbroad and unduly burdensome. RF will

   construe the term “document” in accordance with Florida Rule of Civil Procedure 1.350(a) to

   mean “electronically stored information, writings, drawings, graphs, charts, photographs, audio,

   visual, and audiovisual recordings, and other data compilations from which information can be

   obtained.”

          18.     RF objects to Definition “G” as overbroad, unduly burdensome, and not

   reasonably calculated to lead to the discovery of admissible evidence. RF will interpret the

   defined terms to mean Roche Freedman LLP.

                           SPECIFIC OBJECTIONS AND RESPONSES

          1.      All documents related to RF’s ownership interest in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          2.      All documents related to RF’s ownership interest in Ava Labs’ tokens.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          3.      All documents related to the MOU.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          4.      All documents related to RF’s engagement agreement with Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          5.      All documents related to Kyle Roche’s ownership interest in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          6.      All documents related to RF’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          7.      All documents related to Kyle Roche’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          8.      All documents related to Gun’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          9.       All documents related to Sekniqi’s ownership interest in RF.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          10.      All documents related to “shared workspaces” between or among RF, Ava Labs,

   or Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          11.      All documents related to any lease executed by RF for the “shared workspace”

   referred to in Request 10.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

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   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          12.      All documents related to any lease executed by the Ava Labs for the “shared

   workspace” referred to in Request 10.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

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          13.      All documents related to “academic writings” in your possession authored by

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   on the grounds that the information sought is not “relevant to the subject matter of the pending

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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

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   Request.

          15.     All documents related to Ava Labs capitalization tables on which any member of

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   Request.

          16.     All documents related to RF’s use of straw plaintiffs to bring actions on behalf of

   Ava Labs in which Ava Labs did not appear.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          17.     All documents related to RF’s communications with the Securities and Exchange

   Commission in which you attempted to direct regulator attention toward an Ava Labs’

   competitor.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

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          18.     All documents related to RF’s communications with the Commodities Futures

   Trading Commission in which you attempted to direct regulator attention toward an Ava Labs’

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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

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          19.     All documents related to Kyle Roche’s residence in Florida for tax purposes.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.




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                                          Respectfully submitted,

    Dated: October 27, 2022               /s/ Velvel (Devin) Freedman
                                          Velvel (Devin) Freedman, Esq.
                                          Florida Bar No. 99762
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                                          Counsel to Defendant and Non-Party Roche
                                          Freedman LLP




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                                                       IN THE CIRCUIT COURT FOR THE
                                                       15TH JUDICIAL CIRCUIT IN AND FOR
                                                       PALM BEACH COUNTY, FLORIDA

    Ramona Watts,                                      CASE NO: 50-2022-CA-005501-XXXX-MB

           Plaintiff,

    v.

    W&K Info Defense Research LLC,

           Defendant.

                                                       /


               ROCHE FREEDMAN LLP’S RESPONSES AND OBJECTIONS TO
                 RAMONA WATTS’S FIRST REQUEST FOR ADMISSIONS

          Pursuant to Florida Rules of Civil Procedure 1.280, 1.370, and 1.410, Non-Party Roche

   Freedman LLP (n/k/a Freedman Normand Friedland LLP) (“RF”), by and through its undersigned

   counsel, hereby responds and objects to Ramona Watts’s First Request for Admissions dated

   September 27, 2022 (the “Requests” and each a “Request”), as follows:

                                     GENERAL OBJECTIONS

          1.      RF is not a party to this action and therefore has no obligation under the Florida

   Rules of Civil Procedure or under Florida law to respond to requests for admission served pursuant

   to Florida Rule of Civil Procedure 1.370.

          2.      Ms. Watts’s discovery requests seek information that is not even conceivably

   relevant. Her requests are frivolous and appear to have been made entirely for purposes of

   harassing RF and its clients. RF reserves the right to move for a protective and to seek sanctions

   against Ms. Watts and her counsel.




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          3.      To the extent RF responds to a Request, that response shall be by and on behalf of

   RF and will be limited to information currently available to it.

          4.      These responses reflect RF’s present knowledge, information, and belief, and

   therefore remain subject to change or modification based on further discovery of facts or

   circumstances that may come to RF’s attention. RF reserves the right to rely on any facts,

   documents, evidence, or other contentions that may develop or come to its attention at a later

   time and to supplement or amend the responses at any time prior to the trial in this action. RF

   further reserves the right to raise any additional objections deemed necessary or appropriate in

   light of any further review.

          5.      Any response to these Requests shall be subject to the entry of an appropriate

   confidentiality order.

          6.      RF objects to the Requests to the extent that they seek information protected by

   the attorney-client privilege, the work-product doctrine, and/or any other applicable privilege,

   protection, or immunity. RF will withhold and redact certain information that is subject to such

   privileges or protections. To the extent that any inadvertent production of such information is

   made in response to the Requests, such production shall not constitute a waiver of any applicable

   privilege or protection. RF reserves the right to obtain the return of such information and

   prohibit its use in any manner, and hereby requests the return of any such inadvertently produced

   privileged information and reserves the right to object to the disclosure or use of such privileged

   information at any stage of these or any other proceedings.

          7.      RF objects to the Requests to the extent that they are redundant or duplicative of

   other specific Requests. Where information may be responsive to more than one Request, RF

   will provide that information only once.




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          8.      RF objects to any factual assumptions, implications, and explicit or implicit

   characterizations of facts, events, circumstances, or issues in the Requests. RF’s responses

   herein are not intended to mean that RF agrees with any factual assumptions, implications, or

   any explicit or implicit characterization of facts, events, circumstances, or issues in the Requests,

   and are without prejudice to RF’s right to dispute facts and legal conclusions assumed in the

   Requests.

          9.      RF makes these Responses and Objections without in any way waiving or

   intending to waive (a) any objections as to the competency, relevance, materiality, privileged

   status, or admissibility as evidence, for any purpose, of any information provided in response to

   the Requests; (b) the right to object on any ground to use of the information produced in

   response to the Requests at any hearing or trial; (c) the right to object on any ground at any time

   to a demand for further responses to the Requests; (d) the right to revise, amend, supplement, or

   clarify any of the responses and objections set forth herein; and (e) the right to move the Court

   for a protective order with respect to the Requests.

                    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          10.     RF objects to the “Instructions” and “Definitions” insofar as they incorporate

   purported facts. RF does not adopt or confirm the accuracy of any purported facts incorporated

   in any of the Instructions or Definitions.

          11.     RF objects to Instruction “B” because it purports to impose on RF obligations

   greater than those imposed by the Florida Rules of Civil Procedure and/or Florida law. To the

   extent that RF is required to respond to any Request, it will do so in a manner that complies with

   the Florida Rules of Civil Procedure and Florida law.




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          12.     RF objects to Definition “A” as overbroad, unduly burdensome, and not

   reasonably calculated to lead to the discovery of admissible evidence. RF will interpret the

   defined terms to mean Roche Freedman LLP.

          13.     RF objects to Definition “B” as vague and ambiguous to the extent that it limits

   the definition of “tokens” to assets that are “used as currency.” RF will interpret “tokens” to

   mean any digital asset.

                             SPECIFIC OBJECTIONS AND RESPONSES

          1.      Admit that Kyle Roche made the statements recorded in the videos found at

   https://cryptoleaks.info/case-no-3.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          2.      Admit that the video recorded statements found at https://cryptoleaks.info/case-

   no-3 made by Kyle Roche were true.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.




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          3.      Admit that RF has represented Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          4.      Admit that RF owns approximately 1% of the shares in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          5.      Admit that Ava Labs is an undisclosed principal of RF.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          6.      Admit that the MOU addresses how Ava Labs tokens will be distributed between

   the partners of RF.




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           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           7.      Admit that Kyle Roche made a deal with Gun, whereby RF would provide legal

   services in exchange for a certain percentage of the token supply.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           8.      Admit that Kyle Roche was the second person listed on the Ava Labs

   capitalization table.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           9.      Admit that Kyle Roche obtained approximately one percent of Ava Labs’ equity.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          10.     Admit that Kyle Roche obtained approximately one percent of Ava Labs’ tokens.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          11.     Admit that Kyle has used litigation as a strategic instrument to support Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          12.     Admit that RF has used litigation as a strategic instrument to support Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          13.     Admit that Ava Labs made Kyle Roche an equity partner in appreciation for his

   use of litigation to as a strategic instrument for Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          14.     Admit that your lawsuits against blockchain companies or entities has enabled

   you to see inside their operations.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          15.     Admit that you sue blockchain companies or entities to be able to see inside their

   operations.




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              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              16.    Admit that you sue blockchain companies or entities to be able to learn their

   secrets.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              17.    Admit that you sued Emre Aksoy at Gun’s behest.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              18.    Admit that you consider Dr. Craig Wright to be Gun’s archnemesis.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          19.     Admit that you sued Dr. Craig Wright to please Gun.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          20.     Admit that you sued Dr. Craig Wright to devalue Bitcoin Satoshi Vision.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          21.     Admit that you sued Dr. Craig Wright to “take him down.”

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          22.     Admit that the breach of partnership claims against Dr. Craig Wright were a mere

   pretext for a lawsuit designed to vindicate Gun’s personal vendetta.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          23.     Admit that you do not care about settling lawsuits.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          24.     Admit that you would rather win a $100 million judgment for you client and get

   good press, than settle for $500 million.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              25.    Admit that you have shared with Ava Labs non-public information that you

   learned about its competitors.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              26.    Admit that you sue blockchain companies or entities to be able to learn their

   secrets.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.



                                                       Respectfully submitted,

    Dated: October 27, 2022                            /s/ Velvel (Devin) Freedman
                                                       Velvel (Devin) Freedman, Esq.



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                         EXHIBIT 13
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                                                        IN THE CIRCUIT COURT FOR THE
                                                        15TH JUDICIAL CIRCUIT IN AND FOR
                                                        PALM BEACH COUNTY, FLORIDA

    RAMONA ANG, as Trustee of the Tulip                 CASE NO: 50-2021-CA-004758-XXXX-MB
    Trust,

           Plaintiff,

    v.

    IRA KLEIMAN, as Personal Representative
    of the Estate of David Kleiman,

           Defendant,

    and

    W&K INFO DEFENSE RESEARCH, LLC,
    and LYNN WRIGHT,
                                                        /
           Nominal Defendants.



             ROCHE FREEDMAN LLP’S RESPONSES AND OBJECTIONS TO
          TULIP TRUST’S FIRST REQUEST FOR PRODUCTION OF DOCUMENTS

          Pursuant to Florida Rules of Civil Procedure 1.280, 1.350, 1.351, and 1.410, Non-Party

   Roche Freedman LLP (“RF”), by and through its undersigned counsel, hereby responds and

   objects to Tulip Trust’s First Request for the Production of Documents, dated September 14, 2022

   (the “Requests” and each a “Request”), as follows:

                                     GENERAL OBJECTIONS

          1.      RF is not a party to this action. Accordingly, pursuant to the Florida Rules of Civil

   Procedure 1.351 and 1.410, Ms. Ang was required to serve RF with a subpoena. Because Ms. Ang

   failed to do so, RF has no obligation to respond to her discovery requests.




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              2.   Ms. Ang’s discovery requests seek information that is not even conceivably

   relevant. Her requests are frivolous and appear to have been made entirely for purposes of

   harassing RF and its clients. RF reserves the right to move for a protective and to seek sanctions

   against Ms. Ang and her counsel.

              3.   RF reserves the right not to produce documents to the extent that the Requests

   (including the “Definitions” and “Instructions” contained therein) (a) are overly broad, unduly

   burdensome, and/or call for information that is obtainable from some other source that is more

   convenient, less burdensome, or less expensive; (b) are vague, ambiguous, duplicative, cumulative,

   or do not identify with reasonable particularity the information sought; (c) call for information that

   is neither relevant nor reasonably calculated to lead to the discovery of admissible evidence; (d)

   seek to impose obligations on RF beyond or inconsistent with those required by Florida law and

   the Florida Rules of Civil Procedure; (e) purport to seek documents or information not in RF’s

   actual possession, custody, or control; or (f) call for the production of publicly available documents

   or information, or documents or information to which Ms. Ang has equal or better access, and thus

   for which the burden on RF is equal to or greater than that of Ms. Ang in obtaining the requested

   documents and/or information.

              4.   To the extent RF responds to a Request, that response shall be by and on behalf of

   RF and will be limited to documents or information currently available to it. RFwill not search

   for, collect, or produce documents in the possession of RF’s advisors or attorneys or other third

   parties.

              5.   These responses reflect RF’s present knowledge, information, and belief, and

   therefore remain subject to change or modification based on further discovery of facts or

   circumstances that may come to RF’s attention. RF reserves the right to rely on any facts,




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   documents, evidence, or other contentions that may develop or come to its attention at a later

   time and to supplement or amend the responses at any time prior to the trial in this action. RF

   further reserves the right to raise any additional objections deemed necessary or appropriate in

   light of any further review.

          6.      Any production in response to these Requests shall be subject to the entry of an

   appropriate confidentiality order.

          7.      RF objects to the Requests to the extent that they seek information protected by

   the attorney-client privilege, the work-product doctrine, and/or any other applicable privilege,

   protection, or immunity. RF will withhold and redact certain information that is subject to such

   privileges or protections. To the extent that any inadvertent production of such documents or

   information is made in response to the Requests, such production shall not constitute a waiver of

   any applicable privilege or protection. RF reserves the right to obtain the return of such

   information and prohibit its use in any manner, and hereby requests the return of any such

   inadvertently produced privileged information and reserves the right to object to the disclosure or

   use of such privileged information at any stage of these or any other proceedings.

          8.      RF objects to any Request seeking “all” documents or “all” communications

   containing, referring, or relating to any of the specific Requests on the grounds that to search for

   and produce such documents would impose undue burden and RF cannot ensure that it has

   located each and every document or communication responsive to a particular Request.

          9.      RF reserves the right to produce documents responsive to the Requests on a

   rolling basis at a time, place, and manner to be agreed on by the parties.




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            10.   RF objects to the Requests to the extent that they are redundant or duplicative of

   other specific Requests. Where information or a document may be responsive to more than one

   Request, RF will provide that information or produce that document only once.

            11.   RF’s assertion that it will produce documents in response to a particular Request

   is not to be construed as an admission that any document exists within any requested category or

   categories but solely as an assertion that RF will produce (consistent with these responses and

   objections) any non-privileged, responsive documents or information within its actual

   possession, custody, or control that can be located after a reasonable search conducted in good

   faith.

            12.   RF objects to any factual assumptions, implications, and explicit or implicit

   characterizations of facts, events, circumstances, or issues in the Requests. RF’s responses

   herein are not intended to mean that RF agrees with any factual assumptions, implications, or

   any explicit or implicit characterization of facts, events, circumstances, or issues in the Requests,

   and are without prejudice to RF’s right to dispute facts and legal conclusions assumed in the

   Requests.

            13.   RF makes these Responses and Objections without in any way waiving or

   intending to waive (a) any objections as to the competency, relevance, materiality, privileged

   status, or admissibility as evidence, for any purpose, of any information provided in response to

   the Requests; (b) the right to object on any ground to use of the documents produced in response

   to the Requests at any hearing or trial; (c) the right to object on any ground at any time to a

   demand for further responses to the Requests; (d) the right to revise, amend, supplement, or

   clarify any of the responses and objections set forth herein; and (e) the right to move the Court

   for a protective order with respect to the Requests.




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                    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          14.     RF objects to the “Instructions” and “Definitions” insofar as they incorporate

   purported facts. RF does not adopt or confirm the accuracy of any purported facts incorporated

   in any of the Instructions or Definitions.

          15.     RF objects to Instructions 1, 2, and 6, because they purport to impose on RF

   obligations greater than those imposed by the Florida Rules of Civil Procedure and/or Florida

   law. To the extent that RF is required to produce any responsive documents, it will do so in a

   manner that complies with the Florida Rules of Civil Procedure and Florida law.

          16.     RF objects to Instruction 4 because it purports to impose obligations greater than

   those imposed by the Florida Rules of Civil Procedure and/or Florida law. To the extent that RF

   is required to produce any responsive documents, it will produce a privilege log consistent with

   its obligations under Florida law and the Florida Rules of Civil Procedure.

          17.     RF objects to Definition “A” as overbroad and unduly burdensome. RF will

   construe the term “document” in accordance with Florida Rule of Civil Procedure 1.350(a) to

   mean “electronically stored information, writings, drawings, graphs, charts, photographs, audio,

   visual, and audiovisual recordings, and other data compilations from which information can be

   obtained.”

          18.     RF objects to Definition “G” as overbroad, unduly burdensome, and not

   reasonably calculated to lead to the discovery of admissible evidence. RF will interpret the

   defined terms to mean Roche Freedman LLP.

                           SPECIFIC OBJECTIONS AND RESPONSES

          1.      All documents related to RF’s ownership interest in Ava Labs.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          2.      All documents related to RF’s ownership interest in Ava Labs’ tokens.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          3.      All documents related to the MOU.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          4.      All documents related to RF’s engagement agreement with Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          5.      All documents related to Kyle Roche’s ownership interest in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          6.      All documents related to RF’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          7.      All documents related to Kyle Roche’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          8.       All documents related to Gun’s ownership interest in Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          9.       All documents related to Sekniqi’s ownership interest in RF.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          10.      All documents related to “shared workspaces” between or among RF, Ava Labs,

   or Avalanche.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          11.     All documents related to any lease executed by RF for the “shared workspace”

   referred to in Request 10.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          12.     All documents related to any lease executed by the Ava Labs for the “shared

   workspace” referred to in Request 10.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          13.     All documents related to “academic writings” in your possession authored by

   either you, Gun, or both.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of




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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          14.      All documents related to Ava Labs’ capitalization tables on which Kyle Roche’s

   name appears.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          15.      All documents related to Ava Labs capitalization tables on which any member of

   RF appears.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          16.      All documents related to RF’s use of straw plaintiffs to bring actions on behalf of

   Ava Labs in which Ava Labs did not appear.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          17.     All documents related to RF’s communications with the Securities and Exchange

   Commission in which you attempted to direct regulator attention toward an Ava Labs’

   competitor.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          18.     All documents related to RF’s communications with the Commodities Futures

   Trading Commission in which you attempted to direct regulator attention toward an Ava Labs’

   competitor.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.

          19.     All documents related to Kyle Roche’s residence in Florida for tax purposes.




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          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not produce any documents in response to this

   Request.



    Dated: October 14, 2022                          Respectfully submitted,

                                                     /s/ Velvel (Devin) Freedman
                                                     Velvel (Devin) Freedman, Esq.
                                                     Florida Bar No. 99762
                                                     ROCHE FREEDMAN LLP
                                                     1 SE 3rd Ave., Suite 1240
                                                     Miami, Florida 33131
                                                     Telephone: (786) 924-2900
                                                     vel@rochefreedman.com

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                                                     ROCHE FREEDMAN LLP
                                                     99 Park Avenue, Suite 1910
                                                     New York, NY 10016
                                                     slagos@rochefreedman.com

                                                     Counsel to Defendant and Non-Party Roche
                                                     Freedman LLP




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                         EXHIBIT 14
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                                                       IN THE CIRCUIT COURT FOR THE
                                                       15TH JUDICIAL CIRCUIT IN AND FOR
                                                       PALM BEACH COUNTY, FLORIDA

    RAMONA ANG, as Trustee of the Tulip                CASE NO: 50-2021-CA-004758-XXXX-MB
    Trust,

           Plaintiff,

    v.

    IRA KLEIMAN, as Personal Representative
    of the Estate of David Kleiman,

           Defendant,

    and

    W&K INFO DEFENSE RESEARCH, LLC,
    and LYNN WRIGHT,
                                                       /
           Nominal Defendants.



               ROCHE FREEDMAN LLP’S RESPONSES AND OBJECTIONS TO
                  TULIP TRUST’S FIRST REQUEST FOR ADMISSIONS

          Pursuant to Florida Rules of Civil Procedure 1.280, 1.370, and 1.410, Non-Party Roche

   Freedman LLP (“RF”), by and through its undersigned counsel, hereby responds and objects to

   Tulip Trust’s First Request for Admissions dated September 14, 2022 (the “Requests” and each a

   “Request”), as follows:

                                     GENERAL OBJECTIONS

          1.      RF is not a party to this action and therefore has no obligation under the Florida

   Rules of Civil Procedure or under Florida law to respond to requests for admission served pursuant

   to Florida Rule of Civil Procedure 1.370.




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          2.      Ms. Ang’s discovery requests seek information that is not even conceivably

   relevant. Her requests are frivolous and appear to have been made entirely for purposes of

   harassing RF and its clients. RF reserves the right to move for a protective and to seek sanctions

   against Ms. Ang and her counsel.

          3.      To the extent RF responds to a Request, that response shall be by and on behalf of

   RF and will be limited to information currently available to it.

          4.      These responses reflect RF’s present knowledge, information, and belief, and

   therefore remain subject to change or modification based on further discovery of facts or

   circumstances that may come to RF’s attention. RF reserves the right to rely on any facts,

   documents, evidence, or other contentions that may develop or come to its attention at a later

   time and to supplement or amend the responses at any time prior to the trial in this action. RF

   further reserves the right to raise any additional objections deemed necessary or appropriate in

   light of any further review.

          5.      Any response to these Requests shall be subject to the entry of an appropriate

   confidentiality order.

          6.      RF objects to the Requests to the extent that they seek information protected by

   the attorney-client privilege, the work-product doctrine, and/or any other applicable privilege,

   protection, or immunity. RF will withhold and redact certain information that is subject to such

   privileges or protections. To the extent that any inadvertent production of such information is

   made in response to the Requests, such production shall not constitute a waiver of any applicable

   privilege or protection. RF reserves the right to obtain the return of such information and

   prohibit its use in any manner, and hereby requests the return of any such inadvertently produced




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   privileged information and reserves the right to object to the disclosure or use of such privileged

   information at any stage of these or any other proceedings.

          7.      RF objects to the Requests to the extent that they are redundant or duplicative of

   other specific Requests. Where information may be responsive to more than one Request, RF

   will provide that information only once.

          8.      RF objects to any factual assumptions, implications, and explicit or implicit

   characterizations of facts, events, circumstances, or issues in the Requests. RF’s responses

   herein are not intended to mean that RF agrees with any factual assumptions, implications, or

   any explicit or implicit characterization of facts, events, circumstances, or issues in the Requests,

   and are without prejudice to RF’s right to dispute facts and legal conclusions assumed in the

   Requests.

          9.      RF makes these Responses and Objections without in any way waiving or

   intending to waive (a) any objections as to the competency, relevance, materiality, privileged

   status, or admissibility as evidence, for any purpose, of any information provided in response to

   the Requests; (b) the right to object on any ground to use of the information produced in

   response to the Requests at any hearing or trial; (c) the right to object on any ground at any time

   to a demand for further responses to the Requests; (d) the right to revise, amend, supplement, or

   clarify any of the responses and objections set forth herein; and (e) the right to move the Court

   for a protective order with respect to the Requests.

                    OBJECTIONS TO INSTRUCTIONS AND DEFINITIONS

          10.     RF objects to the “Instructions” and “Definitions” insofar as they incorporate

   purported facts. RF does not adopt or confirm the accuracy of any purported facts incorporated

   in any of the Instructions or Definitions.




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          11.     RF objects to Instruction “B” because it purports to impose on RF obligations

   greater than those imposed by the Florida Rules of Civil Procedure and/or Florida law. To the

   extent that RF is required to respond to any Request, it will do so in a manner that complies with

   the Florida Rules of Civil Procedure and Florida law.

          12.     RF objects to Definition “A” as overbroad, unduly burdensome, and not

   reasonably calculated to lead to the discovery of admissible evidence. RF will interpret the

   defined terms to mean Roche Freedman LLP.

          13.     RF objects to Definition “B” as vague and ambiguous to the extent that it limits

   the definition of “tokens” to assets that are “used as currency.” RF will interpret “tokens” to

   mean any digital asset.

                             SPECIFIC OBJECTIONS AND RESPONSES

          1.      Admit that Kyle Roche made the statements recorded in the videos found at

   https://cryptoleaks.info/case-no-3.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          2.      Admit that the video recorded statements found at https://cryptoleaks.info/case-

   no-3 made by Kyle Roche were true.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending




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   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          3.      Admit that RF has represented Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          4.      Admit that RF owns approximately 1% of the shares in Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          5.      Admit that Ava Labs is an undisclosed principal of RF.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           6.      Admit that the MOU addresses how Ava Labs tokens will be distributed between

   the partners of RF.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           7.      Admit that Kyle Roche made a deal with Gun, whereby RF would provide legal

   services in exchange for a certain percentage of the token supply.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

           8.      Admit that Kyle Roche was the second person listed on the Ava Labs

   capitalization table.

           RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of




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   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          9.      Admit that Kyle Roche obtained approximately one percent of Ava Labs’ equity.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          10.     Admit that Kyle Roche obtained approximately one percent of Ava Labs’ tokens.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          11.     Admit that Kyle has used litigation as a strategic instrument to support Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          12.     Admit that RF has used litigation as a strategic instrument to support Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          13.     Admit that Ava Labs made Kyle Roche an equity partner in appreciation for his

   use of litigation to as a strategic instrument for Ava Labs.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          14.     Admit that your lawsuits against blockchain companies or entities has enabled

   you to see inside their operations.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              15.    Admit that you sue blockchain companies or entities to be able to see inside their

   operations.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              16.    Admit that you sue blockchain companies or entities to be able to learn their

   secrets.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              17.    Admit that you sued Emre Aksoy at Gun’s behest.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          18.     Admit that you consider Dr. Craig Wright to be Gun’s archnemesis.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          19.     Admit that you sued Dr. Craig Wright to please Gun.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          20.     Admit that you sued Dr. Craig Wright to devalue Bitcoin Satoshi Vision.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.




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          21.     Admit that you sued Dr. Craig Wright to “take him down.”

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          22.     Admit that the breach of partnership claims against Dr. Craig Wright were a mere

   pretext for a lawsuit designed to vindicate Gun’s personal vendetta.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

          23.     Admit that you do not care about settling lawsuits.

          RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.




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              24.    Admit that you would rather win a $100 million judgment for you client and get

   good press, than settle for $500 million.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              25.    Admit that you have shared with Ava Labs non-public information that you

   learned about its competitors.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes

   harassment. Absent a court order, RF will not provide any information in response to this

   Request.

              26.    Admit that you sue blockchain companies or entities to be able to learn their

   secrets.

              RESPONSE: In addition to the foregoing General Objections, RF objects to this Request

   on the grounds that the information sought is not “relevant to the subject matter of the pending

   action” and is therefore outside the scope of permissible discovery set forth in Florida Rule of

   Civil Procedure 1.280(b). RF further objects to this Request on the grounds that it constitutes




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   harassment. Absent a court order, RF will not provide any information in response to this

   Request.



    Dated: October 14, 2022                         Respectfully submitted,

                                                    /s/ Velvel (Devin) Freedman
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                         EXHIBIT 15
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                         EXHIBIT 16
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                         EXHIBIT 17
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                         EXHIBIT 18
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                                                         IN THE CIRCUIT COURT FOR THE 15TH
                                                         JUDICIAL CIRCUIT IN AND FOR PALM
                                                         BEACH COUNTY, FLORIDA

        RAMONA ANG, as Trustee of the                    CASE NO: 50-2021-CA-004758-XXXX- MB
        TULIP TRUST,

               Plaintiff,

                   v.

        IRA KLEIMAN, as Personal Representative
        of the Estate of David Kleiman

               Defendant,

        and

        W&K INFO DEFENSE RESEARCH, LLC,
        and LYNN WRIGHT,

               Nominal Defendants.


                                            MOTION TO COMPEL

               With its reputation and integrity thrown into gravest doubt by its namesake partner’s

        scandalous public disclosures, Roche Freedman, LLP (the “Firm”) now flatly refuses to

        participate in discovery about those admissions of wild misconduct, admissions which form the

        basis of Tulip Trust’s Motion to Disqualify the Firm. But discovery is required for resolution of

        that motion, and so the Trust moves to compel it.

               After Kyle Roche was recorded making scandalous disclosures about the Firm’s

        unethical practices, the Trust – like parties in litigation with Roche Freedman across the country

        – moved this Court disqualify the Firm. (A copy of the Motion to Disqualify Roche Freedman,

        LLP, filed September 9, 202 is attached as Exhibit “A”.)




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             Roche’s disclosures about the Firm included Roche’s on camera admissions that, inter

   alia:

             x   The Firm has a strategy of suing rivals of Ava Labs and its CEO, Emin Gün
                 Sirer (“Gün”), by bringing harassing lawsuits, and fraudulent, purported class
                 actions in the names of investors Roche referred to as “idiots”;

             x   The Firm’s business plan is never to settle a case, irrespective of its purported
                 clients’ interests, and instead to take all cases to trial, where liability and
                 damages issues are decided by juries Roche also referred to as “idiots”;

             x   The Firm leverages the litigation process to learn (and misuse) for Ava’s benefit
                 the confidential information and trade secrets of those it sues; and

             x   The Firm does all this for the express purpose of advancing the Firm’s interests,
                 making money for its partners, enforcing Gün’s personal vendettas (like the one
                 against Dr. Craig S. Wright) and “for sport.”

             The lawsuit before this Court is the direct progeny of another. In a federal action brought

   in 2018 (Kleiman v. Wright, Case No. 9:18-cv-80176-BB (S.D. Fla.)), the Firm first alleged a

   secret, oral partnership between Dr. Wright and Ira Kleiman’s deceased brother, David Kleiman,

   supposedly to mine billions of dollars’ worth of bitcoin. When it appeared the David Kleiman

   estate could not legally sustain those claims, the Firm had Ira Kleiman reanimate W&K Info

   Defense Research, LLP, falsely claiming to have ownership control, 1 and made W&K a co-

   plaintiff. The federal jury utterly rejected David Kleiman’s estate claims of partnership but did

   find that W&K shared intellectual property interests with Wright. The Trust brought this action

   to vindicate its ownership in the company.

             Through the federal trial, although the Firm purported to represent W&K, it failed to

   disclose what Roche has now admitted: it was, long before trial, acting for its undisclosed

   principal and benefactor, Ava Labs and its principal Gün, with the goal of “[taking] down one of

   Gün’s biggest arch-nemeses . . . Craig Wright.” See the Motion to Disqualify at 9, citing


   1
       In fact, as alleged in the Complaint pending in this matter, he does not.

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   Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought

   Law Firm, Roche Freedman (video 15) (Aug. 26, 2022).

          The Firm’s disqualification is mandated not merely by the scandalous admission that, at

   the Firm, unethical practices are policy – although that would be reason enough – but also

   because the central issue before this court in the underlying claim – the truth about the ownership

   of W&K – is directly implicated by Roche’s admissions on the Firm’s behalf, which call into

   question who really is behind Kleiman’s claims of control.

          In support of the motion to disqualify, and in search of the truth, the Trust propounded

   discovery on the Firm. The closely targeted requests for admissions (Attached as Exhibit “B”)

   and requests for production (Attached as Exhibit “C”) had a singular goal: to illumine the facts

   underlying Roche’s outrageous boasts of his firm’s unethical intentions and means. Roche and

   the Firm have since stated, in public and in the many other fora where their disqualification is

   being sought, that Roche’s statements, while “inappropriate,” were merely drunken boasting, or

   were taken out of context, or were in some way edited to mischaracterize them.

          But the “but Kyle was drunk” defense recently proved unavailing for the Firm. In re

   Tether and Bitfinex Crypto Asset Litig., No. 19-cv-09236, is a large class action matter in the

   Southern District of New York where the Firm was lead counsel. On Thursday, October 13, U.S.

   District Court Judge Katherine Polk Failla removed the Firm from its class counsel role based on

   the same Roche disclosures at issue in the disqualification motion before this Court. See No. 19-

   cv-09236 Tr. Oct. 13, 2022 attached as Exhibit “D.” In so ruling, Judge Failla stated that “the

   degree to which the Roche Freedman firm has attempted to minimize Mr. Roche’s statements

   gives me concern that they don’t appreciate the seriousness of those statements, and I’ve already

   explained the dim view with which I hold the firm’s arguments in mitigation.” Ex. D, p. 11.




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   Furthermore, Judge Failla pointed out that “the fact is we, or anyone, had not yet gotten to the

   bottom of the relationship that Mr. Roche has or had with Ava Labs and, by extension, whether

   the litigation strategies suggested in his recorded comments were implemented by him with

   respect to Ava Labs or other clients of the firm or by others at the firm” Ex. D, p. 9.

          The discovery sought by the Trust is the minimum inquiry needed to “get to the bottom”

   of these matters and to test whether the Firm’s excuses and disclaimers should rescue it from

   disqualification.

          But the Firm has flatly refused to respond at all to discovery. Its responses and objections

   (attached as Exhibits “E” and “F”) characterize the requested admissions and documents as

   frivolous harassment. Based on precisely no legal authority, the Firm – with an arrogance

   entirely in character with Roche’s bombastic description of its ethos – simply declares that

   “[a]bsent a court order, [the Firm] will not provide any information in response.” See, e.g., the

   Firm’s Responses and Objections to the First Request for Admissions, repeated in response to

   each of twenty-six requests.

          So the Firm has asked for a court order; the Firm ought to get one.

          A motion to disqualify an attorney, let alone a law firm, is a serious business that

   deserves to be taken seriously. Balaban v. Philip Morris USA Inc., 240 So. 3d 896, 899 (Fla. 4th

   DCA 2018) (“[I]mposing the remedy of disqualification may ‘abrogate important societal rights,

   such as the right of a party to his counsel of choice and an attorney’s right to freely practice her

   profession,’ [but] courts should not hesitate to disqualify an attorney where the circumstances

   justify such a severe remedy.”) (quoting FDIC v. U.S. Fire Ins. Co., 50 F.3d 1304, 1314 (5th Cir.

   1995)). With stakes this high, cavalier disregard will not serve.




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          Indeed, disqualification is so serious a matter that the Court resolves a motion to

   disqualify upon the completion of an evidentiary hearing. Sch. Bd. Of Broward Cty. V. Polera

   Bldg. Corp., 722 So. 2d 971, 974 (Fla. 4th DCA 1999) (requiring the trial court to conduct an

   evidentiary hearing on a motion to disqualify counsel, where the parties disputed material facts);

   Plaza Resorts, Inc. v. Janus Am. Grp., Inc., 811 So. 2d 850, 851 (Fla 4th DCA 2002) (remanding

   to the trial court for evidentiary hearing because disqualification requires trial courts to make

   factual determinations and cannot issue solely based on the parties’ competing affidavits); Lewis

   v. Nical of Palm Beach, 10 So. 3d 159, 163 (Fla. 4th DCA 2009) (even though counsel withdrew

   from representing defendants, plaintiffs demonstrated a preliminary basis for the disqualification

   of the opposing party’s counsel and were entitled to an evidentiary hearing to present evidence

   on continuing misconduct and why voluntary withdraw was insufficient). It then ineluctably

   follows that, because an evidentiary hearing is a futile exercise without evidence, the parties to

   such a hearing are entitled to gather that evidence. See, e.g., McMillan v. Troutman, 740 So. 2d

   1227 (Fla. 4th DCA 1999) (finding parties to an evidentiary hearing are entitled to discovery

   regarding the subject issues of the hearing, here jurisdiction).

          The Firm is not above the law, however much contempt Roche may have declared for it.

   Unless the Firm wishes uncharacteristically to do the right thing and simply withdraw, it is as

   subject to the process and procedure of this Court as anyone. The Trust has a right to test the

   veracity of Roche’s admissions and plumb the depths of the Firm’s misconduct, and the Court

   will need those matters fully developed to decide the proper course. Roche and his partners

   cannot be allowed to throw the integrity of this entire matter into question, then diminish or

   disclaim those disclosures, then hide behind a bald refusal to have them measured.




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          WHEREFORE, the Trust requests Roche Freedman, LLC be required to provide a

   substantive response to the Request for Production and Request for Admissions.

                                                         Respectfully submitted,

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                                    CERTIFICATE OF SERVICE

          I certify that on October 18, 2022, a copy of this motion was served on all counsel of record

   by email, pursuant to Florida Rule of Judicial Administration 2.516(b)(1).

                                                         By: /s/ Andrés Rivero
                                                           ANDRES RIVERO




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                                                              IN THE CIRCUIT COURT FOR THE
                                                              15TH JUDICIAL CIRCUIT IN AND FOR
                                                              PALM BEACH COUNTY, FLORIDA

        RAMONA ANG, as Trustee of the                         CASE NO: 50-2021-CA-004758-XXXX-
        MB
        TULIP TRUST,

               Plaintiff,

                   v.

        IRA KLEIMAN, as Personal Representative
        of the Estate of David Kleiman

               Defendant,

        and

        W&K INFO DEFENSE RESEARCH, LLC,
        and LYNN WRIGHT,

               Nominal Defendants.


                            MOTION TO DISQUALIFY ROCHE FREEDMAN LLP

               In a shocking series of extraordinary, recorded statements, Kyle W. Roche, founding

        partner of Roche Freedman LLP (“the Firm”), recently confessed to misusing and abusing the

        legal system to unlawfully advance the commercial interests of the Firm’s undisclosed principal

        and benefactor, AVA Labs (“Ava”), by suing Ava’s competitors and notable rivals in the

        cryptocurrency industry. One such abuse of process was the lawsuit the Firm filed against Dr.

        Craig Wright, which spawned and necessitated this action, in which the Firm is counsel of record

        to Defendant Ira Kleiman and nominal defendant W&K Info Defense Research, LLC (“W&K”).

        In light of Roche’s admissions of the Firm’s blatant misconduct, the Firm should be disqualified

        from any further representation of any party to this action.




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           The Firm’s lawsuit that spawned this action, styled Kleiman v. Wright, Case No. 9:18-cv-

   80176-BB (S.D. Fla.), alleged a secret, oral partnership between Dr. Wright and Ira Kleiman’s

   deceased brother, Dave Kleiman, to purportedly mine billions of dollars’ worth of bitcoins. After

   a three-week trial last November, the jury rejected that claim and returned a verdict for Dr.

   Wright but awarded damages to co-plaintiff W&K (and nominal defendant here), on a claim that

   Dr. Wright and Dave Kleiman had equal interests in certain intellectual property owned by

   W&K. Essential to that claim were the Firm’s shenanigans in re-activating W&K after Dave

   Kleiman died. This action seeks redress for those shenanigans. The Firm purported to represent

   W&K in Kleiman v. Wright, but failed to disclose their undisclosed principal and benefactor

   Ava, whose interests the Firm has secretly sought to advance for the last three years in that

   action, this one, and many others.

           Roche recently confessed on camera to suing the rivals of Ava and its CEO, Emin Gun

   Sirer (“Gun”), by bringing harassing lawsuits, and fraudulent, purported class actions in the

   names of investors he referred to as “idiots.” Roche admitted on camera that his business plan is

   never to settle a case, irrespective of his purported clients’ interests, and instead to take all cases

   to trial (as the Firm did in Kleiman v. Wright), where liability and damages issues are decided by

   juries Roche also referred to as “idiots.” He admitted that he does this to harm Ava’s

   competitors, enforce Gun’s personal vendettas, and keep regulators from investigating Ava, by

   keeping the SEC and CFTC busy investigating Ava’s competitors (but not Ava) for, among other

   things, selling unregistered securities.

           On camera, Roche admits at length to a serious conflict of interest, undisclosed

   principals, a course of conduct that is unlawful on its face, and a fraud on the court in every case

   in which his firm has appeared, including this one. He admits that he not only brings cases for




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   manifestly improper purposes and ignores the interests of his purported clients to further his and

   Ava’s undisclosed interests, but also leverages the litigation process to learn (and misuse) for

   Ava’s benefit the confidential information and trade secrets of those he sues. He admits that he

   does all this for the express purpose of advancing the interests of the Firm and his benefactor

   Ava, to enforce the personal vendettas of Ava’s Gun, as well as “for sport.”

          After Roche’s on-camera statements were posted by a cryptocurrency whistleblower site

   (“Crypto Leaks”), Ava Labs proclaimed its innocence, Roche claimed he was drunk and taken

   out of context when (apparently on separate occasions) he made these damning admissions,

   which he does not deny, and attempted to personally withdraw from the Firm’s fraudulent class

   actions, in which the Firm now faces motions to disqualify. 1 Because of the Firm’s misconduct

   and undisclosed conflicts of interest, Dr. Wright has moved to disqualify the Firm from

   representing Ira Kleiman on appeal from the verdict for Dr. Wright in Kleiman v. Wright (also

   referred to here as “the federal case”), Case No. 22-11150-GG (11th Cir.). Roche’s admissions of

   the Firm’s wrongdoing demonstrate its unlawful “business plan” and its ongoing efforts to

   subvert the fair administration of justice, which heap scorn and disrepute upon the legal




   1
     On August 31, 2022, one group of defendants in In re Tether and Bitfinex Crypto Asset Litig.,
   1:19-cv-1936 (S.D.N.Y), moved to disqualify Roche Freedman. See Debevoise & Plimpton
   letter, attached as part of Composite Exhibit A. On September 1, 2022, a second group of
   defendants in that case moved for disqualification. See id. On September 2, 2022, Roche
   Freedman opposed disqualification. See id. Also on September 2, 2022, the first group of
   defendants replied in support of disqualification. See id. On September 2, 2022, Roche
   Freedman’s co-counsel moved to terminate Roche Freedman as putative class counsel, noting
   that Roche Freedman had refused their request to withdraw. See id. More disqualification
   motions have since been filed.


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   profession and every court (including this one) in which the Firm has appeared. The Firm should

   be dismissed from further representation of any party to this action. 2

            Specifically, after Dr. Wright moved to dismiss the complaint in the federal case arguing

   that it was legally deficient because of the absence of necessary party W&K, the Firm, acting for

   Ira Kleiman, filed an LLC Reinstatement for W&K (which had been administratively dissolved),

   listing Kleiman as registered agent. Thereafter, the Firm amended the complaint in the federal

   case to add W&K as a plaintiff, claiming that Ira Kleiman was W&K’s managing member. As a

   direct result of this misconduct, Ramona Ang, as trustee of Tulip Trust, was required to file this

   action seeking a declaratory judgment as to the membership interests of the actual members of

   W&K, and an order directing Ira Kleiman to immediately cease all unauthorized activities and

   enjoining him from any taking any further actions that purport to be taken on W&K’s behalf.

   Plaintiff Ramona Ang has standing to bring this motion, 3 which should be granted in the interests

   of justice.

       I.        ARGUMENT

            On Saturday, August 27, 2021, extraordinary video recordings of Kyle Roche, founding

   partner of the Firm, were released on the internet. On camera, Roche expressly admitted to




   2
     Defendant Ira Kleiman also is represented here by the well-respected firm of Boies, Schiller, et
   al. Removing Roche Freedman will not prejudice Mr. Kleiman or delay this case.
   3
     The comment to Rule 4-1.7 states, “[w]here the conflict is such as clearly to call in question the
   fair or efficient administration of justice, opposing counsel may properly raise the question.”
   Boca Raton Reg'l Hosp., Inc. v. Williams, 230 So. 3d 42, 45 (Fla. 4th DCA 2017) (“[A] party
   may seek disqualification of opposing counsel where the conflict of interest involves
   representation of someone other than the movant and where it is such ‘as clearly to call in
   question the fair or efficient administration of justice.’”) (citing State Farm Mut. Auto. Ins. Co. v.
   K.A.W., 575 So. 2d 630, 632 (Fla. 1991); Zarco Supply Co. v. Bonnell, 658 So.2d 151, 154 (Fla.
   1st DCA 1995)).


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   conduct that violates his fundamental obligations as a lawyer. His statements amount to

   admissions of his and his firm’s conflicts of interest under Rule 4-1.7 of the Florida Rules of

   Professional Conduct. 4 On camera, Roche admitted to bringing purported class actions in the

   names of purported class representatives, but actually acting on behalf of Ava—an undisclosed

   interested party—in which he bragged about having an enormously valuable financial stake. He

   also admitted that he files lawsuits to advance the financial interests, enforce the vendettas, and

   for the entertainment of his undisclosed benefactor and principal, Gun, Ava’s CEO, as well as

   “for sport.” In sum, on camera, Roche admitted to motives and conduct that plainly violate his

   fundamental obligation as a lawyer to not put his own interests before those of his clients. 5

          In the days since the recordings were posted: (1) Ava Labs released a statement claiming

   it would never “engage in the unlawful, unethical and just plain wrong behavior claimed in these

   self-serving videos . . . ,” Emin Gün Sirer, My Statement about the Crypto Leaks lies, MEDIUM

   (Aug. 29, 2022), https://el33th4x0r.medium.com/my-statement-about-the-crypto-leaks-lies-

   ef2005da752; (2) Roche publicly confirmed that the recordings are genuine, claiming he was

   “exploit[ed] using leading questions,” and his statements were taken “out of context,” Kyle

   Roche, My Response, MEDIUM (Aug. 29, 2022), https://medium.com/@kyleroche/my-response-

   b691563c255b; (3) Roche filed motions to personally withdraw from two of his firm’s class




   4
    Although Roche is not admitted to practice in Florida, pursuant to Rules 1-3.1 and 1-3.10(a)(1)
   of the Rules Regulating the Florida Bar, the Firm, its Florida operations, and any lawyer
   “permitted to appear by this rule are subject to these Rules Regulating The Florida Bar while
   engaged in the permitted representation.”
   5
    Because “there is a substantial risk that the representation of 1 or more clients will be
   materially limited by [Roche’s] responsibilities to another client, a former client or a third person
   or by a personal interest of [Roche]," he has an express conflict of interest under Florida Rule 4-
   1.7(a)(2).

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   actions against Ava’s competitors; and (4) at least two of those competitors moved to disqualify

   him and his Firm in the Tether case. See Composite Exhibit A.

          In his Motion to Withdraw from the Tether case, Roche stated that he “is no longer

   involved in [Roche Freedman’s] class action practice.” See Roche’s Motion to Withdraw in In re

   Tether, 1:19-cv-1936 (S.D.N.Y) (D.E. 229 at 1), attached as part of Composite Exhibit A.

   Because Roche is a founder of Roche Freedman and his firm’s practice concentrates on

   plaintiffs’ class actions, this drastic step undermines his claim that the recordings misrepresented

   “the context” of his statements, and both underscores and heightens the disqualifying nature of

   those statements. Two In re Tether defendants have moved to disqualify Roche and the Firm. See

   Comp. Ex. A. Other such motions in other cases surely will follow.

          Because Kyle Roche’s own statements, now widely distributed on the internet by many

   outlets, are open and notorious, demonstrate a serious conflict of interest that calls into question

   the fair administration of justice in this matter, Ms. Ang and her counsel are compelled to seek

   the disqualification of Roche Freedman LLP.

          A.      THE FACTS

          In 25 video clips released on August 27, 2022, Kyle Roche discloses and describes his

   Firm’s close, improper, and previously undisclosed ties to Ava and its CEO, Gun. Roche says he

   founded the Firm the same day that Ava launched, on August 21, 2019, sharing the same co-

   working space. Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil

   Conspiracy with Bought Law Firm, Roche Freedman (video 1) (Aug. 26, 2022), https://d33wubr

   fki0l68.cloudfront.net/1a432cb907f50390478d5c7b5c2c30c24547d110/5ca00/videos/c3-00-

   office-ava-labs-launch.mp4. Roche says he was the third shareholder in Ava (after its founders,

   Gun and COO Kevin Sekniqi). Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC




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   in Evil Conspiracy with Bought Law Firm, Roche Freedman (video 2) (Aug. 26, 2022), https://

   d33wubrfki0l68.cloudfront.net/ba470e47132c5cb938f344be9ffd8261adc0eca2/6c3ea/videos/c3-

   01-office-deal-for-perc-token-supply.mp4.

          On camera, Roche says he owns 1% of Ava Labs tokens and shares, which are worth

   tens, if not hundreds, of millions of dollars. 6 Cryptoleaks, Ava Labs (Avalanche) Attacks Solana

   & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche Freedman (video 3) (Aug. 26,

   2022), https://d33wubrfki0l68.cloudfront.net/96d2fbedbfb4ac619f2656ce923aa707cfca9cbe/

   3d59f/videos/c3-02-office-i-got-1-point-on-both.mp4. He admits his personal bias to favor Ava,

   and states that he has “the same interest, same goals” as Gun and Sekniqi, whom he “trust[s] like

   brothers.” Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy

   with Bought Law Firm, Roche Freedman (video 5) (Aug. 26, 2022), https://d33wubrfki0l68.

   cloudfront.net/61dabcad45d46c6207e4acded4ab34a49a0aa163/fc7a7/videos/c3-04-office-same-

   interests-same-goals.mp4.

                  KR: Obviously, I’m biased. I have an interest in Ava Labs and I . . .
                  Q: You have a stake in Ava Labs?
                  KR: Yes.
                  Q: How big?
                  KR: I can’t . . . A big one. I did very well.

   Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought

   Law Firm, Roche Freedman (video 3) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/

   96d2fbedbfb4ac619f2656ce923aa707cfca9cbe/3d59f/videos/c3-02-office-i-got-1-point-on-

   both.mp4. Roche says he now lives with Sekniqi in Miami for tax purposes. Cryptoleaks, Ava

   Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche



   6
    The market capitalization of AVAX tokens currently is $5.7 billion and has been as high as $30
   billion in the past year. Avalanche Price (AVAX/USD) | Today’s Price, TIME
   https://time.com/nextadvisor/investing/cryptocurrency/price/avalanche-avax/.

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   Freedman (video 7) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/789531f0f9b4b

   55626c52801967703b1968bca18/b171a/videos/c3-06-office-i-live-with-kevin-in-miami.mp4.

                  1.       The Firm Sues Ava’s Competitors Using Straw Plaintiffs

          Roche said he uses litigation as a “strategic instrument to support” Ava. Cryptoleaks, Ava

   Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche

   Freedman (video 6) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/a799bb8bcde3170c

   313e3ad7662a41148621c4d1/2fbf3/videos/c3-05-office-litigation-is-a-strategic-instrument.mp4.

   He expressly admits that he sued Ava Labs’ competitors, including Solana and Dfinity, without

   naming Ava Labs as a plaintiff, using purported class representatives to conceal his undisclosed

   principals, who, along with himself, are real parties in interest in these actions:

          Q: Has Ava Labs filed a complaint against one of their competitors?
          KR: No, they have me to do that on behalf of the class Their name was
          never . . .
          X: Explain.
          KR: So, I can sue Solana . . .
          X: Yeah.
          KR: but a plaintiff will purchase Solana.
          X: And what about Dfinity?
          KR: Oh yeah.

   Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought

   Law Firm, Roche Freedman (video 19) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/

   b4a2e7900f289e01ce2b25dfa5a254850a22496d/e7035/videos/c3-17-i-can-sue-solana.mp4

   (emphasis added); Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil

   Conspiracy with Bought Law Firm, Roche Freedman (video 17) (Aug. 26, 2022), https://

   d33wubrfki0l68.cloudfront.net/b660cb79f51a071ece800cda7fc3521e5e21a59d/0467e/videos/c3-

   16-0-dfinity-is-a-competitor-to-avalanche.mp4 (Dfinity also is a competitor of Ava).




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                  2.     The Firm Uses Other Improper Tactics to Benefit Ava

          On camera, Roche brags about harassing “Emre Crypto,” 7 a Turkish “top competitor” of

   Gun and AVA, causing him to be “tagged” coming into the United States and recording that

   service of process, which Roche says Gun “enjoys” watching “once a month.” Cryptoleaks, Ava

   Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche

   Freedman (video 14) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/ccce812b0d07fc6c

   1bb9928d1a7a99db011ed1af/13125/videos/c3-13-gun-watches-video-once-a-month.mp4. He

   also boasts that “I took down one of Gun’s biggest arch-nemeses. The guy who claimed to be

   Satoshi, Craig Wright.” Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in

   Evil Conspiracy with Bought Law Firm, Roche Freedman (video 15) (Aug. 26, 2022), https://

   d33wubrfki0l68.cloudfront.net/54bcd83ef86e546fa4f97c2e481fba064e228c8d/483a3/videos/c3-

   14-gun-goes-after-craig-wright.mp4 (emphasis added).

          On camera, Roche further admits that the Firm has developed and executed a strategic

   plan to feed tips against Ava’s competitors to regulatory authorities in such volume that the

   regulators are drawn away from scrutinizing Ava’s activities. Cryptoleaks, Ava Labs (Avalanche)

   Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche Freedman (video

   10) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/1edf92baa6d2ec8203a8568c7869e

   f5e4b326a71/428f7/videos/c3-09-magnets-for-sec-and-competitive-attacks.mp4 (“KR: yes, yeah,

   I deal with making sure that the SEC has . . . the SEC and the CFTC have other magnets to go

   after. . . .”); Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy




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    In the videos, Roche refers to him as “Emre Crypto.” His actual name is Emre Aksoy, and he
   goes by the assumed name of “Kripto Emre.” See Roche Freedman’s press release about serving
   him at Miami Int’l Airport: https://www.rochefreedman.com/crypto-thought-leader-cant-duck-
   ceos-defamation-claims/

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   with Bought Law Firm, Roche Freedman (video 11) (Aug. 26, 2022), https://d33wubrfki0l68.

   cloudfront.net/91987bc2f582f24ecb688ab4c137a485d139dfe1/b4646/videos/c3-10-office-theres-

   no-such-thing-as-regulation.mp4 (“. . . . since [Gun] signed me up, I’ve ensured that there’s no

   such thing as regulation for what they want to do.”).

                  3.      Roche Elevates His Personal Interests Above His Clients’ Interests

          On camera, Roche brazenly states that “I’m a crazy motherf*cker and I have resources

   and I will take you to the end [in a lawsuit].” Cryptoleaks, Ava Labs (Avalanche) Attacks Solana

   & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche Freedman (video 18) (Aug. 26,

   2022), https://d33wubrfki0l68.cloudfront.net/2f1313a474fff7dedbb5432d16e848725ce51e04/

   4f9ab/videos/c3-16-im-a-crazy-motherfucker.mp4. He says “that is power and that is what I

   think is a tool that has not been unlocked by very many . . . .” Id. He also says that because of his

   personal stake in Ava, “I have to ability to say ‘look it’s not about the money anymore for me it’s

   about taking you guys to trial and the sport of it.’” Cryptoleaks, Ava Labs (Avalanche) Attacks

   Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche Freedman (video 19)

   (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/b4a2e7900f289e01ce2b25dfa5a254850a

   22496d/e7035/videos/c3-17-i-can-sue-solana.mp4 (emphasis added).

          Roche says he does not “think there’s any reason to settle for less than half a billion to a

   billion but . . . if we get $100 million settlement we are in the front page of all the legal press and

   so it’s good for me and my partners and my firm.” Cryptoleaks, Ava Labs (Avalanche) Attacks

   Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche Freedman (video 23)

   (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/6ab1d54cf47b4b43a28ec4d52d2a12be50

   78b5d7/8826b/videos/c3-21-no-reason-to-settle-less-than-500m.mp4. Completely absent from




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   Roche’s explanation of his approach to litigation is any consideration of his clients’ interests or

   their right to decide to settle or not settle.

                   4.       Roche Demonstrates Utter Contempt for the Administration of
                            Justice

           By his own admission, Roche operates without respect for his role as an attorney or his

   duties as an officer of the Court. Discussing jury trials, he says “what you do is, metaphorically,

   you pull down your pants and you tell your jury, ‘here is my c*ck, now you talk . . . pull down

   your pants a little bit . . . .’” Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons SEC in

   Evil Conspiracy with Bought Law Firm, Roche Freedman (video 21) (Aug. 26, 2022), https://

   d33wubrfki0l68.cloudfront.net/251c0d83886aba0804637ca9f8819e12adb26238/ab979/videos/c3

   -19-show-me-your-cock.mp4.

           Of the jury, Roche derisively states “that 10 idiots control the flow of all the money that

   happens in American class actions.” Cryptoleaks, Ava Labs (Avalanche) Attacks Solana & Cons

   SEC in Evil Conspiracy with Bought Law Firm, Roche Freedman (video 22) (Aug. 26, 2022),

   https://d33wubrfki0l68.cloudfront.net/f580f15300ae3305352a21a810a4cbce4b1247a7/73e42/vid

   eos/c3-20-ten-idiots-control-the-flow.mp4. About putative class members, as to whom he is a

   fiduciary, he says that “I go to the Court, and I say, hey ‘I got $100 million for these 100,000

   idiots out here. Give me . . . give me $30 million and I will administer . . . .’” Cryptoleaks, Ava

   Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm, Roche

   Freedman (video 24) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/ca154b2403c4f503

   206afd0666cf4694c23c8dd3/de306/videos/c3-22-these-100000-idiots.mp4.

           B.    THE LAW

           On camera, Roche repeatedly emphasized that his personal interests come before his

   clients, which violates Florida Rule of Professional Conduct 4-1.7(a)(2), prohibiting



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   representation of a client when “there is a substantial risk that the representation of 1 or more

   clients will be materially limited by the lawyer’s responsibilities to another client, a former client

   or a third person or by a personal interest of the lawyer.”

          When Roche says he will not settle any case and insists on going to trial to extract a

   larger settlement, or settles because of publicity for the Firm, he admits to expressly putting his

   and the Firm’s interests ahead of those of his clients. The plain import of his claim that his

   newfound wealth frees him from the constraints on plaintiffs’ lawyers is that his wealth allows

   him to disregard his clients’ interests in the settlement process.

          On camera, Roche states directly and unequivocally that he sues Ava’s competitors (at its

   behest) in the names of straw plaintiffs and does so by filing class actions. This is, at a minimum,

   Rule 404(b) evidence that Roche is engaged in a pattern and practice of secretly representing

   Ava’s and Gun’s interests by using straw plaintiffs to conceal the real parties in interest. After

   Roche’s on-camera admissions, there is a sound basis for concluding that in attempting to “take

   down” Gun’s arch-nemesis, Dr. Craig Wright (defendant in the federal case brought by the

   Firm), Roche and the Firm have been acting for the benefit of Ava and Gun, who were

   undisclosed interested parties. Roche’s admitted conduct as to “Emre Crypto,” discussed above

   in Section 1.A.2, demonstrates an abuse of process akin to what appears to have happened to Dr.

   Wright, which necessitated this case. In these circumstances, Ms. Ang should be permitted to

   obtain all pertinent discovery, and the Court should hold an evidentiary hearing on this motion

   after the completion of discovery. Indeed, in Tether, the Firm itself has requested discovery and a

   hearing on the evidence regarding these very issues. See the Firm’s letter dated September 2,

   2022 attached as part of Composite Exhibit A. Discovery requests in this case are forthcoming.




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          On camera, Roche admitted to other improper conduct in furtherance of Ava’s interests,

   including sharing with Ava the discovery obtained in the Firm’s class actions against Ava’s

   competitors (surely in violation of confidentiality orders), distracting regulators from Ava by

   feeding them incriminating information about Ava’s competitors, and, as noted, harassing Gun’s

   “nemeses”—such as videotaping service of process on “Emre Crypto,” Gun’s principal Turkish

   competitor—for Gun’s viewing pleasure. Roche’s discussion of Dr. Wright (Cryptoleaks, Ava

   Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm,

   Roche Freedman (video 15) (Aug. 26, 2022), https://d33wubrfki0l68.cloudfront.net/54bcd83ef86

   e546fa4f97c2e481fba064e228c8d/483a3/videos/c3-14-gun-goes-after-craig-wright.mp4),

   strongly suggests that the federal case was motivated by Gun’s rivalry with Dr. Wright.

          In addition to demonstrating fundamental conflicts that Rule 4-1.7 prohibits, Roche’s

   admitted, serial misconduct flouts and fundamentally offends the core responsibilities imposed

   on every lawyer to uphold the dignity of the courts, and to treat litigants and other counsel

   forthrightly and with respect. Florida Rule 4-8.4 embodies these obligations, which Roche has,

   through his statements, expressly abjured.

          Florida Rule 4-8.4 bar attorneys from engaging “in conduct involving dishonesty, fraud,

   deceit, or misrepresentation.” Roche has confessed to bringing pretextual lawsuits, for improper

   purposes, on behalf of undisclosed shadow clients. Florida Rule 4-8.4(d) prohibits “conduct that

   is prejudicial to the administration of justice.” But Roche—in a shameful display that inherently

   prejudices the administration of justice in any court where he appears—has publicly denounced

   his purported clients and all jurors as “idiots,” declared himself “crazy,” and denigrated the entire

   jury-trial and class-action system as nothing more than a cynical competitive tool.




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          The Court need not and should not tolerate this improper conduct by attorneys who

   appear before it. McGillis v. Dep't of Child. & Fam. Servs., 738 So. 2d 1023 (Fla. 3d DCA 1999)

   (citing S.Y. v. McMillan, 563 So.2d 807 (Fla. 1st DCA 1990) (“A court has the inherent power to

   control the conduct of its own proceedings in order to preserve order and decorum in the

   courtroom, to protect the rights of parties and witnesses, and to generally further the

   administration of justice.”)); Petition of Fla. Bar, 61 So.2d 646, 647 (Fla. 1952) (“[R]egularly

   constituted courts have power to do anything that is reasonably necessary to administer justice

   within the scope of its jurisdiction, but not otherwise. Inherent power has to do with the incidents

   of litigation, control of the court's process and procedure, control of the conduct of its officers

   and the preservation of order and decorum with reference to its proceedings.”); In re Pub. Def.'s

   Certification of Conflict and Mot. to Withdraw Due to Excessive Case Load and Mot. for Writ of

   Mandamus, 793 So.2d 1, 3 (Fla. 2d DCA 1998) (“Where litigants or attorneys have substantially

   interfered with the orderly process of judicial administration, courts may, and should, exercise

   their inherent authority to prevent abuse of the judicial system by, among other things, barring

   the offending party from filing further proceedings.”). Here, the continued presence of Roche’s

   Firm in this matter would be an ongoing affront and insult to the Court, the judges and lawyers

   who labor there, and the litigants who come before it seeking a dignified process and justice.

          Lastly, Roche’s misconduct must be imputed to the Firm. Florida Rule 1.10 states that

   “[w]hile lawyers are associated in a firm, none of them may knowingly represent a client when

   any 1 of them practicing alone would be prohibited from doing so by Rule 4-1.7 or 4-1.9 . . . .”

   Roche directs the affairs of the boutique Firm that bears his name, which lists 24 lawyers on its

   website as of this writing. He “lead[s] the Roche Freedman team appointed as lead counsel in

   over 15 class actions” and “build[s its] legal strategies.” See https://www.rochefreedman.com/




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   attorneys/kyle-roche/, last visited Sept. 5, 2022. From the videos, it is evident that the interests

   Roche seeks to protect by his confessed misconduct are not merely his own, but the interests of

   the entire Firm. Accordingly, Roche’s conflicts not only warrant his disqualification, but also

   warrant disqualification of his partners and the Firm.

            Disqualification of the Firm will not leave defendant without adequate representation.

   Andrew Brenner of Boies, Schiller is a highly capable lawyer who has been co-counsel to the

   Firm in this action, and the Firm’s clients will suffer no harm whatsoever from the fully

   warranted removal of the Firm from any further role in this matter.

      II.       CONCLUSION

      For all these good and sufficient reasons, the Court should disqualify Roche Freedman LLP

   from any further involvement in this matter and should order such other and further relief as is

   warranted.

                                                          Respectfully submitted,

                                                          RIVERO MESTRE LLP
                                                          Attorneys for Plaintiffs
                                                          2525 Ponce de Leon Blvd., Suite 1000
                                                          Miami, Florida 33134
                                                          Tel.: (305) 445-2500
                                                          Fax: (305) 445-2505

                                                          By: /s/ Andrés Rivero
                                                            Andrés Rivero
                                                            Florida Bar No.: 613819
                                                            arivero@riveromestre.com
                                                            Alan H. Rolnick
                                                            Florida Bar No.: 715085
                                                            arolnick@riveromestre.com
                                                            Robert J. Kuntz, Jr.
                                                            Florida Bar No. 94668
                                                            rkuntz@riveromestre.com




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                                    CERTIFICATE OF SERVICE

          I certify that on September 9, 2022, a copy of this motion was served via e-mail, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                      NOTICE OF MOTION TO WITHDRAW AS COUNSEL

          PLEASE TAKE NOTICE that Kyle W. Roche, Esq. of Roche Freedman, LLP (“RF”)

   respectfully moves the Court pursuant to Local Rule 1.4 to withdraw as one of the attorneys for

   the Proposed Class. Mr. Roche is no longer involved in RF’s class action practice. ))58*/4-2>

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   DATED: August 31, 2022                         Respectfully Submitted,



                                                  ROCHE FREEDMAN LLP


                                                  /s/ Kyle W. Roche
                                                  Kyle W. Roche
                                                  99 Park Avenue, 19th Floor
                                                  New York, NY 10016
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                                         kyle@rochefreedman.com

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   SO ORDERED this _____ day of ____________, 2022.



   _____________________________________________
   HON. KATHERINE POLK FAILLA
   UNITED STATES DISTRICT JUDGE
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                                                  LAW OFFICES OF

                               M C N AU L E BE L N AWROT & H ELGREN
                                      A PROFESSIONAL LIMITED LIABILITY COMPANY

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                                        SEATTLE, WASHINGTON 98101-3143
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                                                                                               Direct (206) 389-9348

   TIMOTHY B. FITZGERALD                                                         E-MAIL: TFITZGERALD@MCNAUL.COM
                                                                                               Direct (206) 389-9338




                                            September 1, 2022

   VIA ECF

   The Honorable Katherine Polk Failla
   United States District Court for the
   Southern District of New York
   Thurgood Marshall United States Courthouse
   40 Foley Square
   New York, New York 10007

          Re:     In re Tether and Bitfinex Crypto Asset Litigation
                  No. 19 Civ. 9236 (S.D.N.Y.)

   Dear Judge Failla:

            Together with O’Melveny & Myers, we represent Defendant Bittrex, Inc. in the
   referenced matter. Defendant Poloniex LLC, represented by Nelson Mullins, also joins in this
   letter (Bittrex and Poloniex are collectively “the Exchange Defendants”). We write to join in the
   requests made by the B/T Defendants in responding to Plaintiffs’ Motion for Kyle W. Roche to
   Withdraw as Attorney (Dkt. No. 229) – namely, (1) that Roche Freedman LLP be terminated as
   counsel in this case, and (2) that both Mr. Roche and Roche Freedman LLP certify, in connection
   with their termination, that they have returned or destroyed all documents and information
   produced by the Exchange Defendants and that they have not shared any of those documents or
   information with any third party.

           In the video recordings released by Crypto Leaks, Mr. Roche states that “litigation is an
   underused tool,” and confirms that he has used class action litigation as a “strategic instrument”
   to support non-party Ava Labs, a cryptocurrency company in which he and other Roche
   Freedman attorneys maintain a substantial interest. He states that he has used litigation against
   other participants in the cryptocurrency space to further the interests of Ava Labs. He goes on to
   state that he is Ava Labs’ “crypto expert . . . because I sue half the companies in the space” and
   brags that he has “seen in the insides of every single crypto company.” Mr. Roche describes
   himself in one of the videos as a “crazy mother****er” who will “take you to the end” to get a
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   piece of paper saying “I own your company now,” and describes that “power” as “a tool that has
   not been unlocked by many.”

            Mr. Roche’s statements raise troubling questions about his firm’s use of the discovery
   process in this matter. As the Court is aware, Plaintiffs amended their complaint in June 2020 to
   add the Exchange Defendants. See Dkt. No. 114. The Amended Complaint relies heavily on
   allegations that the B/T Defendants owned or controlled certain accounts on the Exchange
   Defendants’ platforms, including specifically the “1AA6” account on Bittrex and the “1J1d”
   account on Poloniex, incorrectly describing those accounts as the “Bitfinex deposit address(es).”
   Id. at ¶ 207. In response to those allegations, the Exchange Defendants provided Mr. Roche and
   his colleagues conclusive evidence, including a sworn declaration from the actual holder of the
   supposed “Bitfinex deposit address(es),” that the accounts in question are not and never have
   been owned or controlled by the B/T Defendants; instead, they have always been exclusively
   owned and controlled by a foreign arbitrage trader who has no relation to the B/T Defendants.
   The Exchange Defendants have identified that trader, provided sworn testimony from him about
   his arbitrage activities, and produced documents proving that the relevant accounts are—contrary
   to the allegations in the Amended Complaint—not owned or controlled by the B/T Defendants.

           Notwithstanding the arbitrage trader’s sworn testimony about his trading, Plaintiffs say
   that they cannot yet re-evaluate their claims against the Exchange Defendants because “[f]ull
   discovery, from all Defendants, is needed to test the assertions in the Anonymous Declaration.”
   Plaintiffs say that such discovery must include “documents and deposition testimony not only
   from the declarant, but also from the Exchange Defendants, Bitfinex, and their affiliates.”
   Dkt. No. 181 at 2.

           The Exchange Defendants have worked diligently in preparing a substantial production
   of documents to Plaintiffs. 1 Mr. Roche’s recent statements raise serious concerns about the intent
   behind such discovery and how it will be used. While the Exchange Defendants appreciate that a
   protective order has been entered in this matter and that attorneys can be expected to comply
   with such orders, Mr. Roche’s statements make clear that he has already used confidential
   materials produced in litigation for improper purposes. Moreover, the Court previously
   recognized that the protective order is not sufficient protection for certain information
   Defendants have produced. See Dkt. No. 195. Under the circumstances, simply accommodating
   Mr. Roche’s withdrawal is not sufficient. He remains a member of Roche Freedman, and it must
   be assumed that, just as the actions he described in the recently released videos benefited
   Mr. Roche, his firm, and Ava Labs, any further access by Roche Freedman to the highly
   confidential materials produced in this matter may be subject to similar misuse.

          For the above reasons, the Exchange Defendants respectfully join in the B/T Defendants’
   requests that (1) Roche Freedman LLP be terminated as counsel in the matter, and (2) Roche
   1
     Plaintiffs originally proposed nearly 300 search terms to each of the Exchange Defendants, many of
   which related to broad aspects of the cryptocurrency industry but did not appear related to any of the
   claims or defenses in this matter.
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   Freedman LLP be required to certify that is has destroyed all documents produced by the
   Defendants in this matter, and that no such materials remain in the possession, custody, or
   control of any principals, agents, or employees of the firm.

            Given these revelations, the Exchanges Defendants reserve the right to pursue additional
   relief as they obtain more information.


                                                Respectfully,



                                                Gregory J. Hollon
                                                Timothy B. Fitzgerald
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          We write in response to Defendants’ August 31, 2020 letters asking the Court to disqualify
   Roche Freedman LLP (“Firm”) as co-lead counsel for Plaintiffs based on statements made by Kyle
   Roche. We respectfully submit the Court should deny Defendants’ request.

       A. RELEVANT BACKGROUND

           On January 27, 2022, Mr. Roche attended a meeting in London to facilitate a potential
   venture capitalist investment. Mr. Roche believed he was attending that meeting to pursue the
   interests of a technology start-up initiative. But it now appears the meeting was actually a set up
   orchestrated by a defendant in a different class action the Firm is pursing. Roche Decl. ¶ 2.

          Unfortunately, at that meeting, Mr. Roche made untrue statements apparently intended to
   impress the participants at the meeting. He also made inappropriate remarks disparaging jurors
   and class members.

           As demonstrated below, the statements with which Defendants take issue are not just false,
   they are demonstrably false. Nonetheless, to protect against even the appearance of impropriety,
   and to avoid unnecessary distraction from the merits of this case, Mr. Roche has withdrawn from
   this case and the Firm has removed him from its entire class action practice. Mr. Roche has also
   been screened from the Firm’s class actions (this case included). Finally, to ensure there is no
   optical concern whatsoever, Mr. Roche has also forfeited any financial interest in this litigation.

            It’s no surprise, however, that Defendants are using it as a litigation tactic to disqualify the
   entire Firm. The Firm has one of the leading litigation practice groups in this space, understands
   the technology exceptionally well, originated the case theory, was retained by every single client
   in this action, and drafted and filed the original complaint.




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      B. THE STATEMENTS

       1. The Firm did not use this litigation as a strategic instrument to support Ava Labs, did
           not file this action at Ava Labs’ request, and any interest in Ava Labs or AVAX tokens
           doesn’t present a conflict.

          The notion that Roche Freedman decided to pursue this case in order to further the interests
   of Ava Labs is plainly false. First and foremost, the Firm’s retention in this case by the three
   original named plaintiffs - Jason Liebowitz, Benjamin Liebowitz and Aaron Liebowitz - pre-dates
   Ava Lab’s retention of the Firm. Indeed, when the Firm filed the 95-page complaint in this matter,
   Ava Labs had only been a Firm client for a matter of days. Moreover, at that time, Ava Labs was
   a relatively unknown start up and the AVAX crypto-asset was not existent. The idea, therefore,
   that the Firm filed this case for Ava Labs, is both impossible, nonsensical, and untrue.

           In fact, shortly after this incident unfolded, Ava Labs’ CEO issued a statement confirming
   that “[n]either I, nor anyone else at Ava Labs ever directed Roche in his selection of cases.”1

           Further, Defendants’ suggestion that a disqualifying conflict of interest exists owing to the
   fact that some Roche Freedman lawyers own AVAX tokens, or have a personal equity interest in
   Ava Labs, is meritless. The result of this lawsuit would not have any particularized effect on Ava
   Labs or the AVAX crypto-asset. Ava Labs and AVAX do not compete with the Exchange
   Defendants, Tether, Bitfinex, or USDT. In fact, Tether and Bitfinex leverage the AVAX ecosystem
   and support its efforts.2 And the Exchange Defendants facilitate the sale of AVAX on their
   platforms.

           But even if Defendants are competitors of Ava Labs or AVAX (they are not), it does not
   create a disqualifying conflict here. Lawyers that sue Microsoft on behalf of a class do not need to
   disclose that they hold shares in Apple. That’s because “the mere existence of financial or business
   interests does not warrant disqualification.” Power Play 1 LLC v. Norfolk Tide Baseball Club,
   LLC, No. 17CV4831, 2017 WL 5312193, at *4 (S.D.N.Y. Nov. 13, 2017). “Rather, there must be
   a ‘significant risk’ that these interests will ‘adversely affect[ ]’ the lawyer’s exercise of professional
   judgment on behalf of the client.” Id. (citing N.Y. Rule of Prof’l Conduct 1.7(a)(2) (finding that
   even though a lawyer’s financial arrangement simply seemed “unseemly,” the movant failed to
   explain how the lawyer’s “financial and business interests . . . would impair his professional
   judgment or how it was adverse to Defendants’ interests”). Defendants have done nothing to show
   such a “significant risk” exists in this case.

           None of the co-lead counsel in this case is pursuing this litigation for any collateral
   purpose, and there is no basis for that assertion beyond Mr. Roche’s improper and false statements
   (which themselves don’t even specifically reference this case).


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      2. There could not have been, and has not been, any sharing of confidential discovery
          material.

           Defendants’ letter also voices a “concern” that Mr. Roche may be “misusing information
   that he learns through litigation” including information produced in this case. First and foremost,
   Mr. Roche and the Firm can confirm that no confidential discovery material has ever been shared
   with Ava Labs (or any third party). Roche Decl. ¶ 5. Nor would we ever do that.

          Importantly, Mr. Roche’s comments do not actually include a statement that he shared
   confidential discovery materials and he’s explained that is not what he meant. The actual statement
   was:

           because I sue half the companies in the space, I know where the market is going, I
           believe, better than one of the top ten people in the world. I’ve seen the insides of
           every crypto company [video cuts mid-sentence].

          Mr. Roche’s declaration explains that what he intended to convey was that due to the
   numerous suits he has filed in this space, dozens of whistleblowers and other insiders have sent
   him information that has proved useful in pursuing class action claims. Roche Decl. ¶ 6.

        3. Mr. Roche’s comments do not reflect the Firm’s beliefs about jurors, class members,
            or class actions.

            The inappropriate comments Mr. Roche made regarding (i) jurors and class members, and
   (ii) his approach to class actions and intention on how and why to resolve them, do not reflect the
   view of the Firm or any of the other 24 other lawyers practicing at the Firm. Indeed, Mr. Roche
   only made these comments under the influence of alcohol.

           Nonetheless, these statements are one of the reasons he has promptly withdrawn from this
   case, from the Firm’s other class actions, and has been screened from them.

           In sum, none of the alleged factual impropriety that Defendants frame as the foundation
   for their request to disqualify the Firm has actually occurred, and any optical issue should be cured
   based on Mr. Roche’s withdrawal, screening, and forfeiture.

   C.      DEFENDANTS’ PURPORTED CONCERNS ABOUT THE DISCOVERY
           PROCESS DO NOT SUPPORT THE FIRM’S DISQUALIFICATION

          In support of their request to terminate the Firm as co-lead counsel, Defendants argue that
   Mr. Roche’s statements “raise grave concerns . . . regarding the motivations behind filing this
   lawsuit for which discovery has been sought, and whether the highly sensitive, confidential
   information the B/T Defendants have provided is being misused.” This claim cannot be squared
   with Defendants’ later recognition in their letter that Plaintiffs in this action are also represented
   by two other law firms. In other words, even crediting Defendants’ argument that Mr. Roche’s
   statements raise concerns about the motives for initiating this lawsuit, the complaint was also
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   signed by two other law firms who have conducted a good faith inquiry into the merits of this case
   and the claims have already withstood a motion to dismiss.

           The same is true of Plaintiffs’ discovery requests, which Defendants characterize as having
   “no apparent link to the claims and defenses in this lawsuit.” Obviously Plaintiffs’ disagree, but
   more importantly, those discovery requests were reviewed and approved by the two other law
   firms that Defendants’ have already told the Court should remain in the case. We appreciate that
   Mr. Roche’s statements and the ensuing publicity have created a regrettable distraction, but they
   do not provide a basis for the Firm’s disqualification.

           Moreover, to the extent Defendants intend to create a distraction or spend further time on
   this issue, the Firm’s removal from this action will not prevent them from pursuing these efforts.

   D.      THE FIRM’S STATUS AS CO-COUNSEL BENEFITS THE CLASS

        1. RF’s continued participation in this case is in the best interests of the class.

           Roche Freedman’s participation as co-lead counsel will continue to benefit the proposed
   class. The Firm’s lawyers who would remain working on the case include the principal lawyers
   who helped formulate the original complaint, i.e., Vel Freedman and Joseph Delich. In addition to
   those two attorneys, many of the lawyers from the Firm that would remain on this case have the
   most institutional knowledge of the facts and law underlying the case. Their contribution of many
   thousands of hours on the case to date have been invaluable and their removal from the case would
   be detrimental to the class’s interest.

          Finally, these same attorneys are those working on the Firm’s many other crypto-related
   cases and class actions. All of these facts thus stand to continue to benefit the named Plaintiffs and
   the proposed class. The Court carefully appointed three firms to represent the named Plaintiffs,
   considering their respective resources and areas of expertise, and those rationales continue to
   counsel in favor of the three-firm team that has been working effectively to date.

        2. The named plaintiffs request the Firm remain as co-lead counsel.

           The named Plaintiffs request that the Firm remain as co-lead counsel. This is reflected in
   their attached affidavits. Jason Leibowitz Decl.; Benjamin Leibowitz Decl.; Aaron Leibowitz
   Decl.; Matt Script Decl.; Pinchas Goldshtein Decl.

           Having conceived of and filed the lawsuit, the Firm has the original and closest
   relationships with the named Plaintiffs. These Plaintiffs understand the relevant facts, have
   reviewed the videos, read both letters from Defendants, and are adamant the Firm remain on the
   case. They all state that they do not believe or see how they, or the class, would benefit from
   removing the Firm’s crypto-related expertise from the current team of lawyers that have been
   diligently prosecuting the case.


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          Moreover, they have all signed declarations stating that they “have never heard or seen
   anything that would in anyway support the concerns raised by the Defendants.” and that “RF has
   only ever been concerned about the best interests of the class.”

           These individuals have already dedicated a substantial amount of their time and energy to
   the case, and they intend to remain as lead Plaintiffs. Accordingly, we respectfully submit that
   their views are entitled to significant weight and their opinions should be considered by the Court.

                                                *****
           We note that what is in the best interests of the proposed class in this case overlaps with
   what the Firm believes is fair and equitable under the circumstances. In speaking as he did, Mr.
   Roche engaged in a serious lapse of judgment. However, the extreme remedy of disqualifying the
   entire Firm, which would have the effect of punishing all of the Firm’s lawyers for Mr. Roche’s
   lapse in judgment (which amounts to statements that were either untrue or misunderstood), seems
   disproportionate and unwarranted.

          Finally, to the extent the Court is considering a formal request to disqualify Roche
   Freedman from this matter, we respectfully request that the Court first schedule a conference to
   address these issues and allow the Firm to submit additional evidence to address any specific
   concerns that the Court may have.

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                   I have reviewed the videos referenced by the Defendants in this action. Those

    videos were illegally taken without my knowledge or consent during meetings that occurred in in

    London on January 27, 2022. I was invited to London under the false pretense of pitching a venture

    capital investment, but I now understand that the real reason I was brought there was through a

    scheme that was executed by a defendant in a different lawsuit the Firm recently filed. The purpose

    of this scheme was to surreptitiously obtain comprising recordings of me. 

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   September 2, 2022

   Via ECF and E-mail

   The Honorable Katherine Polk Failla
   U.S. District Court Southern District of New York
   40 Foley Square, Room 2103
   New York, NY 10007

   Re:    In re Tether and Bitfinex Crypto Asset Litigation, 19-cv-09236 (KPF)

   Dear Judge Failla:

            Selendy Gay Elsberg PLLC (“Selendy Gay Elsberg”) and Schneider Wallace Cottrell
   Konecky LLP (“Schneider Wallace”) write in their capacity as interim class counsel, and specifi-
   cally not on behalf of the named plaintiffs, in response to the letter dated September 2, 2022, by
   Roche Freedman LLP (“Roche Freedman”), ECF No. 232. The named plaintiffs have all reviewed
   this letter and stated that they disagree with its content and recommendation; in short, the named
   plaintiffs express a strong preference that Roche Freedman remain in the case. 1 Undersigned coun-
   sel nevertheless believe they have a duty to the Court and the putative class to inform the Court of
   their views. See Fed. R. Civ. P. 23(g)(3) (stating interim class counsel is appointed to “act on behalf
   of a putative class.”).

           As explained below, Selendy Gay Elsberg and Schneider Wallace believe that Roche
   Freedman’s continued involvement in the litigation is not in the best interests of the class. Accord-
   ingly, we respectfully request that the Court terminate Roche Freedman’s status as interim co-lead
   counsel. Selendy Gay Elsberg and Schneider Wallace are ready and willing to continue represent-
   ing the class as interim co-lead counsel.

           Selendy Gay Elsberg and Schneider Wallace became aware of video recordings of Kyle
   Roche, a founding partner of Roche Freedman, when they were published online on August 26,
   2022. 2 In the recordings, Mr. Roche makes statements regarding the blockchain industry and his
   approach to class action litigation. On August 31, 2022, Mr. Roche (though not Roche Freedman)
   filed a motion to withdraw as counsel. ECF No. 229. Later that day, the B/T Defendants submitted




   1
    Selendy Gay Elsberg and Schneider Wallace were not aware of the affidavits of the class repre-
   sentatives until they were filed as exhibits to Roche Freedman’s letter. See ECF Nos. 232-2–232-
   6. Although Selendy Gay Elsberg and Schneider Wallace respect the opinions expressed in those
   affidavits, they believe their duty as interim class counsel is to “the interests of the class” as a
   whole. See Fed. R. Civ. P. 23(g)(4).
   2
    See Ava Labs (Avalanche) Attacks Solana & Cons SEC in Evil Conspiracy with Bought Law Firm,
   Roche Freedman, CRYPTO LEAKS (Aug. 26, 2022), available at https://cryptoleaks.info/case-no-3.
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   a letter asking the Court to terminate Roche Freedman as counsel for the class. ECF No. 230. The
   Exchange Defendants filed a letter on September 1, joining this request. ECF No. 231. 3

           Given the content of the recordings—and the fact that Mr. Roche, in an August 29, 2022
   public response, did not deny the recordings’ authenticity 4—Selendy Gay Elsberg and Schneider
   Wallace asked Roche Freedman to withdraw as counsel to protect the interests of the class. Roche
   Freedman declined to withdraw.

           Selendy Gay Elsberg and Schneider Wallace are not able to evaluate the credibility of
   Roche Freedman’s statements concerning Ava Labs, AVAX tokens, or Mr. Roche’s position at his
   firm or his financial interest in this litigation. However, Roche Freedman’s continued involvement
   as counsel in the case is contrary to the best interests of the class. Roche Freedman’s continued
   representation of the class would likely spawn significant discovery and motion practice as to the
   veracity and/or import of the allegations. These issues are likely to unnecessarily distract from the
   merits of this dispute, and can be avoided by the removal of Roche Freedman as class counsel.

           Selendy Gay Elsberg and Schneider Wallace are both experienced and capable class coun-
   sel, with expertise in litigation concerning digital assets, and will continue to prosecute this action
   on behalf of the class as interim co-lead counsel. For example, Selendy Gay Elsberg has been
   appointed as co-lead counsel in numerous class actions in this district where the plaintiffs’ allega-
   tions involve the technical details of dozens of different crypto-assets.

          To protect the interests of the putative class, we respectfully request that the Court termi-
   nate Roche Freedman’s appointment as interim co-lead counsel.




   3
     Selendy Gay Elsberg and Schneider Wallace disagree with Defendants’ claims that Plaintiffs
   have sought “information that has no apparent link to the claims and defenses in this lawsuit,” ECF
   No. 230 at 2, or which “related to broad aspects of the cryptocurrency industry but did not appear
   related to any of the claims or defenses in this matter,” ECF No. 231 at 2 n.1. Rather than air that
   dispute here, Plaintiffs will continue to meet and confer with Defendants in an effort to resolve
   any remaining discovery issues without Court intervention. See ECF No. 228 at 2.
   4
       https://medium.com/@kyleroche/my-response-b691563c255b
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          Respectfully submitted,

      /s/ Caitlin Halligan                           /s/ Todd M. Schneider
      Philippe Z. Selendy                            Todd M. Schneider (pro hac vice)
      Caitlin Halligan                               Jason H. Kim (pro hac vice)
      Andrew R. Dunlap                               Matthew S. Weiler (pro hac vice)
      SELENDY GAY ELSBERG PLLC                       SCHNEIDER WALLACE COTTRELL
      1290 Sixth Avenue                              KONECKY LLP
      New York, NY 10104                             2000 Powell Street, Suite 1400
      pselendy@selendygay.com                        Emeryville, CA 94608
      challigan@selendygay.com                       tschneider@schneiderwallace.com
      adunlap@selendygay.com                         jkim@schneiderwallace.com
                                                     mweiler@schneiderwallace.com

                         Interim Lead Counsel and Attorneys for Plaintiffs and the Proposed Class




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                                                               IN THE CIRCUIT COURT FOR THE
                                                               15TH JUDICIAL CIRCUIT IN AND FOR
                                                               PALM BEACH COUNTY, FLORIDA

        Ramona Ang, as trustee of the                          CASE NO: 50-2021-CA-004758-XXXX-MB
        Tulip Trust,

               plaintiff,

                    v.

        Ira Kleiman, as personal representative
        of the Estate of David Kleiman

               defendant,

        and

        W&K Info Defense Research, LLC,
        and Lynn Wright,

               nominal defendants.


         TULIP TRUST’S FIRST REQUEST FOR ADMISSIONS TO ROCHE FREEDMAN, LLP

               Plaintiff Ramona Ang, as trustee for Tulip Trust, under Fla. R. Civ. P. 1.370, request that

        Roche Freedman, LLP admit or deny each of the requests set forth below within 30 days.

                                             I.      INSTRUCTIONS

               A.        As to each statement, you shall specifically admit or deny the statement. If denied,

        the denial must fairly meet the substance of the requested admission. If you qualify your answer

        or deny any part of the matter for which admission is requested, you shall admit so much of the

        statement as is true and qualify or deny the remainder.

               B.        If you object that a term or phrase is vague or ambiguous, you shall respond with

        its understanding of the term or phrase and specifically admit or deny the statement.
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                                        II.     DEFINITIONS

          A.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

   Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

   consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.

          B.      The term “tokens” shall mean digital assets that are used as currency.

          C.      The term “MOU” shall refer to the Memorandum of Understanding dated

   December 27, 2019, and signed by the then-partners of RF.

          D.      The term “Gun” shall refer to Emin Gun Sirer.

          E.      The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

                               III.    REQUESTS FOR ADMISSION

      1. Admit that Kyle Roche made the statements recorded in the videos found at
         https://cryptoleaks.info/case-no-3.

      2. Admit that the video recorded statements found at https://cryptoleaks.info/case-no-3
         made by Kyle Roche were true.

      3. Admit that RF has represented Ava Labs.

      4. Admit that RF owns approximately 1% of the shares in Ava Labs.

      5. Admit that Ava Labs is an undisclosed principal of RF.

      6. Admit that the MOU addresses how Ava Labs tokens will be distributed between the
         partners of RF.

      7. Admit that Kyle Roche made a deal with Gun, whereby RF would provide legal services
         in exchange for a certain percentage of the token supply.

      8. Admit that Kyle Roche was the second person listed on the Ava Labs capitalization table.

      9. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ equity.

      10. Admit that Kyle Roche obtained approximately one percent of Ava Labs’ tokens.

      11. Admit that Kyle has used litigation as a strategic instrument to support Ava Labs.



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      12. Admit that RF has used litigation as a strategic instrument to support Ava Labs.

      13. Admit that Ava Labs made Kyle Roche an equity partner in appreciation for his use of
          litigation to as a strategic instrument for Ava Labs.

      14. Admit that your lawsuits against blockchain companies or entities has enabled you to see
          inside their operations.

      15. Admit that you sue blockchain companies or entities to be able to see inside their
          operations.

      16. Admit that you sue blockchain companies or entities to be able to learn their secrets.

      17. Admit that you sued Emre Aksoy at Gun’s behest.

      18. Admit that you consider Dr. Craig Wright to be Gun’s archnemesis.

      19. Admit that you sued Dr. Craig Wright to please Gun.

      20. Admit that you sued Dr. Craig Wright to devalue Bitcoin Satoshi Vision.

      21. Admit that you sued Dr. Craig Wright to “take him down.”

      22. Admit that the breach of partnership claims against Dr. Craig Wright were a mere pretext
          for a lawsuit designed to vindicate Gun’s personal vendetta.

      23. Admit that you do not care about settling lawsuits.

      24. Admit that you would rather win a $100 million judgment for your client and get good
          press, than settle for $500 million.

      25. Admit that you have shared with Ava Labs non-public information that you learned about
          its competitors.

      26. Admit that you sue blockchain companies or entities to be able to learn their secrets.

                                                       Respectfully Submitted,


                                                       RIVERO MESTRE LLP
                                                       Attorneys for Tulip Trust
                                                       2525 Ponce de Leon Blvd., Suite 1000
                                                       Miami, Florida 33134
                                                       Tel.: (305) 445-2500
                                                       Fax: (305) 445-2505

                                                       By: /s/ Andrés Rivero
                                                         Andrés Rivero


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                                                             Florida Bar No.: 613819
                                                             arivero@riveromestre.com
                                                             Alan H. Rolnick
                                                             Florida Bar No.: 715085
                                                             arolnick@riveromestre.com
                                                             Robert J. Kuntz, Jr.
                                                             Florida Bar No. 94668
                                                             rkuntz@riveromestre.com


                                    CERTIFICATE OF SERVICE

          I certify that on September 14, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                                                            IN THE CIRCUIT COURT FOR THE
                                                            15TH JUDICIAL CIRCUIT IN AND FOR
                                                            PALM BEACH COUNTY, FLORIDA

        Ramona Ang, as trustee of the                       CASE NO: 50-2021-CA-004758-XXXX-MB
        Tulip Trust,

               plaintiff,

                   v.

        Ira Kleiman, as personal representative
        of the Estate of David Kleiman

               defendant,

        and

        W&K Info Defense Research, LLC,
        and Lynn Wright,

               nominal defendants.


                            TULIP TRUST’S FIRST REQUEST FOR
                    PRODUCTION OF DOCUMENTS TO ROCHE FREEDMAN, LLP

               Plaintiff Ramona Ang, as trustee for Tulip Trust, under Fla. R. Civ. P. 1.350, request that

        Roche Freedman, LLP produce the requested documents for inspection and copying on or before

        30 days from the date of this request.

                                                            Respectfully Submitted,


                                                            RIVERO MESTRE LLP
                                                            Attorneys for Tulip Trust
                                                            2525 Ponce de Leon Blvd., Suite 1000
                                                            Miami, Florida 33134
                                                            Tel.: (305) 445-2500
                                                            Fax: (305) 445-2505

                                                            By: /s/ Andrés Rivero
                                                              Andrés Rivero
                                                              Florida Bar No.: 613819
                                                              arivero@riveromestre.com
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                                                             Alan H. Rolnick
                                                             Florida Bar No.: 715085
                                                             arolnick@riveromestre.com
                                                             Robert J. Kuntz, Jr.
                                                             Florida Bar No. 94668
                                                             rkuntz@riveromestre.com

                                    CERTIFICATE OF SERVICE

          I certify that on September 14, 2022, a copy of this motion was served by email, pursuant to

   Florida Rule of Judicial Administration 2.516(b)(1), on all counsel of record.

                                                          By: /s/ Andrés Rivero
                                                            ANDRES RIVERO




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                                          I.      DEFINITIONS

           A.      The word “document” shall mean any written or graphic matter or other means of

   preserving thought or expression, and all tangible things from which information or thoughts can

   be processed or transcribed, and all copies containing additional matter, however produced or

   reproduced, of any kind and description, in your actual or constructive possession, custody, care,

   or control, that pertain directly or indirectly, in whole or in part, either to any of the subjects

   listed below or to any other matter relevant to this action, or which are themselves listed below

   as specific documents, including, but not limited to, the following: communications,

   correspondence, memoranda, notes, messages, letters, telegrams, teletype messages, facsimiles,

   e-mails, bulletins, diaries, chronological data, minutes, books, reports, charts, ledgers, invoices,

   worksheets, receipts, computer memory, word processing data, computer printouts, work-product

   schedules, account records, patents, licenses, legal pleadings, minutes of directors’ meetings,

   minutes of shareholders’ or other meetings, work assignments, transaction files, statistical

   records, financial records, bank records, security agreements, testing reports, newspaper or

   magazine articles, stories or clippings, affidavits, contracts, transcripts, surveys, graphic

   representations of any kind, photographs, graphs, microfilms, videotapes, tape recordings, or

   motion pictures or other films, or information maintained in any electronic medium (including,

   but not limited to, information found in computer hard drives, flash drives, USB drives, pocket

   drives, CDs, backup tapes, metadata, and pdf).

           B.      “Relating to” and “related to” shall mean the following: relates to, refers to,

   pertains to, contains, concerns, describes, embodies, mentions, constitutes, supports,

   corroborates, demonstrates, proves, evidences, shows, refutes, disputes, rebuts, controverts, or

   contradicts.




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          C.      The term “Gun” shall refer to Emin Gun Sirer.

          D.      The term “Ava Labs” shall refer to Ava Labs, Inc., a Delaware Corporation whose

   principal place of business is 263 S. 4th St. Brooklyn NY, NY 11211.

          E.      The term “Avalanche” shall refer to Ava lab’s contracting platform.

          F.      The term “Sekniqi” shall refer to Kevin Sekniqi.

          G.      The terms “RF,” “you,” “your,” “yours,” or “yourself” shall refer to Roche

   Freedman, LLP, including, but not limited to, any attorney, accountant, contractor, employee, or

   consultant affiliated with RF, and any person or entity acting or purporting to act on RF’s behalf.

          H.      The term “MOU” shall refer to the Memorandum of Understanding dated

   December 27, 2019, and signed by the then-partners of RF.

                                       II.     INSTRUCTIONS

          1.      You should produce the documents as follows: (1) in the exact order in which

   they are kept in the ordinary course of business; or (2) classified according to the specific

   request(s) to which they are responsive.

          2.      To the extent that you do not have possession, custody, or control of any

   documents identified as responsive to a particular request herein, please indicate the lack of

   possession, custody, existence, or control of the responsive documents in your response.

          3.      All electronic documents and e-mail are requested to be produced in electronic

   format by a forensically sound method, with all original metadata preserved and intact.

          4.      ESI should be produced as follows:

                  a.      Email, instant messaging, calendar, contacts, and word processing files

                          must be derived from the original electronic media and converted to

                          single-page .tiff images with accompanying system metadata (e.g., author,




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                         recipient(s), “cc” recipient(s), “bcc” recipient(s), date and time of creation

                         and receipt, date and time of modification, etc.) and substantive metadata

                         (e.g., the substance of the changes, etc.), with all attachments. All

                         chronological metadata shall be standardized to Eastern Standard Time.

                         The Plaintiffs reserve the right to request native format production for ESI.

                         Upon such request, you shall produce specific documents (identified by

                         Bates number or range) in original native electronic format.

                  b.     Dynamic files (e.g. databases, spreadsheets, project files, etc.) shall be

                         produced in original native format with all accompanying metadata, along

                         with all such software necessary to interpret the produced information if

                         such software is not readily commercially available.

                  c.     For all ESI not specified above, production shall be made in native format

                         with all accompanying metadata, along with all software necessary to

                         interpret the produced information if such software is not readily

                         commercially available, unless Plaintiffs specifically agree to a different

                         form of production.

          5.      This Request for Production of Documents does not seek the production of

   documents protected by the attorney-client privilege or work-product rule. However, if you

   withhold production of a document requested here as privileged, work product or on any other

   basis, please state the following in a privilege log for each document withheld:

                  a.     the type of document (e.g., correspondence, memorandum, e-mail);

                  b.     the date of the document;

                  c.     the person(s) who signed the document;




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                  d.      the person(s) who received the document or a copy of it;

                  e.      the reason for non-production; and

                  f.      the substance of the document.

          6.      If any document requested here was previously in your possession, custody, or

   control, but is no longer, state the following for each document in your response to this request

   for production of documents:

                  a. the type of document (that is, correspondence, memorandum, e-mail, etc.);

                  b. the date of the document;

                  c. any person who signed the document;

                  d. any person who received the document or a copy of it;

                  e. any person who is presently in possession of the document;

                  f. the substance of the document; and

                  g. the disposition of the document, including the date of disposition.

                                III.    DOCUMENTS REQUESTED

      1. All documents related to RF’s ownership interest in Ava Labs.

      2. All documents related to RF’s ownership interest in Ava Labs’ tokens.

      3. All documents related to the MOU.

      4. All documents related to RF’s engagement agreement with Ava Labs.

      5. All documents related to Kyle Roche’s ownership interest in Ava Labs.

      6. All documents related to RF’s ownership interest in Avalanche.

      7. All documents related to Kyle Roche’s ownership interest in Avalanche.

      8. All documents related to Gun’s ownership interest in RF.

      9. All documents related to Sekniqi's ownership interest in RF.




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      10. All documents related to “shared workspace” between or among RF, Ava Labs, or
          Avalanche.

      11. All documents related to any lease executed by RF for the “shared workspace” referred to
          in Request 10.

      12. All documents related to any lease executed by the Ava Labs for the “shared workspace”
          referred to in Request 10.

      13. All documents related to “academic writings” in your possession authored by either you,
          Gun, or both.

      14. All documents related to Ava Labs’ capitalization tables on which Kyle Roche’s name
          appears.

      15. All documents related to Ava Labs capitalization tables on which any member of RF
          appears.

      16. All documents related to RF’s use of straw plaintiffs to bring actions on behalf of Ava
          Labs in which Ava Labs did not appear.

      17. All documents related to RF’s communications with the Securities and Exchange
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      18. All documents related to RF’s communications with the Commodities Futures Trading
          Commission in which you attempted to direct regulator attention toward an Ava Labs’
          competitor.

      19. All documents related to Kyle Roche’s residence in Florida for tax purposes.




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  1    UNITED STATES DISTRICT COURT
       SOUTHERN DISTRICT OF NEW YORK
  2    ------------------------------x

  3    IN RE TETHER AND BITFINEX
       CRYPTO ASSET LITIGATION,
  4
                                         19 Civ. 9236 (KPF)
  5
                                         Decision
  6    ------------------------------x
                                         New York, N.Y.
  7                                      October 13, 2022
                                         2:15 p.m.
  8
       Before:
  9
                                         HON. KATHERINE POLK FAILLA,
10
                                         District Judge
11

12                                                  APPEARANCES

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  1               (The Court and all parties present remotely)

  2               THE COURT:      The case has been called.      I'm not going

  3    to ask the parties to identify themselves because I'm aware

  4    that my deputy has already taken appearances.

  5               I am now going to be giving an oral decision on the

  6    applications regarding Mr. Roche and the Roche Freedman firm,

  7    and I'm going to ask you all, please, to mute your phones as I

  8    do so, so that there aren't interruptions once I begin.           I'll

  9    give you a second or two to mute your phones at this time.

10                Now I will begin.

11                As always, I thank you, those of you who have given me

12     written and oral submissions on these points, and I do

13     genuinely and sincerely appreciate your giving me some

14     opportunities, some time, to consider what was said at the

15     October 3 oral argument and to reflect on what I think is a

16     very serious issue.        For the reasons that I am about to

17     outline, I am modifying my order appointing interim class

18     counsel to remove the Roche Freedman firm from that class

19     counsel.

20                This decision does not require extensive citation to

21     cases.    Unlike Roche Freedman's framing of the issue as one of

22     disqualification of a firm, I find that this dispute actually

23     arises under Federal Rule of Civil Procedure 23(d)(2), which

24     allows an order under Rule 23(d)(1) to be altered or amended

25     from time to time and to be combined with an order under


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  1    Rule 16.

  2               The order in question is my February 27, 2020, order

  3    by way of minute entry appointing lead plaintiff and interim

  4    class counsel, and it is the latter portion that I am being

  5    asked to revisit.     I have considered the views of the named

  6    plaintiffs in this case.      They are the putative class

  7    representative, but, ultimately, I conclude that their

  8    preferred counsel structure is not in the best interests of the

  9    class, and of course, if that causes any of the plaintiffs, the

10     named plaintiffs, to wish to exit the case, I will hear from

11     them when it is appropriate to do so.

12                But before I get to the legal analysis, I do want to

13     spend a moment on the reasons why I am revisiting my prior

14     order, and this is not to beat the proverbial dead horse, but

15     rather just to provide a factual framework for my decision.

16                In January of 2022, nearly two years after my

17     appointment of an interim class counsel team that included the

18     Roche Freedman firm and before the production of discovery in

19     this case, one of the principals at the Roche Freedman, Kyle

20     Roche, made a series of ill-advised comments suggesting, if not

21     asserting, his close ties to and financial interest in Ava

22     Labs, a research and development company that is involved in

23     developing the Avalanche platform and the AVAX cryptocurrency,

24     as well as Mr. Roche's strategic deployment of class action

25     litigation to aid Ava Labs both by focusing regulators on Ava's


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  1    competitors and on obtaining confidential information

  2    concerning those competitors through the class action process.

  3               Mr. Roche claims that the video recordings of these

  4    statements are highly edited and taken out of context, that he

  5    was set up by a competitor, and that he was inebriated at the

  6    time he made the statements.       All of that notwithstanding,

  7    Mr. Roche has moved to withdraw from representing the class

  8    plaintiffs in this case.      The Roche Freedman firm has

  9    represented that it will or has walled him off financially from

10     receiving any fees from this case, and Mr. Roche is not

11     currently involved with the firm's plaintiff-side crypto-asset

12     class action practice.

13                Roche Freedman has suggested that this is sufficient

14     to allow them to remain on as one of the three interim class

15     counsel.    Their cocounsel, as well as defendants' counsel, and

16     an earlier contender for interim class counsel all disagree.

17                In an early effort to frame this issue, I considered

18     whether the factual bases for my decision to include Roche

19     Freedman in the trio of law firms appointed as interim class

20     counsel has changed.      That answer is an easy, indisputable yes.

21                At the February 24, 2020, oral argument, it was

22     Mr. Roche that I heard from first who began by explaining his

23     firm's expertise in the crypto-asset space, and in so doing

24     countering the position offering by the competing Robbins

25     Geller firm regarding the appropriate definition of the class.


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  1               Ms. Halligan then came in to explain the selling

  2    points of each firm and, more to the point, why I should

  3    appoint all three of them.      Roche Freedman for their -- her

  4    words, not mine -- unparalleled expertise in cryptocurrency;

  5    Schneider Wallace for their class action experience; and what

  6    was, I believe, then the Selendy & Gay firm, it's now Selendy

  7    Gay & Elsberg, for their experience with complex litigation and

  8    state law claims.

  9               Mr. Roche and Ms. Halligan's arguments convinced me to

10     appoint the three firms as interim class counsel despite my

11     initial expressed hesitancy to do so.

12                In my oral decision, which I believe was issued

13     February 27 of 2020, I remarked, and I'm quoting here, that

14     "what interests me about this case is that it is an interesting

15     combination of old and new.       The cryptocurrency laws is quite

16     novel and lots of issues and not a lot of resolution, but there

17     is a lot of established law out there with respect to the

18     pleading requirements, with respect to traditional antitrust

19     issues and RICO and the Commodities Exchange Act."

20                I included the Roche Freedman to address the novel

21     legal issues that were expected to arise.         I did so based

22     largely on the oral advocacy and anticipated involvement of

23     Mr. Roche, and he is no longer involved in the litigation.

24                But that analysis, while accurate, is also a bit

25     facile.    We are more than two and a half years removed from my


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  1    order appointing interim class counsel, and I daresay that we

  2    all know more about crypto-assets, crypto exchanges,

  3    stablecoin, and crypto commodities than we did when this

  4    litigation began.     That said, Mr. Freedman, from the Roche

  5    Freedman firm, has forcefully argued that the firm still has a

  6    leg up on their cocounsel when it comes to this particular area

  7    of the law.

  8               On the other side of the equation is the additional

  9    litigation that would ensue if the Roche Freedman firm were to

10     remain in the case.     Defense counsel has made it clear that

11     there will be additional litigation both during the discovery

12     phase if Roche Freedman continues to have access to materials

13     produced by the defendants under the protective order, and then

14     later in connection with the class certification stage.

15                I want to be clear, or I should say that I'm not

16     optimistic that discovery will be entirely free from disputes

17     if Roche Freedman is out of the case, particularly given the

18     disputes I've already resolved.       But I do acknowledge that

19     there will be additional litigation if and because the firm

20     remains in the case.

21                The question here distills to what counsel structure

22     is in the best interests of the putative class, and to me that

23     further distills to whether the incremental benefits of Roche

24     Freedman remaining as interim class counsel in terms of their

25     institutional knowledge and their expertise in one of the


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  1    substantive areas of the law implicated by the case outweigh

  2    the additional litigation burdens occasioned by their

  3    involvement.    Ultimately, I find that the burdens outweigh the

  4    benefits.

  5               For starters, we are two years into this litigation.

  6    Everyone has benefited from the on-the-job instruction we've

  7    received on crypto-assets and crypto exchanges.          And as a

  8    result, I believe that the Selendy and the Schneider firms are,

  9    or quickly can be, up to speed on that area of the law.

10     Further, I believe that they already have superior expertise in

11     other areas of the law implicated by this litigation, including

12     the Sherman Act, the Commodities Exchange Act, common law

13     fraud, and issues of class action certification.          So in

14     consequence, I find that the putative class will not suffer any

15     loss in the quality of their representation if the Roche

16     Freedman firm is discontinued as interim class counsel.

17                Now, just to amend what I've just said, I said we're

18     two years into this litigation.       I think we're closer to three.

19     We've been in this litigation for several years.          Let me look

20     at the converse position, though.

21                The parties have been fighting since long before

22     Mr. Roche's disclosures were made.        I am concerned that

23     establishing another front for the parties' disputes will

24     derail this litigation.      What is more, I cannot be sure at this

25     time of the size of this new front.        So in this regard, I don't


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  1    share Mr. Normand's view expressed in oral argument that this

  2    additional litigation would be but a brief distraction and not

  3    disabling.    These ancillary disputes will extend this

  4    litigation, they cannot be dismissed summarily, and I don't

  5    think that it's in the best interests of the class if they

  6    persist.

  7               Related to this point is my concern that Mr. Roche's

  8    problems will extend to others at his firm or will otherwise

  9    adversely impact the case before me.

10                Now, this is almost certainly a consequence of the

11     recency of these disclosures, but the fact is we, or anyone,

12     had not yet gotten to the bottom of the relationship that

13     Mr. Roche has or had with Ava Labs and, by extension, whether

14     the litigation strategies suggested in his recorded comments

15     were implemented by him with respect to Ava Labs or other

16     clients of the firm or by others at the firm.

17                It is too easy to say that Mr. Roche was drunk and

18     stupid.    His statements were coherent and logical and too

19     detailed for me to dismiss out of hand.        Roche Freedman has

20     offered a number of arguments seeking to mitigate or

21     contextualize these statements, but largely they do not

22     succeed.    For example, the firm asserts that their involvement

23     in the instant litigation, or their decision to bring the

24     instant litigation, predates the formation of or certainly the

25     retention by Ava Labs, and that may be.        But Mr. Roche's


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  1    comments did not suggest that his strategic use of class action

  2    litigation only came into existence after his dealings with Ava

  3    Labs.   Similarly, even if I accept Roche Freedman's arguments

  4    that the defendants in this litigation are not competitors of

  5    Ava Labs, I cannot say that Mr. Roche's professed class action

  6    litigation strategy was limited to that one client.

  7               Furthermore, given what Mr. Roche did say on the

  8    point, I am not comforted by the fact that he did not

  9    specifically say in the recordings that he shared confidential

10     materials produced in discovery in this case.         And I completely

11     reject the counterargument that removing the Roche Freedman

12     firm as interim class counsel would somehow incentivize

13     misconduct by defense attorneys.

14                Nor am I persuaded after reading and considering

15     Mr. Roche's declaration that he didn't capitalize on synergies

16     between this litigation and the interests of other Roche

17     Freedman clients.     To begin, I currently don't accept his

18     current explanation that he was merely referring to

19     whistleblowers or insiders, given the comments that were made.

20                More fundamentally, the issues created by -- for

21     Mr. Roche by these disclosures are evolving.         They clearly

22     extend beyond this case.      I have only limited visibility into

23     these issues, and I will not make findings about what

24     Mr. Roche did or did not do or meant or did not mean based on a

25     two-and-a-half page declaration without a more extensive


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  1    investigation.

  2               Now, to be clear, I acknowledge that there is a

  3    difference between Mr. Roche and the Roche Freedman firm, but

  4    at this point in time, I have concerns about the firm as well.

  5    I acknowledge that similar disclosures haven't been made about

  6    other lawyers at the firm, but it remains the case that one of

  7    the two named partners at the firm, and the very person who

  8    persuaded me to add the Roche Freedman firm to the interim

  9    class counsel team, touted a theory of class action litigation

10     that I believe amounts to improper purposes.

11                If Mr. Roche's boasts are true -- and, again, I can't

12     reject them out of hand -- then it would actually surprise me

13     if such an ethos were limited to Mr. Roche alone.          In any

14     event, the degree to which the Roche Freedman firm has

15     attempted to minimize Mr. Roche's statements gives me concern

16     that they don't appreciate the seriousness of those statements,

17     and I've already explained the dim view with which I hold the

18     firm's arguments in mitigation.

19                I want now to return to my earlier point, and that is

20     that allowing the Roche Freedman firm to continue as interim

21     class counsel with the metaphorical baggage they now carry is

22     not in the best interests of the class.        Put somewhat

23     differently, I see this as a case of subtraction by addition,

24     wherein three law firms will have a more difficult time

25     litigating this case than two law firms because of the


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  1    aftershocks of Mr. Roche's comments.

  2               And to repeat, I do not believe that the class will

  3    suffer any diminution in their representation if the Selendy

  4    and the Schneider firms remain, and for all of these reasons, I

  5    am amending my prior order to remove Roche Freedman as interim

  6    class counsel.

  7               There is one related issue to address, and that is

  8    that the Kirby Radice team of attorneys argued that the best

  9    course of action here was to start with a clean slate, whereby

10     the Kirby and Radice firms would take over at interim class

11     counsel and, if and as appropriate, new class plaintiffs could

12     be substituted in.

13                While I have given this option consideration, serious

14     consideration, I have ultimately rejected it.         We are too many

15     years into this litigation to switch horses entirely, and I see

16     nothing to suggest that the Selendy and the Schneider firms

17     have comparable issues that would impact their ability to

18     represent the putative class adequately.         So the Selendy and

19     the Schneider firms will remain interim counsel.

20                In short, I am granting Mr. Roche's earlier motion to

21     withdraw because I don't believe I have done that.          I am

22     modifying my prior order to remove Roche Freedman as one of the

23     three interim class counsel.       To the extent appropriate, I will

24     direct Roche Freedman to withdraw from any relevant protective

25     order entered in this case and to return any confidential


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  1    materials that are covered by that agreement.

  2               That is my decision in this case.       I thank you all for

  3    listening to it, and I appreciate your allowing me to give it

  4    as an oral decision rather than a written.

  5               I wish you, your families, and your clients continued

  6    safety and good health in this pandemic.

  7               We are adjourned.    Thank you.

  8               (Adjourned)

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                   &YIJCJUE
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                                                      %* (+ *&+(*&(*
                                                       *!+  # (+ * %%&(
                                                    '#$&+%*/#&( 
                                                    
       ($&%%0B*ADBC44>5C74*D;8?          )%&       ....$
       *ADBC                                       
                                                    
               ';08=C855                           
                                                    
       E                                            
                                                    
         ("# $%0B'4AB>=0;(4?A4B4=C0C8E4     
       >5C74BC0C4>50E83";48<0=              
                                                    
               454=30=C                           
                                                    
       0=3                                          
                                                    
       -" %&%)()(##              
       0=3#/%%-( *                             
                                                      
               %><8=0;454=30=CB 
       
   
   
                     
                          
                                                    
           'DABD0=CC>;>A830(D;4B>58E8;'A>243DA4    0=3  %>='0ACH(>274

   A443<0=##'J(K1H0=3C7A>D678CBD=34AB86=432>D=B4;74A41HA4B?>=3B0=3>1942CBC>

   *D;8?*ADBCLB8ABC(4@D4BC5>A3<8BB8>=B30C43)4?C4<14A        C74J(4@D4BCBK0=340270

   J(4@D4BCK0B5>;;>FB

                                         

                  (8B=>C0?0ACHC>C78B02C8>=0=3C74A45>A470B=>>1;860C8>=D=34AC74;>A830

   (D;4B>58E8;'A>243DA4>AD=34A;>A830;0FC>A4B?>=3C>A4@D4BCB5>A03<8BB8>=B4AE43?DABD0=C

   C>;>A830(D;4>58E8;'A>243DA4  




                                                    
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                  $B  =6LB 38B2>E4AH A4@D4BCB B44: 8=5>A<0C8>= C70C 8B =>C 4E4= 2>=248E01;H

   A4;4E0=C  4A A4@D4BCB 0A4 5A8E>;>DB 0=3 0??40A C> 70E4 144= <034 4=C8A4;H 5>A ?DA?>B4B >5

   70A0BB8=6(0=38CB2;84=CB (A4B4AE4BC74A867CC><>E45>A0?A>C42C8E40=3C>B44:B0=2C8>=B

   0608=BC$B =60=374A2>D=B4; 

                 *>C744GC4=C(A4B?>=3BC>0(4@D4BCC70CA4B?>=B4B70;;141H0=3>=1470;5>5

   (0=3F8;;14;8<8C43C>8=5>A<0C8>=2DAA4=C;H0E08;01;4C>8C 

                 *74B4A4B?>=B4BA45;42C(LB?A4B4=C:=>F;43648=5>A<0C8>=0=314;8450=3

   C74A45>A4A4<08=BD1942CC>270=64>A<>385820C8>=10B43>=5DAC74A38B2>E4AH>5502CB>A

   28A2D<BC0=24BC70C<0H2><4C>(LB0CC4=C8>= (A4B4AE4BC74A867CC>A4;H>=0=H502CB

   3>2D<4=CB4E834=24>A>C74A2>=C4=C8>=BC70C<0H34E4;>?>A2><4C>8CB0CC4=C8>=0C0;0C4A

   C8<40=3C>BD??;4<4=C>A0<4=3C74A4B?>=B4B0C0=HC8<4?A8>AC>C74CA80;8=C78B02C8>= (

   5DAC74AA4B4AE4BC74A867CC>A08B40=H0338C8>=0;>1942C8>=B344<43=424BB0AH>A0??A>?A80C48=

   ;867C>50=H5DAC74AA4E84F 

                 =HA4B?>=B4C>C74B4(4@D4BCBB70;;14BD1942CC>C744=CAH>50=0??A>?A80C4

   2>=5834=C80;8CH>A34A 

                 (>1942CBC>C74(4@D4BCBC>C744GC4=CC70CC74HB44:8=5>A<0C8>=?A>C42C431H

   C740CC>A=4H2;84=C?A8E8;464C74F>A:?A>3D2C3>2CA8=40=3 >A0=H>C74A0??;8201;4?A8E8;464

   ?A>C42C8>=>A8<<D=8CH (F8;;F8C77>;30=3A4302C24AC08=8=5>A<0C8>=C70C8BBD1942CC>BD27

   ?A8E8;464B>A?A>C42C8>=B *>C744GC4=CC70C0=H8=03E4AC4=C?A>3D2C8>=>5BD278=5>A<0C8>=8B

   <0348=A4B?>=B4C>C74(4@D4BCBBD27?A>3D2C8>=B70;;=>C2>=BC8CDC40F08E4A>50=H0??;8201;4

   ?A8E8;464>A?A>C42C8>= (A4B4AE4BC74A867CC>>1C08=C74A4CDA=>5BD278=5>A<0C8>=0=3

   ?A>7818C8CBDB48=0=H<0==4A0=374A41HA4@D4BCBC74A4CDA=>50=HBD278=03E4AC4=C;H?A>3D243




                                                      
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   ?A8E8;46438=5>A<0C8>=0=3A4B4AE4BC74A867CC>>1942CC>C7438B2;>BDA4>ADB4>5BD27?A8E8;4643

   8=5>A<0C8>=0C0=HBC064>5C74B4>A0=H>C74A?A>24438=6B 

                  (>1942CBC>C74(4@D4BCBC>C744GC4=CC70CC74H0A4A43D=30=C>A3D?;820C8E4>5

   >C74AB?428582(4@D4BCB -74A48=5>A<0C8>=<0H14A4B?>=B8E4C><>A4C70=>=4(4@D4BC(

   F8;;?A>E834C70C8=5>A<0C8>=>=;H>=24 

                  (>1942CBC>0=H502CD0;0BBD<?C8>=B8<?;820C8>=B0=34G?;828C>A8<?;828C

   270A02C4A8I0C8>=B>5502CB4E4=CB28A2D<BC0=24B>A8BBD4B8=C74(4@D4BCB (LBA4B?>=B4B

   74A48=0A4=>C8=C4=343C><40=C70C(06A44BF8C70=H502CD0;0BBD<?C8>=B8<?;820C8>=B>A

   0=H4G?;828C>A8<?;828C270A02C4A8I0C8>=>5502CB4E4=CB28A2D<BC0=24B>A8BBD4B8=C74(4@D4BCB

   0=30A4F8C7>DC?A49D3824C>(LBA867CC>38B?DC4502CB0=3;460;2>=2;DB8>=B0BBD<438=C74

   (4@D4BCB 

                  (<0:4BC74B4(4B?>=B4B0=3&1942C8>=BF8C7>DC8=0=HF0HF08E8=6>A

   8=C4=38=6C>F08E400=H>1942C8>=B0BC>C742><?4C4=2HA4;4E0=24<0C4A80;8CH?A8E8;4643

   BC0CDB>A03<8BB818;8CH0B4E834=245>A0=H?DA?>B4>50=H8=5>A<0C8>=?A>E83438=A4B?>=B4C>

   C74(4@D4BCB1C74A867CC>>1942C>=0=H6A>D=3C>DB4>5C748=5>A<0C8>=?A>3D2438=

   A4B?>=B4C>C74(4@D4BCB0C0=H740A8=6>ACA80;2C74A867CC>>1942C>=0=H6A>D=30C0=HC8<4

   C>034<0=35>A5DAC74AA4B?>=B4BC>C74(4@D4BCB3C74A867CC>A4E8B40<4=3BD??;4<4=C>A

   2;0A85H0=H>5C74A4B?>=B4B0=3>1942C8>=BB4C5>AC774A48=0=34C74A867CC><>E4C74>DAC

   5>A0?A>C42C8E4>A34AF8C7A4B?42CC>C74(4@D4BCB 

                             

                   (>1942CBC>C74J =BCAD2C8>=BK0=3J458=8C8>=BK8=B>50A0BC74H8=2>A?>A0C4

   ?DA?>AC43502CB (3>4B=>C03>?C>A2>=58A<C74022DA02H>50=H?DA?>AC43502CB8=2>A?>A0C43

   8=0=H>5C74 =BCAD2C8>=B>A458=8C8>=B 




                                                    
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                      (>1942CBC> =BCAD2C8>=JK1420DB48C?DA?>ACBC>8<?>B4>=(>1;860C8>=B

   6A40C4AC70=C7>B48<?>B431HC74;>A830(D;4B>58E8;'A>243DA40=3 >A;>A830;0F *>C74

   4GC4=CC70C(8BA4@D8A43C>A4B?>=3C>0=H(4@D4BC8CF8;;3>B>8=0<0==4AC70C2><?;84BF8C7

   C74;>A830(D;4B>58E8;'A>243DA40=3;>A830;0F 

                      (>1942CBC>458=8C8>=JK0B>E4A1A>03D=3D;H1DA34=B><40=3=>C

   A40B>=01;H20;2D;0C43C>;403C>C7438B2>E4AH>503<8BB81;44E834=24 (F8;;8=C4A?A4CC74

   3458=43C4A<BC><40=(>274A443<0=##' 

                     (>1942CBC>458=8C8>=JK0BE06D40=30<186D>DBC>C744GC4=CC70C8C;8<8CB

   C743458=8C8>=>5JC>:4=BKC>0BB4CBC70C0A4JDB430B2DAA4=2H K(F8;;8=C4A?A4CJC>:4=BKC>

   <40=0=H3868C0;0BB4C 

                                    

                      3<8CC70C"H;4(>274<034C74BC0C4<4=CBA42>A3438=C74E834>B5>D=30C

   7CC?B 2AH?C>;40:B 8=5> 20B4=> 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4         1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                      3<8CC70CC74E834>A42>A343BC0C4<4=CB5>D=30C7CC?B 2AH?C>;40:B 8=5> 20B4

   =><0341H"H;4(>274F4A4CAD4 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6




                                                       
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   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                3<8CC70C(70BA4?A4B4=C43E0#01B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                3<8CC70C(>F=B0??A>G8<0C4;H >5C74B70A4B8=E0#01B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                3<8CC70CE0#01B8B0=D=38B2;>B43?A8=28?0;>5( 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B




                                                   
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   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70CC74$&+033A4BB4B7>FE0#01BC>:4=BF8;;1438BCA81DC4314CF44=

   C74?0AC=4AB>5( 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4        1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70C"H;4(>274<0340340;F8C7D=F74A41H(F>D;3?A>E834;460;

   B4AE824B8=4G270=645>A024AC08=?4A24=C064>5C74C>:4=BD??;H 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4        1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70C"H;4(>274F0BC74B42>=3?4AB>=;8BC43>=C74E0#01B

   20?8C0;8I0C8>=C01;4 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5




                                                      
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   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70C"H;4(>274>1C08=430??A>G8<0C4;H>=4?4A24=C>5E0#01BL4@D8CH 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70C"H;4(>274>1C08=430??A>G8<0C4;H>=4?4A24=C>5E0#01BLC>:4=B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70C"H;470BDB43;8C860C8>=0B0BCA0C46828=BCAD<4=CC>BD??>ACE0#01B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B




                                                   
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   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70C(70BDB43;8C860C8>=0B0BCA0C46828=BCAD<4=CC>BD??>ACE0#01B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70CE0#01B<034"H;4(>2740=4@D8CH?0AC=4A8=0??A4280C8>=5>A78B

   DB4>5;8C860C8>=C>0B0BCA0C46828=BCAD<4=C5>AE0#01B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70CH>DA;0FBD8CB0608=BC1;>2:2708=2><?0=84B>A4=C8C84B70B4=01;43

   H>DC>B448=B834C748A>?4A0C8>=B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B




                                                    
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   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70CH>DBD41;>2:2708=2><?0=84B>A4=C8C84BC>1401;4C>B448=B834C748A

   >?4A0C8>=B 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4      1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70CH>DBD41;>2:2708=2><?0=84B>A4=C8C84BC>1401;4C>;40A=C748A

   B42A4CB 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4      1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70CH>DBD43<A4:B>H0CD=LB1474BC 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4      1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B




                                                    
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   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70CH>D2>=B834AA A086-A867CC>14D=LB0A27=4<4B8B 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70CH>DBD43A A086-A867CC>?;40B4D= 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70CH>DBD43A A086-A867CC>34E0;D48C2>8=)0C>B78,8B8>= 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 




                                                     
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                  3<8CC70CH>DBD43A A086-A867CC>JC0:478<3>F= K

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70CC741A4027>5?0AC=4AB78?2;08<B0608=BCA A086-A867CF4A40<4A4

   ?A4C4GC5>A0;0FBD8C34B86=43C>E8=3820C4D=LB?4AB>=0;E4=34CC0 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                 3<8CC70CH>D3>=>C20A401>DCB4CC;8=6;0FBD8CB 

           =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4     1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 




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                  3<8CC70CH>DF>D;3A0C74AF8=0      <8;;8>=9D36<4=C5>AH>D2;84=C0=364C

   6>>3?A4BBC70=B4CC;45>A    <8;;8>= 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4      1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70CH>D70E4B70A43F8C7E0#01B=>=?D1;828=5>A<0C8>=C70CH>D

   ;40A=4301>DC8CB2><?4C8C>AB 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4      1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B

   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

                  3<8CC70CH>DBD41;>2:2708=2><?0=84B>A4=C8C84BC>1401;4C>;40A=C748A

   B42A4CB 

            =0338C8>=C>C745>A46>8=64=4A0;&1942C8>=B(>1942CBC>C78B(4@D4BC

   >=C746A>D=3BC70CC748=5>A<0C8>=B>D67C8B=>CJA4;4E0=CC>C74BD1942C<0CC4A>5C74?4=38=6

   02C8>=K0=38BC74A45>A4>DCB834C74B2>?4>5?4A<8BB81;438B2>E4AHB4C5>AC78=;>A830(D;4>5

   8E8;'A>243DA4      1 (5DAC74A>1942CBC>C78B(4@D4BC>=C746A>D=3BC70C8C2>=BC8CDC4B




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   70A0BB<4=C 1B4=C02>DAC>A34A(F8;;=>C?A>E8340=H8=5>A<0C8>=8=A4B?>=B4C>C78B

   (4@D4BC 

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       0C43&2C>14A                          (4B?42C5D;;HBD1<8CC43
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                                                   ,4;E4;4E8=A443<0=B@ 
                                                   ;>A8300A%>  
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                                                      )A3E4 )D8C4  
                                                    $80<8;>A830  
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           %B?@B.;AA<9<?61.&B92@<36C69%?<021B?2         .;1  #<;%.?AF

   &<052 ?221:.; !!% H&I /F .;1 A5?<B45 6A@ B;12?@64;21 0<B;@29 52?2/F ?2@=<;1@ .;1

   </720A@A<(B96=(?B@AJ@6?@A&2>B2@A3<?A52%?<1B0A6<;<3<0B:2;A@1.A21'2=A2:/2?           

   A52H&2>B2@A@I.;12.05.H&2>B2@AI.@3<99<D@

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                 &6@;<A.=.?AFA<A56@.0A6<;00<?16;49F=B?@B.;AA<A529<?61.&B92@<36C69

   %?<021B?2   .;1       "@;4D.@?2>B6?21A<@2?C2&D6A5.@B/=<2;.20.B@2"@;4

   3.6921A<1<@<&5.@;<</964.A6<;A<?2@=<;1A<52?16@0<C2?F?2>B2@A@




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                  "@ ;4J@ 16@0<C2?F ?2>B2@A@ @228 6;3<?:.A6<; A5.A 6@ ;<A 2C2; 0<;026C./9F

   ?292C.;A 2? ?2>B2@A@ .?2 3?6C<9<B@ .;1 .==2.? A< 5.C2 /22; :.12 2;A6?29F 3<? =B?=<@2@ <3

   5.?.@@6;4&.;16A@0962;A@&?2@2?C2@A52?645AA<:<C23<?.=?<A20A6C2.;1A<@228@.;0A6<;@

   .4.6;@A"@;4.;152?0<B;@29

                  & ?2@2?C2@ A52 ?645A ;<A A< =?<1B02 1<0B:2;A@ A< A52 2EA2;A A5.A A52 &2>B2@A@

   6;09B16;4 A52 H236;6A6<;@I .;1 H;@A?B0A6<;@I 0<;A.6;21 A52?26; . .?2 <C2?9F /?<.1 B;1B9F

   /B?12;@<:2.;1<?0.993<?6;3<?:.A6<;A5.A6@</A.6;./923?<:@<:2<A52?@<B?02A5.A6@:<?2

   0<;C2;62;A92@@/B?12;@<:2<?92@@2E=2;@6C2/.?2C.4B2.:/64B<B@1B=960.A6C20B:B9.A6C2

   <?1<;<A612;A63FD6A5?2.@<;./92=.?A60B9.?6AFA526;3<?:.A6<;@<B45A00.993<?6;3<?:.A6<;A5.A

   6@;26A52??292C.;A;<??2.@<;./9F0.90B9.A21A<92.1A<A5216@0<C2?F<3.1:6@@6/922C612;021

   @228A<6:=<@2</964.A6<;@<;&/2F<;1<?6;0<;@6@A2;AD6A5A5<@2?2>B6?21/F9<?61.9.D.;1

   A529<?61.&B92@<36C69%?<021B?22=B?=<?AA<@2281<0B:2;A@<?6;3<?:.A6<;;<A6;&J@

   .0AB.9=<@@2@@6<;0B@A<1F<?0<;A?<9<?30.993<?A52=?<1B0A6<;<3=B/9609F.C.69./921<0B:2;A@

   <?6;3<?:.A6<;<?1<0B:2;A@<?6;3<?:.A6<;A<D5605"@;45.@2>B.9<?/2AA2?.002@@.;1A5B@

   3<?D5605A52/B?12;<;&6@2>B.9A<<?4?2.A2?A5.;A5.A<3"@;46;</A.6;6;4A52?2>B2@A21

   1<0B:2;A@.;1<?6;3<?:.A6<;

                  (<A522EA2;A&?2@=<;1@A<.&2>B2@AA5.A?2@=<;@2@5.99/2/F.;1<;/25.93<3

   &.;1D699/296:6A21A<1<0B:2;A@<?6;3<?:.A6<;0B??2;A9F.C.69./92A<6A&D699;<A@2.?05

   3<?0<9920A<?=?<1B021<0B:2;A@6;A52=<@@2@@6<;<3&J@.1C6@<?@<?.AA<?;2F@<?<A52?A56?1

   =.?A62@

                 (52@2?2@=<;@2@?23920A&J@=?2@2;A8;<D921426;3<?:.A6<;.;1/29623.;1

   A52?23<?2?2:.6;@B/720AA<05.;42<?:<16360.A6<;/.@21<;3B?A52?16@0<C2?F<33.0A@<?

   06?0B:@A.;02@A5.A:.F0<:2A<&J@.AA2;A6<;&?2@2?C2@A52?645AA<?29F<;.;F3.0A@




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   1<0B:2;A@2C612;02<?<A52?0<;A2;A6<;@A5.A:.F12C29<=<?0<:2A<6A@.AA2;A6<;.A.9.A2?

   A6:2.;1A<@B==92:2;A<?.:2;1A52?2@=<;@2@.A.;FA6:2=?6<?A<A52A?6.96;A56@.0A6<;&

   3B?A52??2@2?C2@A52?645AA<?.6@2.;F.116A6<;.9</720A6<;@122:21;202@@.?F<?.==?<=?6.A26;

   9645A<3.;F3B?A52??2C62D

               ;F=?<1B0A6<;6;?2@=<;@2A<A52@2&2>B2@A@@5.99/2@B/720AA<A522;A?F<3.;

   .==?<=?6.A20<;3612;A6.96AF<?12?

               &</720A@A<A52&2>B2@A@A<A522EA2;AA5.AA52F@2286;3<?:.A6<;=?<A20A21/F

   A52.AA<?;2F0962;A=?6C69242A52D<?8=?<1B0A1<0A?6;2.;1<?.;F<A52?.==960./92=?6C69242

   =?<A20A6<;<?6::B;6AF&D699D6A55<91.;1?21.0A02?A.6;6;3<?:.A6<;A5.A6@@B/720AA<@B05

   =?6C69242@<?=?<A20A6<;@(<A522EA2;AA5.A.;F6;.1C2?A2;A=?<1B0A6<;<3@B051<0B:2;A@<?

   6;3<?:.A6<;6@:.126;?2@=<;@2A<A52&2>B2@A@@B05=?<1B0A6<;@5.99;<A0<;@A6ABA2.D.6C2?<3

   .;F.==960./92=?6C69242<?=?<A20A6<;&?2@2?C2@A52?645AA<</A.6;A52?2AB?;<3@B05

   6;3<?:.A6<;.;1=?<56/6A6A@B@26;.;F:.;;2?.;152?2/F?2>B2@A@A52?2AB?;<3.;F@B05

   6;.1C2?A2;A9F=?<1B021=?6C6924216;3<?:.A6<;.;1?2@2?C2@A52?645AA<</720AA<A5216@09<@B?2<?

   B@2<3@B05=?6C6924216;3<?:.A6<;.A.;F@A.42<3A52@2<?.;F<A52?=?<02216;4@

               &</720A@A<.;F&2>B2@A@2286;4H.99I1<0B:2;A@<?H.99I0<::B;60.A6<;@

   0<;A.6;6;4?232??6;4<??29.A6;4A<.;F<3A52@=206360&2>B2@A@<;A524?<B;1@A5.AA<@2.?053<?

   .;1=?<1B02@B051<0B:2;A@D<B916:=<@2B;1B2/B?12;.;1&0.;;<A2;@B?2A5.A6A5.@

   9<0.A212.05.;12C2?F1<0B:2;A<?0<::B;60.A6<;?2@=<;@6C2A<.=.?A60B9.?&2>B2@A

               &?2@2?C2@A52?645AA<=?<1B021<0B:2;A@?2@=<;@6C2A<A52&2>B2@A@<;.

   ?<996;4/.@6@.A.A6:2=9.02.;1:.;;2?A</2.4?221<;/FA52=.?A62@




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                &</720A@A<A52&2>B2@A@A<A522EA2;AA5.AA52F.?2?21B;1.;A<?1B=960.A6C2<3

   <A52?@=206360&2>B2@A@+52?26;3<?:.A6<;<?.1<0B:2;A:.F/2?2@=<;@6C2A<:<?2A5.;<;2

   &2>B2@A&D699=?<C612A5.A6;3<?:.A6<;<?=?<1B02A5.A1<0B:2;A<;9F<;02

                &J@.@@2?A6<;A5.A6AD699=?<1B021<0B:2;A@6;?2@=<;@2A<.=.?A60B9.?&2>B2@A

   6@;<AA</20<;@A?B21.@.;.1:6@@6<;A5.A.;F1<0B:2;A2E6@A@D6A56;.;F?2>B2@A210.A24<?F<?

   0.A24<?62@/BA@<929F.@.;.@@2?A6<;A5.A&D699=?<1B020<;@6@A2;AD6A5A52@2?2@=<;@2@.;1

   </720A6<;@.;F;<;=?6C692421?2@=<;@6C21<0B:2;A@<?6;3<?:.A6<;D6A56;6A@.0AB.9

   =<@@2@@6<;0B@A<1F<?0<;A?<9A5.A0.;/29<0.A21.3A2?.?2.@<;./92@2.?050<;1B0A216;4<<1

   3.6A5

                &</720A@A<.;F3.0AB.9.@@B:=A6<;@6:=960.A6<;@.;12E=9606A<?6:=9606A

   05.?.0A2?6G.A6<;@<33.0A@2C2;A@06?0B:@A.;02@<?6@@B2@6;A52&2>B2@A@&J@?2@=<;@2@

   52?26;.?2;<A6;A2;121A<:2.;A5.A&.4?22@D6A5.;F3.0AB.9.@@B:=A6<;@6:=960.A6<;@<?

   .;F2E=9606A<?6:=9606A05.?.0A2?6G.A6<;<33.0A@2C2;A@06?0B:@A.;02@<?6@@B2@6;A52&2>B2@A@

   .;1.?2D6A5<BA=?27B1602A<&J@?645AA<16@=BA23.0A@.;1924.90<;09B@6<;@.@@B:216;A52

   &2>B2@A@

                &:.82@A52@2&2@=<;@2@.;1$/720A6<;@D6A5<BA6;.;FD.FD.6C6;4<?

   6;A2;16;4A<D.6C2..;F</720A6<;@.@A<A520<:=2A2;0F?292C.;02:.A2?6.96AF=?6C692421

   @A.AB@<?.1:6@@6/696AF.@2C612;023<?.;F=B?=<@2<3.;F6;3<?:.A6<;=?<C61216;?2@=<;@2A<

   A52&2>B2@A@/A52?645AA<</720A<;.;F4?<B;1A<B@2<3A521<0B:2;A@=?<1B0216;?2@=<;@2

   A<A52&2>B2@A@.A.;F52.?6;4<?A?6.90A52?645AA<</720A<;.;F4?<B;1.A.;FA6:2A<.

   12:.;13<?3B?A52??2@=<;@2@A<A52&2>B2@A@1A52?645AA<?2C6@2.:2;1@B==92:2;A<?

   09.?63F.;F<3A52?2@=<;@2@.;1</720A6<;@@2A3<?A552?26;.;12A52?645AA<:<C2A52<B?A

   3<?.=?<A20A6C2<?12?D6A5?2@=20AA<A52&2>B2@A@




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                            

                &</720A@A<A52H;@A?B0A6<;@I.;1H236;6A6<;@I6;@<3.?.@A52F6;0<?=<?.A2

   =B?=<?A213.0A@&1<2@;<A.1<=A<?0<;36?:A52.00B?.0F<3.;F=B?=<?A213.0A@6;0<?=<?.A21

   6;.;F<3A52;@A?B0A6<;@<?236;6A6<;@

               &</720A@A<;@A?B0A6<;@  .;1/20.B@2A52F=B?=<?AA<6:=<@2<;&

   </964.A6<;@4?2.A2?A5.;A5<@26:=<@21/FA529<?61.&B92@<36C69%?<021B?2.;1<?9<?61.

   9.D(<A522EA2;AA5.A&6@?2>B6?21A<=?<1B02.;F?2@=<;@6C21<0B:2;A@6AD6991<@<6;.

   :.;;2?A5.A0<:=962@D6A5A529<?61.&B92@<36C69%?<021B?2.;19<?61.9.D

               &</720A@A<;@A?B0A6<; /20.B@26A=B?=<?A@A<6:=<@2</964.A6<;@4?2.A2?A5.;

   A5<@26:=<@21/FA529<?61.&B92@<36C69%?<021B?2.;1<?9<?61.9.D(<A522EA2;AA5.A&

   6@?2>B6?21A<=?<1B02.;F?2@=<;@6C21<0B:2;A@6AD699=?<1B02.=?6C692429<40<;@6@A2;AD6A5

   6A@</964.A6<;@B;12?9<?61.9.D.;1A529<?61.&B92@<36C69%?<021B?2

               &</720A@A<236;6A6<;HI.@<C2?/?<.1.;1B;1B9F/B?12;@<:2&D699

   0<;@A?B2A52A2?:H1<0B:2;AI6;.00<?1.;02D6A59<?61.&B92<36C69%?<021B?2   .A<

   :2.;H2920A?<;60.99F@A<?216;3<?:.A6<;D?6A6;4@1?.D6;4@4?.=5@05.?A@=5<A<4?.=5@.B16<

   C6@B.9.;1.B16<C6@B.9?20<?16;4@.;1<A52?1.A.0<:=69.A6<;@3?<:D56056;3<?:.A6<;0.;/2

   </A.6;21I

               &</720A@A<236;6A6<;HI.@<C2?/?<.1B;1B9F/B?12;@<:2.;1;<A

   ?2.@<;./9F0.90B9.A21A<92.1A<A5216@0<C2?F<3.1:6@@6/922C612;02&D6996;A2?=?2AA52

   1236;21A2?:@A<:2.;&<052?221:.;!!%

                                

                991<0B:2;A@?29.A21A<&J@<D;2?@56=6;A2?2@A6;C.!./@




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                                      342



          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

                991<0B:2;A@?29.A21A<&J@<D;2?@56=6;A2?2@A6;C.!./@JA<82;@

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

                991<0B:2;A@?29.A21A<A52"$)

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

                991<0B:2;A@?29.A21A<&J@2;4.42:2;A.4?22:2;AD6A5C.!./@

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4




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   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

               991<0B:2;A@?29.A21A< F92&<052J@<D;2?@56=6;A2?2@A6;C.!./@

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

               991<0B:2;A@?29.A21A<&J@<D;2?@56=6;A2?2@A6;C.9.;052

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

               991<0B:2;A@?29.A21A< F92&<052J@<D;2?@56=6;A2?2@A6;C.9.;052

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@




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   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

                 991<0B:2;A@?29.A21A<B;J@<D;2?@56=6;A2?2@A6;C.9.;052

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

                 991<0B:2;A@?29.A21A<'28;6>6J@<D;2?@56=6;A2?2@A6;&

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@

   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

                  991<0B:2;A@?29.A21A<H@5.?21D<?8@=.02@I/2AD22;<?.:<;4&C.!./@

   <?C.9.;052

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

   6C69%?<021B?2   /&3B?A52?</720A@A<A56@&2>B2@A<;A524?<B;1@A5.A6A0<;@A6ABA2@




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   5.?.@@:2;A/@2;A.0<B?A<?12?&D699;<A=?<1B02.;F1<0B:2;A@6;?2@=<;@2A<A56@

   &2>B2@A

                  991<0B:2;A@?29.A21A<.;F92.@22E20BA21/F&3<?A52H@5.?21D<?8@=.02I

   ?232??21A<6;&2>B2@A   

          ;.116A6<;A<A523<?24<6;42;2?.9$/720A6<;@&</720A@A<A56@&2>B2@A

   <;A524?<B;1@A5.AA526;3<?:.A6<;@<B45A6@;<AH?292C.;AA<A52@B/720A:.AA2?<3A52=2;16;4

   .0A6<;I.;16@A52?23<?2<BA@612A52@0<=2<3=2?:6@@6/9216@0<C2?F@2A3<?A56;9<?61.&B92<3

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                         EXHIBIT 19
Case 9:18-cv-80176-BB Document 945-10 Entered on FLSD Docket 03/10/2023 Page 328 of
                                   Thursday,
                                        342December 22, 2022 at 22:48:13 Eastern Standard Time

 Subject:    RE: Hearing on our mo/on to compel discovery responses
 Date:       Tuesday, November 29, 2022 at 4:48:00 PM Eastern Standard Time
 From:       Amy Brown
 To:         Velvel Freedman, Robert Kuntz, Stephen Lagos
 CC:         Raquel Sanchez, Brandon Cruz, Andres Rivero, Paralegals, Allison Henry
 ADachments: image001.png, image002.png

 [EXTERNAL SENDER]


 Hi Vel- Thanks for ge2ng back to us on the order. We agree that we are not moving forward with any DQ
 discovery in this case un@l we have an order on the mo@on to compel. We are not agreeing to stay discovery
 in any other maBer, or on any other issue. Thanks.

 Amy


 From: Velvel Freedman <vel@fnf.law>
 Sent: Tuesday, November 29, 2022 12:16 PM
 To: Amy Brown <abrown@riveromestre.com>; Robert Kuntz <rkuntz@riveromestre.com>; Stephen Lagos
 <slagos@fnf.law>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>; Brandon Cruz <bcruz@riveromestre.com>; Andres Rivero
 <arivero@riveromestre.com>; Paralegals <paralegals@riveromestre.com>; Allison Henry
 <ahenry@riveromestre.com>
 Subject: [EXTERNAL] Re: Hearing on our mo@on to compel discovery responses

 This Message originated outside your organizaGon.


 Thanks Amy. I think we are on the same page, but I believe you all have set the deposition and
 perhaps sought other discovery in some of the related actions. Can you confirm all DQ discovery
 across all related state court cases will be held in abeyance pending resolution of the motion?

 We are fine with the proposed order.

 -Vel

  Vel (Devin) Freedman
  Partner
  Freedman Normand Friedland LLP
  1 SE 3rd Ave., Suite 1240
  Miami, FL 33131
  (t) 305.753.3675
  (f) 646.392.8842
  (@) vel@fnf.law



                                                                                                       Page 1 of 11
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 From: Amy Brown <abrown@riveromestre.com>
 Date: Tuesday, November 29, 2022 at 11:50 AM
 To: Velvel Freedman <vel@fnf.law>, Robert Kuntz <rkuntz@riveromestre.com>, Stephen Lagos
 <slagos@fnf.law>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>, Brandon Cruz <bcruz@riveromestre.com>, Andres
 Rivero <arivero@riveromestre.com>, Paralegals <paralegals@riveromestre.com>, Allison Henry
 <ahenry@riveromestre.com>
 Subject: RE: Hearing on our moTon to compel discovery responses

 [EXTERNAL SENDER]

 Vel-

 Robert is out of pocket at the moment. But I can conﬁrm that we will not pursue DQ discovery in this case
 un@l we receive an order on the mo@on to compel. That aside, can you please let us know whether the
 proposed order is acceptable? The proposed order only seeks to reﬂect that the court deferred ruling on the
 mo@on and wants the hearing special set. Thank you.

 Amy

 From: Velvel Freedman <vel@fnf.law>
 Sent: Tuesday, November 29, 2022 11:38 AM
 To: Robert Kuntz <rkuntz@riveromestre.com>; Stephen Lagos <slagos@fnf.law>; Amy Brown
 <abrown@riveromestre.com>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>; Brandon Cruz <bcruz@riveromestre.com>; Andres Rivero
 <arivero@riveromestre.com>; Paralegals <paralegals@riveromestre.com>; Allison Henry
 <ahenry@riveromestre.com>
 Subject: [EXTERNAL] Re: Hearing on our mo@on to compel discovery responses

 This Message originated outside your organizaGon.


 Robert,

 That was not our question. Please confirm you will hold DQ related discovery in abeyance, or we
 will move for a protective order and for fees.

 -Vel

  Vel (Devin) Freedman
  Partner
  Freedman Normand Friedland LLP
  1 SE 3rd Ave., Suite 1240
  Miami, FL 33131
  (t) 305.753.3675
  (f) 646.392.8842
                                                                                                        Page 2 of 11
Case 9:18-cv-80176-BB Document 945-10 Entered on FLSD Docket 03/10/2023 Page 330 of
                                      342
  (f) 646.392.8842
  (@) vel@fnf.law



 From: Robert Kuntz <rkuntz@riveromestre.com>
 Date: Tuesday, November 29, 2022 at 11:35 AM
 To: Stephen Lagos <slagos@fnf.law>, Amy Brown <abrown@riveromestre.com>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>, Brandon Cruz <bcruz@riveromestre.com>, Andres
 Rivero <arivero@riveromestre.com>, Velvel Freedman <vel@fnf.law>, Paralegals
 <paralegals@riveromestre.com>, Allison Henry <ahenry@riveromestre.com>
 Subject: RE: Hearing on our moTon to compel discovery responses

 [EXTERNAL SENDER]

 Stephen:

 Attached is the proposed order.

 With regard to your email below, we obviously won’t pursue the discovery subject to
 the Motion to Compel in 004758 without a court order on the Motion to Compel.

 Additionally, will you kindly be sure to copy Amy Brown and Allison Henry with
 correspondence in this matter? Thank you.

 RIVERO MESTRE
 Robert Kuntz
 Partner
 Rivero Mestre LLP
 2525 Ponce de Leon Blvd., Suite 1000
 Miami, Florida 33134
 (O) (305) 445-2500 | (D) (786) 746-8209
 (C) (786) 942-7759 | (F) (305) 445-2505
 rkuntz@riveromestre.com
 www.riveromestre.com | Bio | LinkedIn | Vcard

 This message may contain confidential and privileged information. If it has
 been sent to you in error, please reply to advise the sender of the error and
 then immediately delete this message.


 From: Stephen Lagos <slagos@fnf.law>
 Sent: Tuesday, November 29, 2022 10:34 AM
 To: Robert Kuntz <rkuntz@riveromestre.com>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>; Brandon Cruz <bcruz@riveromestre.com>; Andres Rivero
 <arivero@riveromestre.com>; Velvel Freedman <vel@fnf.law>; Paralegals <paralegals@riveromestre.com>
 Subject: [EXTERNAL] Re: Hearing on our mo@on to compel discovery responses

 This Message originated outside your organizaGon.


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 Robert:

 In light of the court’s order this morning, please conﬁrm by Friday that you agree to pause all discovery
 eﬀorts rela@ng to your disqualiﬁca@on mo@ons and to hold all disqualiﬁca@on-related deposi@ons in
 abeyance un@l aher the court resolves your mo@on to compel. If you do not agree, we intend to ﬁle a mo@on
 to quash and for a protec@ve order and to seek fees in connec@on with that mo@on.

 Best,
 Stephen

  Stephen Lagos
  Associate
  Freedman Normand Friedland LLP
  99 Park Ave., Suite 1910
  New York, NY 10016
  (t) 603.494.9245
  (@) slagos@fnf.law


 From: Robert Kuntz <rkuntz@riveromestre.com>
 Date: Tuesday, October 25, 2022 at 8:51 AM
 To: Stephen Lagos <slagos@fnf.law>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>, Brandon Cruz <bcruz@riveromestre.com>, Andres
 Rivero <arivero@riveromestre.com>, Velvel Freedman <vel@fnf.law>, Paralegals
 <paralegals@riveromestre.com>
 Subject: Re: Hearing on our moTon to compel discovery responses

 [EXTERNAL SENDER]

 Stephen, yes, I meant "your objec@ons," rather than "your mo@on." My apologies for causing you distress
 with that mistake.

 In any event, your objec@ons clearly stated you won't consent to answering a single RFA, or producing any
 document, without an order. Even if I accidently wrote "mo@on" rather than "objec@ons," I have understood
 your pos@on precisely, have I not?

 We will set the hearing.

 _______________________
 Robert J. Kuntz Jr., Esq.




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 Rivero Mestre, LLP
 Partner
 2525 Ponce de Leon Blvd.
 Suite 1000
 Miami, FL 33134
 (O) 305.445.2500 | (D) 786.746.8209


 Sent from my Android device


 From: Stephen Lagos <slagos@fnf.law>
 Sent: Tuesday, October 25, 2022, 8:22 AM
 To: Robert Kuntz <rkuntz@riveromestre.com>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>; Brandon Cruz <bcruz@riveromestre.com>; Andres
 Rivero <arivero@riveromestre.com>; Velvel Freedman <vel@fnf.law>; Paralegals
 <paralegals@riveromestre.com>
 Subject: [EXTERNAL] Re: Hearing on our mo@on to compel discovery responses

 This Message originated outside your organizaGon.


 Robert—obviously, we don’t agree with your points below, including your false statement that we ﬁled a
 “mo@on” reques@ng a “court order” rela@ng to your discovery requests. We did no such thing. Se2ng that
 aside, it appears that we can’t dissuade you from proceeding. We are available on November 29 and
 November 30.

  Stephen Lagos
  Associate
  Freedman Normand Friedland LLP
  99 Park Ave., Suite 1910
  New York, NY 10016
  (t) 603.494.9245
  (@) slagos@rochefreedman.com


 From: Robert Kuntz <rkuntz@riveromestre.com>
 Date: Monday, October 24, 2022 at 12:58 PM
 To: Stephen Lagos <slagos@fnf.law>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>, Brandon Cruz <bcruz@riveromestre.com>, Andres
 Rivero <arivero@riveromestre.com>, Velvel Freedman <vel@fnf.law>, Paralegals
 <paralegals@riveromestre.com>
 Subject: RE: Hearing on our moTon to compel discovery responses




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 [EXTERNAL SENDER]

 Stephen:

 The court is showing no availability for any special set hearings through the year. But,
 in our view, the simple question of whether we are entitled to any discovery in support
 of the DQ motion is fit for motion calendar.

 Now, if you are willing to concede that discovery is allowed, we can perhaps confer
 about what that might be, and reserve any detailed conflicts for the court at a special set
 while agreed upon discovery gets underway. If you position is a simple “no,” then the
 court can resolve that issue in very short order. You are of course free to argue to the
 judge that the court isn’t capable of making that determination at the hearing. Your
 motion said you wanted a court order. Let’s get you one.

 This back-and-forth has now lost us the mid-November days. Our obligation to consult
 with you on hearing dates is not meant to provide you the opportunity simply to avoid
 such a hearing. Today or tomorrow we’re going to notice this for motion calendar on
 either 29 or 30 November, which remain open. Let me know if you have a preference
 on which day (or don’t and we’ll select one). Once again, this is UMC via Zoom, so
 one’s availability should be easy.

 As I wrote to Vel today on a related matter: We have moved to disqualify.
 Disqualification requires an evidentiary hearing. An evidentiary hearing requires
 evidence. As Judge Failla said, no one has gotten to the bottom of this yet. We intend
 to.




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 From: Stephen Lagos <slagos@fnf.law>
 Sent: Friday, October 21, 2022 2:34 PM
 To: Robert Kuntz <rkuntz@riveromestre.com>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>; Brandon Cruz <bcruz@riveromestre.com>; Andres Rivero
 <arivero@riveromestre.com>; Velvel Freedman <vel@fnf.law>
 Subject: [SUSPICIOUS MESSAGE] Re: Hearing on our mo@on to compel discovery responses

 This Message contains suspicious characterisGcs and has originated outside your organizaGon.


 The fact that the mo@on, like every other mo@on, will eventually either be granted or denied has no bearing
 on the amount of @me required to address the arguments raised. It’s ﬁne that your posi@on is that the 100-
 plus pages of exhibits that you aBached to your mo@on “don’t need examina@on” at the hearing deciding
 that mo@on (which begs the ques@on, why aBach them to begin with), but that’s not our posi@on. With that
 clariﬁca@on, do you agree that a longer hearing is appropriate?

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 From: Robert Kuntz <rkuntz@riveromestre.com>
 Date: Friday, October 21, 2022 at 2:14 PM
 To: Stephen Lagos <slagos@fnf.law>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>, Brandon Cruz <bcruz@riveromestre.com>, Andres
 Rivero <arivero@riveromestre.com>, Velvel Freedman <vel@fnf.law>
 Subject: RE: Hearing on our moTon to compel discovery responses

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 [EXTERNAL SENDER]

 Stephen:

 The motion is a few pages long. The attachments don’t need examination at this
 hearing.

 Our position is “we are entitled to production and admissions in reference to the motion
 to disqualify.”
 Your position is “you’re not entitled to any discovery at all.”

 That’s a yes/no, either/or – that’s motion calendar.

 Later detailed objections may take more time.

 We’re going to notice a hearing on the UMC. You can certainly tell the judge at that
 hearing that you think the court cannot resolve a yes/no question on UMC.

 So, I’m asking you: is someone from your team available for a Zoom hearing on 8
 November?


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 From: Stephen Lagos <slagos@rochefreedman.com>
 Sent: Friday, October 21, 2022 2:04 PM
 To: Robert Kuntz <rkuntz@riveromestre.com>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>; Brandon Cruz <bcruz@riveromestre.com>; Andres Rivero
 <arivero@riveromestre.com>; Velvel Freedman <vel@rochefreedman.com>
 Subject: [EXTERNAL] Re: Hearing on our mo@on to compel discovery responses

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 Robert:

 Your mo@on is 111 pages with exhibits. We don’t think that it can be resolved on UMC. Given the volume of
 your submission, and the nature of the issue presented, we require a 45-minute hearing.

 Best,
 Stephen

  Stephen Lagos
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  New York, NY 10016
  (t) 603.494.9245
  (@) slagos@rochefreedman.com


 From: Robert Kuntz <rkuntz@riveromestre.com>
 Date: Friday, October 21, 2022 at 9:37 AM
 To: Stephen Lagos <slagos@rochefreedman.com>
 Cc: Raquel Sanchez <rsanchez@riveromestre.com>, Brandon Cruz <bcruz@riveromestre.com>, Andres
 Rivero <arivero@riveromestre.com>, Velvel Freedman <vel@rochefreedman.com>
 Subject: Hearing on our moTon to compel discovery responses

 [EXTERNAL SENDER]

 Stephen:

 We would like to set a hearing on our Motion to Compel, filed 18 October in 50-2021-
 CA-004758. Since there’s no need to work through the discovery requests one by one,
 but only to address whether we’re entitled to responses at all, we can get this done on
 UMC.

 Below is what comes up this morning for available dates. Given this is an early
 morning UMC via Zoom, there really ought not be any trouble scheduling the thing. I’d
 like to set it for 8 November, unless your whole team has an actual conflict that
 morning. I’m could also be clear 1 or 2 November if those days are better.




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 Kindly advise your availability for the hearing.




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                         EXHIBIT 20
Case 9:18-cv-80176-BB Document 945-10 Entered on FLSD Docket 03/10/2023 Page 341 of
                                   Thursday,
                                        342December 22, 2022 at 23:03:49 Eastern Standard Time

 Subject: Re: Improper Deposi-ons
 Date: Monday, October 24, 2022 at 8:35:37 AM Eastern Daylight Time
 From: Robert Kuntz
 To:      Velvel Freedman, Andres Rivero
 CC:      Stephen Lagos, Andrew Brenner

 [EXTERNAL SENDER]


  Vel:

  We have moved to disqualify. Disqualification requires an evidentiary hearing. An
  evidentiary hearing requires evidence. As Judge Failla said, no one has gotten to the
  bottom of this yet. We intend to.

  We served you with a subpoena as provided for by the rules. If you need an
  accommodation on the date of the deposition, I’m happy to work that out with you.

 You have no basis to evade the deposition, but file whatever motions you think you need to.


 _______________________
 Robert J. Kuntz Jr., Esq.

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 Partner
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 Sent from my Android device

 From: Velvel Freedman <vel@fnf.law>
 Sent: Sunday, October 23, 2022 11:45:42 AM
 To: Robert Kuntz <rkuntz@riveromestre.com>; Andres Rivero <arivero@riveromestre.com>
 Cc: Stephen Lagos <slagos@fnf.law>; Andrew Brenner <abrenner@bsﬂlp.com>
 Subject: [SUSPICIOUS MESSAGE] Improper Deposidons

 This Message contains suspicious characteristics and has originated outside your organization.




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 Andres,

 You issued three subpoenas to me to attend a deposition in apparent violation of Florida Rules of
 Civil Procedure Rule 1.410(e), which requires notice of the deposition to be filed first. Setting
 that process issue aside, your attempt to take my deposition is a clear continuation of the
 gamesmanship you’ve engaged in to date on disqualification motions. Please confirm you will not
 be proceeding with an attempt to depose litigation counsel in cases your clients initiated by
 10/28/22. Should you fail to do so, we will move both to quash and for sanctions under 57.105.

 -Vel

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